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                                   No. 23-1135

                                     IN THE
   United States Court of Appeals for the Tenth Circuit
                           ________________
                   DARLENE GRIFFITH, Plaintiff/Appellant,
                                  v.

EL PASO COUNTY, COLORADO; BILL ELDER, individually and in his official
 capacity as Sheriff of the El Paso County Sheriff’s Office; CY GILLESPIE, in his
     individual capacity; ELIZABETH O’NEAL, in her individual capacity,
  ANDREW MUSTAPICK, in his individual capacity; DAWNE ELLISS, in her
individual capacity; TIFFANY NOE, in her individual capacity; BRANDE FORD,
                              in her individual capacity,
                                Defendants/Appellees.
                                 ________________
                               On Appeal from the
             United States District Court for the District of Colorado
                     The Honorable Christine M. Arguello
                  Civil Action No. 1:21-cv-00387-CMA-NRN
                               ________________

      DEFENDANTS’ - APPELLEES’ SUPPLEMENTAL APPENDIX
                        ______________

  NATHAN WHITNEY                           STEVEN MARTYN
  OFFICE OF THE COUNTY                     OFFICE OF THE COUNTY
  ATTORNEY OF EL PASO                      ATTORNEY OF EL PASO
  COUNTY, COLORADO                         COUNTY, COLORADO
  200 South Cascade Avenue                 200 South Cascade Avenue
  Colorado Springs, Colorado 80903         Colorado Springs, Colorado 80903
  (719) 520-6485                           (719) 520-6485

                        Counsel for Defendants/Appellees
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                                                     ALLMTN,APPEAL,CONMAG,JD4,MJ      3
                                                                                 CIV PP,STAYDI,TERMED

                                               U.S. District Court - District of Colorado
                                                     District of Colorado (Denver)
                                        CIVIL DOCKET FOR CASE #: 1:21-cv-00387-CMA-NRN


 Griffith v. El Paso County Colorado et al                                       Date Filed: 02/08/2021
 Assigned to: Senior Judge Christine M. Arguello                                 Date Terminated: 03/27/2023
 Referred to: Magistrate Judge N. Reid Neureiter                                 Jury Demand: Plaintiff
 Demand: $1,000,000                                                              Nature of Suit: 555 Prisoner - Prison Condition
 Cause: 42:1983 Prisoner Civil Rights                                            Jurisdiction: Federal Question
 Plaintiff
 Darlene Griffith                                                   represented by Andrew Joseph McNulty
                                                                                   Killmer Lane & Newman LLP
                                                                                   1543 Champa Street
                                                                                   Suite 400
                                                                                   Denver, CO 80202
                                                                                   303-571-1000
                                                                                   Email: amcnulty@kln-law.com
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Mari Anne Newman
                                                                                  Killmer Lane & Newman LLP
                                                                                  1543 Champa Street
                                                                                  Suite 400
                                                                                  Denver, CO 80202
                                                                                  303-571-1000
                                                                                  Fax: 303-571-1001
                                                                                  Email: mnewman@kln-law.com
                                                                                  ATTORNEY TO BE NOTICED


 V.
 Defendant
 El Paso County Colorado                                            represented by Bryan E. Schmid
                                                                                   El Paso County Attorney's Office
                                                                                   200 South Cascade Avenue
                                                                                   Suite 150
                                                                                   Colorado Springs, CO 80903
                                                                                   719-520-7032
                                                                                   Fax: 719-520-6487
                                                                                   Email: bryanschmid@elpasoco.com
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Christopher Michael Strider
                                                                                  El Paso County Attorney's Office
                                                                                  200 South Cascade Avenue
                                                                                  Suite 150
                                                                                  Colorado Springs, CO 80903
                                                                                  719-520-7264
                                                                                  Fax: 719-520-6487
                                                                                  Email: chrisstrider@elpasoco.com
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Nathan James Whitney
                                                                                  El Paso County Attorney's Office
                                                                                  200 South Cascade Avenue
                                                                                  Suite 150
                                                                                  Colorado Springs, CO 80903
                                                                                  719-520-6597
                                                                                  Fax: 719-520-6487
                                                                                  Email: nathanwhitney@elpasoco.com
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Steven Ward Martyn
                                                                                  El Paso County Attorney's Office
                                                                                  Civil Division
                                                                                  200 South Cascade Avenue
                                                                                  Suite 150
                                                                                  Colorado Springs, CO 80903-2208
                                                                                                                       S.A. 001
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                                                             Filed: 10/20/2023 Page: 4
                                                                                  Fax: 719-520-6487
                                                                                  Email: StevenMartyn@elpasoco.com
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Wellpath LLC                                                       represented by Ashlee B. Hesman
 TERMINATED: 06/07/2022                                                            Struck Love Bojanowski & Acedo, PLC
                                                                                   3100 West Ray Road
                                                                                   Suite 300
                                                                                   Chandler, AZ 85226
                                                                                   480-420-1600
                                                                                   Fax: 480-420-1695
                                                                                   Email: ahesman@strucklove.com
                                                                                   TERMINATED: 08/11/2022

                                                                                  Catherine O'Brien Crum
                                                                                  Nixon Shefrin Ogburn Drew, P.C.
                                                                                  5619 DTC Parkway
                                                                                  Suite 1200
                                                                                  Greenwood Village, CO 80111-3061
                                                                                  303-773-3500
                                                                                  Fax: 303-779-0740
                                                                                  Email: cobrien@hallboothsmith.com
                                                                                  TERMINATED: 11/01/2021

                                                                                  Daniel Patrick Struck
                                                                                  Struck Love Bojanowski & Acedo PLC
                                                                                  3100 West Ray Road
                                                                                  Suite 300
                                                                                  Chandler, AZ 85226
                                                                                  480-420-1600
                                                                                  Fax: 480-420-1699
                                                                                  Email: dstruck@strucklove.com
                                                                                  TERMINATED: 08/11/2022

                                                                                  Kristina R. Rood
                                                                                  Struck Love Bojanowski & Acedo, PLC
                                                                                  3100 West Ray Road
                                                                                  Suite 300
                                                                                  Chandler, AZ 85226
                                                                                  480-420-1600
                                                                                  Email: krood@strucklove.com
                                                                                  TERMINATED: 08/11/2022

                                                                                  Lauren Elizabeth Kuhn
                                                                                  Sandberg Phoenix & von Gontard PC
                                                                                  4600 Madison Avenue
                                                                                  Suite 1000
                                                                                  Kansas City, MO 64112
                                                                                  816-627-2783
                                                                                  Email: lkuhn@sandbergphoenix.com
                                                                                  TERMINATED: 11/01/2021
 Defendant
 Christine Mohr                                                     represented by Ashlee B. Hesman
 in her individual capacity                                                        (See above for address)
 TERMINATED: 06/02/2022                                                            TERMINATED: 08/11/2022

                                                                                  Daniel Patrick Struck
                                                                                  (See above for address)
                                                                                  TERMINATED: 08/11/2022

                                                                                  Kristina R. Rood
                                                                                  (See above for address)
                                                                                  TERMINATED: 08/11/2022
 Defendant
 Bill Elder                                                         represented by Bryan E. Schmid
 Sheriff                                                                           (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Christopher Michael Strider
                                                                                  (See above for address)
                                                                                                                      S.A. 002
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                                                             Filed: 10/20/2023
                                                                          TO BE NOTICED Page: 5

                                                                                  Nathan James Whitney
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Steven Ward Martyn
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Bill (I) Elder                                                     represented by Bryan E. Schmid
 Individual capacity                                                               (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Christopher Michael Strider
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Nathan James Whitney
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Steven Ward Martyn
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Cy Gillespie                                                       represented by Bryan E. Schmid
 Commander, in his individual capacity                                             (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Christopher Michael Strider
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Nathan James Whitney
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Steven Ward Martyn
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Draper                                                             represented by Christopher Michael Strider
 Deputy, F/N/U, in his individual capacity                                         El Paso County Attorney's Office
 TERMINATED: 05/24/2022                                                            200 South Cascade Avenue
                                                                                   Colorado Springs, CO 80903
                                                                                   719-520-7264
                                                                                   Fax: 719-520-6487
                                                                                   Email: chrisstrider@elpasoco.com
                                                                                   ATTORNEY TO BE NOTICED

                                                                                  Nathan James Whitney
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Terry Angela Sample
                                                                                  El Paso County Attorney's Office
                                                                                  200 South Cascade Avenue
                                                                                  Colorado Springs, CO 80903
                                                                                  719-520-6485
                                                                                  Fax: 719-520-6487
                                                                                  Email: terrysample@elpasoco.com
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Cynthia Ayad                                                       represented by Nathan James Whitney
 Sgt.                                                                              (See above for address)
 TERMINATED: 04/19/2021                                                            ATTORNEY TO BE NOTICED
 Defendant
                                                                                                                      S.A. 003
https://cod-ecf.sso.dcn/cgi-bin/DktRpt.pl?851108362891277-L_1_0-1                                                                3/14
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 Bradberry   Appellate Case: 23-1135 Document: 68 Date Filed: 10/20/2023 Page: 6
 Ms., Deputy
 TERMINATED: 04/19/2021
 Interested Party
 CASE MANAGER/ INMATE COORDINATOR OF:
 Darlene Griffith
 Defendant
 Pete Carey
 E.P.C. Under Sheriff
 TERMINATED: 03/04/2021
 Defendant
 Eric Carnell
 Lieutenant
 TERMINATED: 04/19/2021
 Defendant
 Aaron Earnheart
 Sgt.
 TERMINATED: 04/19/2021
 Defendant
 K. Forrell
 Prea-Investigator
 TERMINATED: 04/19/2021
 Defendant
 Francs
 Mr., Deputy
 TERMINATED: 04/19/2021
 Defendant
 James
 Ms., Deputy; Jane Doe, Deputy; John Doe, Deputy; John
 Doe, Sgt. for/Works Intake
 TERMINATED: 04/19/2021
 Defendant
 Motta
 Ms., Deputy
 TERMINATED: 04/19/2021
 Defendant
 Liz O'Neal
 Manager for Inmate Class
 TERMINATED: 04/19/2021
 Defendant
 Andrew Prehm
 E.P.C. Chief
 TERMINATED: 03/04/2021
 Defendant
 Sterling
 Mr., Deputy
 TERMINATED: 04/19/2021
 Defendant
 Elizabeth O'Neal                                                   represented by Bryan E. Schmid
 in her individual capacity                                                        (See above for address)
                                                                                   ATTORNEY TO BE NOTICED

                                                                                Nathan James Whitney
                                                                                (See above for address)
                                                                                ATTORNEY TO BE NOTICED

                                                                                Steven Ward Martyn
                                                                                (See above for address)
                                                                                ATTORNEY TO BE NOTICED

                                                                                                             S.A. 004
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 Defendant   Appellate Case: 23-1135 Document: 68 Date Filed: 10/20/2023 Page: 7
 Andrew Mustapick                                                                represented by Bryan E. Schmid
 in his individual capacity                                                                     (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Nathan James Whitney
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Steven Ward Martyn
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED
 Defendant
 Dawne Elliss                                                                    represented by Bryan E. Schmid
 in her individual capacity                                                                     (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Nathan James Whitney
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Steven Ward Martyn
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED
 Defendant
 Tiffany Noe                                                                     represented by Bryan E. Schmid
 in her individual capacity                                                                     (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Nathan James Whitney
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Steven Ward Martyn
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED
 Defendant
 Brande Ford                                                                     represented by Bryan E. Schmid
 in her individual capacity                                                                     (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Nathan James Whitney
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED

                                                                                                Steven Ward Martyn
                                                                                                (See above for address)
                                                                                                ATTORNEY TO BE NOTICED


  Date Filed         #        Docket Text
  02/08/2021             1 PRISONER COMPLAINT against Pete Carey, Bill Elder, CY Gillespie, Andrew Prehm, filed by Darlene Griffith. (Attachments:
                           # 1 Envelope)(alave, ) (Entered: 02/08/2021)
  02/08/2021             2 Case assigned to Magistrate Judge Gordon P. Gallagher. Text Only Entry. (alave, ) (Entered: 02/08/2021)
  02/08/2021             3 Prisoner's Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. 1915. by Plaintiff Darlene Griffith. (Attachments: # 1
                           Resident Account Statement)(alave, ) (Entered: 02/08/2021)
  02/08/2021             4 Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. 1915. by Plaintiff Darlene Griffith. (alave, ) (Entered:
                           02/08/2021)
  02/09/2021             5 ORDER Granting 3 Motion for Leave to Proceed Under 28 U.S.C. § 1915. The Clerk of Court send a copy of this order to the
                           Business Office, Attn: Inmate Accounts, El Paso County Criminal Justice Center,Colorado Springs, Colorado. The Prisoner's
                           Motion and Affidavit for Leave to Proceed on Appeal Pursuant to 28 U.S.C. § 1915 and Fed. R. App. P. 24 (ECF No. 4 ) is
                           DENIED as improperly filed. By Magistrate Judge Gordon P. Gallagher on 02/09/2021. (athom, ) (mailed to facility as ordered)
                           (Entered: 02/09/2021)
  02/11/2021             6 ORDER DIRECTING PLAINTIFF TO FILE AMENDED COMPLAINT. If Plaintiff fails to file an amended complaint that
                           complies with this order within the time allowed, some or all of this action may be dismissed without further notice based on the

                                                                                                                                      S.A. 005
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                  allegations of the original Prisoner Complaint. By Magistrate       Filed:P. 10/20/2023
                                                                                Judge Gordon                       Page:
                                                                                               Gallagher on 02/11/2021.      8 ) (Entered:
                                                                                                                        (athom,
                          02/11/2021)
  02/18/2021          7 RESPONSE to 5 Order on Motion for Leave to Proceed in Forma Pauperis, by Plaintiff Darlene Griffith. (athom, ) (Entered:
                        02/19/2021)
  02/18/2021          8 MOTION for Appointment of Counsel by Plaintiff Darlene Griffith. (athom, ) (Entered: 02/19/2021)
  03/04/2021          9 AMENDED Prisoner COMPLAINT against Cynthia Ayad, Bradberry, Eric Carnell, Drapper, Aaron Earnheart, K. Forrell,
                        Francs, Cy Gillespie, James, Motta, Liz O'Neal, Sterling, filed by Darlene Griffith. (athom, ) (Entered: 03/05/2021)
  03/11/2021         10 MINUTE ORDER by Magistrate Judge Gordon P. Gallagher on 03/11/2021. Pursuant to D.C.COLO.LCivR 8.1, the Clerk of
                        Court is directed to assign this matter to Senior Judge Lewis T. Babcock. The undersigned will remain as the assigned magistrate
                        judge. (athom, ) (Entered: 03/11/2021)
  03/12/2021         11 ORDER of Reference to United States Magistrate Judge Gordon P. Gallagher. By Judge Lewis T. Babcock on 03/12/2021. All
                        future pleadings should be designated as 21-cv-00387-LTB-GPG. (athom, ) (Entered: 03/12/2021)
  03/12/2021         12 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE re 9 Amended Complaint filed by Darlene Griffith. By
                        Magistrate Judge Gordon P. Gallagher on 03/12/2021. (athom, ) (Entered: 03/12/2021)
  03/24/2021         13 MOTION for Emergency Preliminary Injunction and Permanent Injunction Relief by Plaintiff Darlene Griffith. (athom, )
                        (Entered: 03/25/2021)
  03/24/2021         14 MOTION to Make this Action Class Action to Similarly Situated Persons by Plaintiff Darlene Griffith. (athom, ) (Entered:
                        03/25/2021)
  03/29/2021         15 ORDER that Plaintiff's "Motion for Emergency Preliminary Injunction and Permanent Injunctive Relief" (ECF No. 13 ) and
                        "Motion to Make this Action Class Action to Similarly Situated Person(s)"(ECF No. 14 ) are DENIED. That Plaintiff shall have
                        14 days from the date of this order to file any written objections to the Recommendation of United States Magistrate Judge (ECF
                        No. 12 ), by Judge Lewis T. Babcock on 3/29/2021.(evana, ) (Entered: 03/29/2021)
  04/19/2021         16 ORDER TO DISMISS IN PART AND TO DRAW CASE. The Recommendation of United States Magistrate Judge (ECF No. 12
                        ) is accepted and adopted. The Amended Prisoner Complaint (ECF No. 9 ) is dismissed without prejudice in part and drawn in
                        part follows. The claims asserted against Defendants Jane Doe (Deputy), John Doe (Deputy), and Drapper (Deputy) are drawn to
                        a presiding judge. See D.C.COLO.LCivR 8.1(c). The claims asserted Defendants ERIC CARNELL (LIEUTENANT),
                        CYNTHIA AYAD (SGT.), CY GILLESPIE (COMMANDER FOR INMATE CLASS), LIZ O'NEAL (MANAGE FOR INMATE
                        CLASS), AARON EARNHEART (SGT.), JOHN DOE (SGT. FOR INTAKE), MS. K FORRELL (PREA INVESTIGATOR),
                        MR. STERLING (DEPUTY), MR. FRANCS (DEPUTY), MS. MOTTA (DEPUTY), MS. BRADBERRY (DEPUTY), and MS.
                        JAMES (DEPUTY) are dismissed without prejudice for failure to comply with the pleading requirements of Rule 8, and these
                        Defendants are dismissed as parties to this action. By Judge Lewis T. Babcock on 04/19/2021. This case is randomly reassigned
                        to Magistrate Judge N. Reid Neureiter. All future pleadings should be designated as 21-cv-00387-NRN. (athom, ) (Entered:
                        04/19/2021)
  04/19/2021         17 Magistrate Judge consent form issued pursuant to D.C.COLO.LCivR 40.1, direct assignment of civil actions to full time
                        magistrate judges. (athom, ) (Entered: 04/19/2021)
  04/19/2021         18 ORDER SETTING STATUS CONFERENCE FOR PRO SE PLAINTIFF by Magistrate Judge N. Reid Neureiter on 19 April
                        2021. Consent Form due by 5/25/2021. Status Conference set for 6/8/2021 10:30 AM in Courtroom C203 before Magistrate
                        Judge N. Reid Neureiter. The Status Conference will be conducted via telephone. The parties are directed to call the conference
                        line as a participant at (888) 398-2342, Access Code 5755390# at the scheduled time. (cmadr, ) (Entered: 04/19/2021)
  04/19/2021         19 CERTIFICATE of Service by mail by Clerk of Court re 18 to CASE MANAGER/ INMATE COORDINATOR OF: Darlene
                        Griffith #0275824 El Paso County Criminal Justice Center 2739 East Las Vegas Street Colorado Springs, CO 80906. Text Only
                        Entry (cmadr, ) (Entered: 04/19/2021)
  04/21/2021         20 CERTIFICATE of Service by Clerk of Court re 16 Order to Dismiss in Part and to Draw Case 9 Amended Prisoner Complaint,
                        12 Recommendation of United States Magistrate Judge 18 Order Setting Status Conference for Service of Process. (trvo, )
                        (Entered: 04/21/2021)
  04/28/2021         21 WAIVER OF SERVICE Returned Executed. Drapper waiver sent on 4/21/2021, answer due 6/20/2021. (cmadr, ) (Entered:
                        04/28/2021)
  05/04/2021         22 NOTICE of Entry of Appearance by Terry Angela Sample on behalf of DrapperAttorney Terry Angela Sample added to party
                        Drapper(pty:dft) (Sample, Terry) (Entered: 05/04/2021)
  05/04/2021         23 NOTICE of Entry of Appearance by Christopher Michael Strider on behalf of DrapperAttorney Christopher Michael Strider
                        added to party Drapper(pty:dft) (Strider, Christopher) (Entered: 05/04/2021)
  05/25/2021         24 CONSENT to Jurisdiction of Magistrate Judge by Defendant Drapper All parties do not consent.. (Sample, Terry) (Entered:
                        05/25/2021)
  05/26/2021         25 CASE REASSIGNED pursuant to 24 Consent to Jurisdiction of Magistrate Judge. All parties do not consent. This case is
                        randomly reassigned to Judge Christine M. Arguello. All future pleadings should be designated as 21-cv-00387-CMA. (Text
                        Only Entry) (cmadr, ) (Entered: 05/26/2021)
  05/26/2021         26 ORDER REFERRING CASE to Magistrate Judge N. Reid Neureiter. Magistrate Judge Neureiter is designated to conduct
                        ALLMTN proceedings pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b). The parties should expect
                        to be given a firm trial setting that is 90 to 120 days from the date of the final pretrial conference and should be available for trial
                        accordingly. Court-sponsored alternative dispute resolution is governed by D.C.COLO.LCivR 16.6. The Magistrate Judge, at
                        his/her discretion, may convene such early neutral evaluation and/or settlement conferences and direct related procedures as may

                                                                                                                                         S.A. 006
https://cod-ecf.sso.dcn/cgi-bin/DktRpt.pl?851108362891277-L_1_0-1                                                                                             6/14
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                                                                     CM/ECF
              Appellate
                  facilitate resolution of this case without the necessity68
                           Case:      23-1135           Document:                 Date
                                                                           of a motion     Filed:
                                                                                       or prior     10/20/2023
                                                                                                authorization             Page:SO9ORDERED by
                                                                                                              of the undersigned.
                         Judge Christine M. Arguello on 5/26/2021. Text Only Entry (cmasec) (Entered: 05/26/2021)
  05/26/2021         27 MEMORANDUM regarding 8 MOTION to Appoint Counsel filed by Darlene Griffith. Motion referred to Magistrate Judge N.
                        Reid Neureiter by Judge Christine M. Arguello on 5/26/2021. Text Only Entry (cmasec) (Entered: 05/26/2021)
  06/08/2021         28 APPOINTMENT ORDER by Magistrate Judge N. Reid Neureiter on 8 June 2021. It is hereby ORDERED that Plaintiff's Motion
                        for Appointment of Counsel (Dkt. # 8 ) is GRANTED. Accordingly, it is further ORDERED that pursuant to D.C.COLO.LAttyR
                        15(f)(2), the Clerk shall select, notify, and appoint counsel to represent the unrepresented party in this civil matter. The Plaintiff
                        is advised that the Clerk will select counsel from the Panel; however, there is no guarantee that Panel members will undertake
                        representation in every case. The Court cautions Plaintiff that she remains responsible for all scheduled matters, including
                        hearings, depositions, motions, and trial.(cmadr, ) (Entered: 06/08/2021)
  06/08/2021         29 COURTROOM MINUTES for proceedings held before Magistrate Judge N. Reid Neureiter: Telephonic Status Conference held
                        on 6/8/2021. Telephonic Motion Hearing set for 8/24/2021 11:00 AM in Courtroom C203 before Magistrate Judge N. Reid
                        Neureiter. The parties are directed to call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the
                        scheduled time. FTR: Courtroom C203. (slibi, ) (Entered: 06/08/2021)
  06/15/2021         30 CONSENT to Jurisdiction of Magistrate Judge by Defendant Drapper All parties consent.. (Sample, Terry) (Entered: 06/15/2021)
  06/15/2021         31 ORDER OF REFERENCE TO 28 U.S.C. § 636(c). On May 25, 2021 and June 15, 2021, the parties notified the Court of their
                        unanimous consent to disposition of the instant action by a United States Magistrate Judge (Docs. ## 24 , 30 ). The above action
                        is referred for disposition to Magistrate Judge N. Reid Neureiter pursuant to 28 U.S.C. § 636(c), by Judge Christine M. Arguello
                        on 6/15/2021. (evana, ) (Entered: 06/15/2021)
  06/18/2021         32 MOTION to Dismiss by Defendant Drapper. (Strider, Christopher) (Entered: 06/18/2021)
  07/15/2021         33 MOTION for Summary Judgment by Plaintiff Darlene Griffith. (evana, ) (Entered: 07/16/2021)
  07/19/2021         34 CERTIFICATE of Mailing/Service of Defendant's Motion to Dismiss by Defendant Drapper. (Strider, Christopher) (Entered:
                        07/19/2021)
  07/21/2021         35 MOTION for Extension of Time to File Opposition to 32 Motion to Dismiss by Plaintiff Darlene Griffith. (cmadr, ) (Entered:
                        07/21/2021)
  07/21/2021         36 Minute ORDER by Magistrate Judge N. Reid Neureiter on 21 July 2021. It is hereby ORDERED that Plaintiff's Motion for
                        Extension of Time to File Opposition to Defendant's Motion to Dismiss (Dkt. # 35 ) is GRANTED as follows. Plaintiff's
                        response to Defendants Motion to Dismiss Amended Complaint (Dkt. # 32 ) is due on or before August 6, 2021. The Court
                        declines Plaintiff's invitation to order sanctions against Defendant. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, )
                        (Entered: 07/21/2021)
  08/09/2021         37 Opposition (sic) to 32 MOTION to Dismiss filed by Plaintiff Darlene Griffith. (cmadr, ) (Entered: 08/09/2021)
  08/17/2021         38 Notice of Pro Bono Appointment. Attorney Andrew McNulty of the law firm of Killmer Lane & Newman LLP has been selected
                        as counsel to represent the Plaintiff, in accordance with the Court's Order of June 8, 2021 and D.C.COLO.LAttyR 15(f) of the
                        U.S. District Court's Local Rules of Practice. Counsel has thirty days to either enter an appearance in the case or to file a Notice
                        Declining Appointment. This Notice of Appointment will be sent to the pro se litigant and selected counsel by the undersigned
                        designated clerk. (ebutl) (Entered: 08/17/2021)
  08/18/2021         39 Minute ORDER by Magistrate Judge N. Reid Neureiter on 18 August 2021. In light of the Notice of Pro Bono Appointment
                        (Dkt. # 38 ), it is hereby ORDERED that the Motion Hearing set for August 24, 2021 at 11:00 a.m. is VACATED. A Status
                        Conference is set for September 30, 2021 at 9:30 a.m. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                        08/18/2021)
  08/23/2021         40 REPLY to Response to 32 MOTION to Dismiss filed by Defendant Drapper. (Strider, Christopher) (Entered: 08/23/2021)
  09/15/2021         41 NOTICE of Entry of Appearance by Andrew Joseph McNulty on behalf of Darlene GriffithAttorney Andrew Joseph McNulty
                        added to party Darlene Griffith(pty:pla) (McNulty, Andrew) (Entered: 09/15/2021)
  09/24/2021         42 MINUTE ORDER. The upcoming Status Conference on September 30, 2021 at 9:30 a.m. in this matter shall be conducted via
                        telephone. The parties are directed to call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the
                        scheduled time. The Court notes that the parties may hear the conclusion of a prior hearing at the time they call in, and are
                        instructed to simply wait until their case is called. SO ORDERED, by Magistrate Judge N. Reid Neureiter on September 24,
                        2021. Text Only Entry. (rvill, ) (Entered: 09/24/2021)
  09/29/2021         43 NOTICE of Entry of Appearance by Nathan James Whitney on behalf of DrapperAttorney Nathan James Whitney added to party
                        Drapper(pty:dft) (Whitney, Nathan) (Entered: 09/29/2021)
  09/30/2021         44 COURTROOM MINUTES for Telephonic Status Conference held before Magistrate Judge N. Reid Neureiter on 9/30/2021.
                        Plaintiff shall file Amended Complaint by October 4, 2021. Defendants shall be served by October 22, 2021. A Telephonic Status
                        Conference is set for November 10, 2021 at 2:30 p.m. before Magistrate Judge N. Reid Neureiter. The parties are directed to call
                        the conference line as a participant at (888) 398-2342, Access Code 5755390# at the scheduled time. FTR: Courtroom C203.
                        (rvill, ) (Entered: 09/30/2021)
  10/04/2021         45 Unopposed MOTION for Leave to File Second Amended Complaint by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered:
                        10/04/2021)
  10/04/2021         46 AMENDED COMPLAINT Second Amended Complaint against Drapper, Bill Elder, Cy Gillespie, El Paso County Colorado,
                        Wellpath LLC, Christine Mohr, Doctor Jane Roe, filed by Darlene Griffith.(McNulty, Andrew) (Entered: 10/04/2021)
  10/04/2021         47 Minute ORDER by Magistrate Judge N. Reid Neureiter on 4 October 2021. is hereby ORDERED that Plaintiff's Motion for
                        Leave to File Second Amended Complaint (Dkt. # 45 ) is GRANTED finding good cause shown. Plaintiff's Second Amended
                                                                                                                                       S.A. 007
https://cod-ecf.sso.dcn/cgi-bin/DktRpt.pl?851108362891277-L_1_0-1                                                                                           7/14
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4/26/23, 8:48 AM                                                14 - U.S. District Court:cod
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             Appellate Case:     23-1135        Document:        68 as Date
                  Complaint and Jury Demand (Dkt. # 46 ) is ACCEPTED           Filed:
                                                                       the operative     10/20/2023
                                                                                     pleading in this case. The Page:    10
                                                                                                                Clerk shall amend the case
                         caption accordingly. It is further ORDERED that Defendants' Motion to Dismiss (Dkt. # 32 ) is DENIED as moot. It is further
                         ORDERED that Plaintiff's Motion for Summary Judgment (Dkt. # 33 ), which Plaintiff filed before counsel entered his
                         appearance on her behalf, is DENIED WITHOUT PREJUDICE for failing to comply with Rule 56(c). PLEASE READ
                         ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 10/04/2021)
  10/15/2021         48 MOTION for Preliminary Injunction , Expedited Briefing Schedule, and Expedited Hearing by Plaintiff Darlene Griffith.
                        (McNulty, Andrew) (Entered: 10/15/2021)
  10/15/2021         49 Minute ORDER by Magistrate Judge N. Reid Neureiter on 15 October 2021. It is hereby ORDERED that a Status Conference is
                        set on October 19, 2021 at3:30 p.m. to address the briefing schedule for Plaintiffs Motion for Preliminary Injunction 48 , status
                        of service of process on Defendants, and status of Defendants' consent to the jurisdiction of a magistrate judge. The parties are
                        directed to call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the scheduled time. (csarr, )
                        (Entered: 10/15/2021)
  10/15/2021         50 WAIVER OF SERVICE Returned Executed by Darlene Griffith. El Paso County Colorado waiver sent on 10/15/2021, answer
                        due 12/14/2021. (McNulty, Andrew) (Entered: 10/15/2021)
  10/15/2021         51 NOTICE of Entry of Appearance by Mari Anne Newman on behalf of Darlene GriffithAttorney Mari Anne Newman added to
                        party Darlene Griffith(pty:pla) (Newman, Mari) (Entered: 10/15/2021)
  10/19/2021         52 COURTROOM MINUTES for Telephonic Status Conference held before Magistrate Judge N. Reid Neureiter on 10/19/2021.
                        Defendant's response to the Motion for Preliminary Injunction is due by October 29, 2021. Plaintiff's reply is due by November
                        5, 2021. Witness and Exhibit lists shall be exchanged no later than 12:00 p.m. on November 10, 2021. A Preliminary Injunction
                        Hearing is set for November 12, 2021 at 9:00 a.m. before Magistrate Judge N. Reid Neureiter in Courtroom C203, Second floor,
                        Bryon G. Rogers Courthouse. FTR: Courtroom C203. (rvill, ) (Entered: 10/19/2021)
  10/20/2021         53 MINUTE ORDER VACATING PRELIMINARY INJUNCTION HEARING AND REASSIGNING CASE TO
                        DISTRICTJUDGEby Magistrate Judge N. Reid Neureiter on 20 October 2021. Plaintiff in this case seeks a preliminary
                        injunction and an expedited hearing. Dkt. # 48 . However, there is a defendant in the case, WellPath LLC, that has not yet
                        appeared. This Court can only preside over dispositive matters and preliminary injunction matters where all parties have
                        consented to proceed before a magistrate judge. Wherefore, it is hereby ORDERED that the preliminary injunction hearing set
                        for November 12, 2021 is VACATED. The Clerk is ORDERED to reassign this matter to the appropriate district judge. The
                        expedited briefing schedule set on October 19, 2021 (see Dkt. # 52 ) remains in place, subject to modification by the district
                        judge to whom the matter will be reassigned. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 10/20/2021)
  10/20/2021         54 CASE REASSIGNED pursuant to 53 MINUTE ORDER VACATING PRELIMINARY INJUNCTION HEARING AND
                        REASSIGNING CASE TO DISTRICT JUDGE. Pursuant to D.C.COLO.LCivR 40.1, the case has been directly reassigned to
                        Judge Christine M. Arguello. All future pleadings should be designated as 21-cv-00387-CMA. (Text Only Entry) (cmadr, )
                        (Entered: 10/21/2021)
  10/21/2021         55 NOTICE of Entry of Appearance by Catherine O'Brien Crum on behalf of Wellpath LLCAttorney Catherine O'Brien Crum added
                        to party Wellpath LLC(pty:dft) (O'Brien Crum, Catherine) (Entered: 10/21/2021)
  10/21/2021         56 WAIVER OF SERVICE Returned Executed by Wellpath LLC. Wellpath LLC waiver sent on 10/21/2021, answer due
                        12/20/2021. (O'Brien Crum, Catherine) (Entered: 10/21/2021)
  10/21/2021         57 NOTICE of Entry of Appearance by Lauren Elizabeth Kuhn on behalf of Wellpath LLCAttorney Lauren Elizabeth Kuhn added
                        to party Wellpath LLC(pty:dft) (Kuhn, Lauren) (Entered: 10/21/2021)
  10/28/2021         58 ORDER REFERRING CASE to Magistrate Judge N. Reid Neureiter. Magistrate Judge Neureiter is designated to conduct
                        ALLMTN proceedings pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b). Court-sponsored
                        alternative dispute resolution is governed by D.C.COLO.LCivR 16.6. The Magistrate Judge, at his/her discretion, may convene
                        such early neutral evaluation and/or settlement conferences and direct related procedures as may facilitate resolution of this case
                        without the necessity of a motion or prior authorization of the undersigned. SO ORDERED by Judge Christine M. Arguello on
                        10/28/2021. Text Only Entry (cmasec) (Entered: 10/28/2021)
  10/28/2021         59 MEMORANDUM regarding 48 MOTION for Preliminary Injunction , Expedited Briefing Schedule, and Expedited Hearing
                        filed by Darlene Griffith. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 10/28/2021.
                        Text Only Entry (cmasec) (Entered: 10/28/2021)
  10/28/2021         60 Minute ORDER by Magistrate Judge N. Reid Neureiter on 28 October 2021. It is hereby ORDERED that a Status Conference is
                        set on November 2, 2021 at 9:00 a.m. to address the briefing schedule for Plaintiffs Motion for Preliminary Injunction (Dkt. # 48
                        ). The parties are directed to call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the scheduled
                        time. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 10/28/2021)
  10/29/2021         61 NOTICE of Entry of Appearance by Daniel Patrick Struck on behalf of Wellpath LLCAttorney Daniel Patrick Struck added to
                        party Wellpath LLC(pty:dft) (Struck, Daniel) (Entered: 10/29/2021)
  10/29/2021         62 NOTICE of Entry of Appearance by Ashlee B. Hesman on behalf of Wellpath LLCAttorney Ashlee B. Hesman added to party
                        Wellpath LLC(pty:dft) (Hesman, Ashlee) (Entered: 10/29/2021)
  10/29/2021         63 NOTICE of Entry of Appearance by Kristina R. Rood on behalf of Wellpath LLCAttorney Kristina R. Rood added to party
                        Wellpath LLC(pty:dft) (Rood, Kristina) (Entered: 10/29/2021)
  10/29/2021         64 RESPONSE to 48 MOTION for Preliminary Injunction , Expedited Briefing Schedule, and Expedited Hearing Attorney Nathan
                        James Whitney added to party El Paso County Colorado(pty:dft), Attorney Nathan James Whitney added to party Bill
                        Elder(pty:dft), Attorney Nathan James Whitney added to party Bill (I) Elder(pty:dft), Attorney Nathan James Whitney added to
                        party Cy Gillespie(pty:dft) filed by Defendants Draper, El Paso County Colorado, Bill Elder, Bill (I) Elder, Cy Gillespie.
                        (Whitney, Nathan) (Entered: 10/29/2021)
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https://cod-ecf.sso.dcn/cgi-bin/DktRpt.pl?851108362891277-L_1_0-1                                                                                         8/14
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  10/29/2021         65 MOTION to Withdraw as Attorney Pursuant to D.C.Colo.LAttyR. 5(b) by Defendant Wellpath LLC. (O'Brien Crum, Catherine)
                        (Entered: 10/29/2021)
  11/01/2021         66 ORDER: Granting 65 Motion to Withdraw as Attorneys. Attorneys Catherine O'Brien Crum and Lauren Kuhn are permitted to
                        withdraw as counsel for Defendant Wellpath, LLC. The Court notes that Defendant continues to be represented by Mss. Hesman
                        and Rood and Mr. Struck. FURTHER ORDERED that the Clerk of the Court is DIRECTED to delete Mss. O'Brien Crum and
                        Kuhn's email addresses from future ECF filings and electronic notifications in this case. SO ORDERED by Judge Christine M.
                        Arguello on 11/1/2021. Text Only Entry(cmasec) (Entered: 11/01/2021)
  11/02/2021         67 COURTROOM MINUTES ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter: Telephonic Status
                        Conference on 11/2/2021. A two-day Preliminary Injunction Hearing is set to begin at 9:00 a.m. on December 9, 2021 before
                        Magistrate Judge N. Reid Neureiter in Courtroom C203, Second floor, Bryon G. Rogers Courthouse, 1929 Stout Street, Denver,
                        Colorado 80294. The parties shall exchange and file with the court witness and exhibit lists by the close of business day, no later
                        than December 6, 2021. Plaintiff is entitled to 5 requests for production with a 14-day response time. The request should be
                        reasonably related to the issues in the Preliminary Injunction. Plaintiff shall also prepare a proposed scheduling order for review
                        at the end of the Preliminary Injunction Hearing. FTR: Courtroom C203. (rvill, ) (Entered: 11/02/2021)
  11/05/2021         68 REPLY to Response to 48 MOTION for Preliminary Injunction , Expedited Briefing Schedule, and Expedited Hearing filed by
                        Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 11/05/2021)
  11/18/2021         69 Joint MOTION for Protective Order by Defendants Draper, El Paso County Colorado, Bill Elder, Cy Gillespie. (Attachments: # 1
                        Proposed Order (PDF Only) Exhibit 1- Proposed Stipulated Protective Order)(Whitney, Nathan) (Entered: 11/18/2021)
  11/22/2021         70 Minute ORDER by Magistrate Judge N. Reid Neureiter on 22 November 2021. It is hereby ORDERED that a Telephonic
                        Discovery Hearing is set for November 23, 2021 at 1:30 p.m. The parties are directed to prepare and email to Chambers by the
                        close of business on November 22, 2021 a short (no longer than ten pages) joint statement setting forth each sides respective
                        position concerning the dispute. The parties are advised that the joint statement will be attached to the courtroom minutes and
                        made a part of the record. Counsel for the parties are also directed to jointly call Court Chambers, 303-335-2403, at the
                        designated time. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 11/22/2021)
  11/23/2021         71 COURTROOM MINUTES for proceedings held before Magistrate Judge N. Reid Neureiter: Telephonic Discovery Hearing held
                        on 11/23/2021. FTR: Courtroom C203. (Attachments: # 1 Joint Statement Re: Discovery Dispute, # 2 Exhibit 1) (rvill, )
                        (Entered: 11/23/2021)
  11/28/2021         72 MEMORANDUM regarding 69 Joint MOTION for Protective Order filed by Cy Gillespie, El Paso County Colorado, Bill Elder,
                        Draper. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 11/28/2021. Text Only Entry
                        (cmasec) (Entered: 11/28/2021)
  11/29/2021         73 MOTION for Extension of Time to File Answer or Otherwise Respond by Defendants Draper, El Paso County Colorado, Bill
                        Elder, Bill (I) Elder, Cy Gillespie. (Attachments: # 1 Proposed Order (PDF Only) Proposed Order for Extension of Time to
                        Answer/Respond)(Whitney, Nathan) (Entered: 11/29/2021)
  11/29/2021         74 MEMORANDUM regarding 73 MOTION for Extension of Time to File Answer or Otherwise Respond filed by Cy Gillespie,
                        Bill (I) Elder, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate Judge N. Reid Neureiter by Judge
                        Christine M. Arguello on 11/29/2021. Text Only Entry (cmasec) (Entered: 11/29/2021)
  11/29/2021         75 Minute ORDER by Magistrate Judge N. Reid Neureiter on 29 November 2021. It is hereby ORDERED that the parties' Joint
                        Motion for a Protective Order (Dkt. # 69 ) is GRANTED finding good cause shown. The proposed Stipulated Protective Order
                        (Dkt. #69-1) is APPROVED and made an Order of Court. It is further ORDERED that County Defendants' Unopposed Motion
                        for Extension of Time to File a Responsive Pleading (Dkt. # 73 ) is GRANTED. County Defendants shall answer or otherwise
                        respond to Plaintiff's Second Amended Complaint (Dkt. # 46 ) on or before December 17, 2021. PLEASE READ ATTACHED
                        MINUTE ORDER. (cmadr, ) (Entered: 11/29/2021)
  11/29/2021         76 STIPULATED PROTECTIVE ORDER by Magistrate Judge N. Reid Neureiter on 29 November 2021. (cmadr, ) (Entered:
                        11/29/2021)
  12/01/2021         77 Unopposed MOTION for Writ of Habeas Corpus ad testificandum by Plaintiff Darlene Griffith. (Attachments: # 1 Proposed
                        Document Writ of Habeas Corpus ad Testificandum)(McNulty, Andrew) (Entered: 12/01/2021)
  12/02/2021         78 MEMORANDUM regarding 77 Unopposed MOTION for Writ of Habeas Corpus ad testificandum filed by Darlene Griffith.
                        Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 12/2/2021. Text Only Entry (cmasec)
                        (Entered: 12/02/2021)
  12/02/2021         79 WRIT of HABEAS CORPUS AD TESTIFICANDUM issued. (cmadr, ) (Entered: 12/02/2021)
  12/02/2021         80 ORDER granting 77 Motion for Writ of Habeas Corpus ad Testificandum by Magistrate Judge N. Reid Neureiter on 2 December
                        2021. Text Only Entry.(cmadr, ) (Entered: 12/02/2021)
  12/06/2021         81 Unopposed MOTION for Extension of Time to File and Exchange Plaintiff's Exhibit List and Make Disclosures by Plaintiff
                        Darlene Griffith. (McNulty, Andrew) (Entered: 12/06/2021)
  12/06/2021         82 MEMORANDUM regarding 81 Unopposed MOTION for Extension of Time to File and Exchange Plaintiff's Exhibit List and
                        Make Disclosures filed by Darlene Griffith. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M.
                        Arguello on 12/6/2021. Text Only Entry (cmasec) (Entered: 12/06/2021)
  12/06/2021         83 Minute ORDER by Magistrate Judge N. Reid Neureiter on 6 December 2021. It is hereby ORDERED that Plaintiff's Unopposed
                        Motion for Extension of Time to File and Exchange Exhibit Lists and Make Disclosure's (Dkt. # 81 ) is GRANTED finding good
                        cause shown. Plaintiff shall have up to and including December 7, 2021 to exchange and file her Exhibit List and to make her
                        appropriate disclosures. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 12/06/2021)


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  12/06/2021         84 MOTION for Extension of Time to Exchange Witness and Exhibit Lists for Preliminary Injunction Hearing by Defendants
                        Draper, El Paso County Colorado, Bill Elder, Cy Gillespie. (Whitney, Nathan) (Entered: 12/06/2021)
  12/06/2021         85 Witness List by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 12/06/2021)
  12/06/2021         86 Witness List by Defendant El Paso County Colorado. (Whitney, Nathan) (Entered: 12/06/2021)
  12/07/2021         87 Exhibit List for Preliminary Injunction Hearing by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 12/07/2021)
  12/07/2021         88 Exhibits in Support for Preliminary Injunction Hearing by Defendants Draper, El Paso County Colorado, Bill Elder, Cy
                        Gillespie. (Whitney, Nathan) (Entered: 12/07/2021)
  12/08/2021         89 MEMORANDUM regarding 84 MOTION for Extension of Time to Exchange Witness and Exhibit Lists for Preliminary
                        Injunction Hearing filed by Cy Gillespie, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate Judge N.
                        Reid Neureiter by Judge Christine M. Arguello on 12/8/2021. Text Only Entry (cmasec) (Entered: 12/08/2021)
  12/08/2021         90 Minute ORDER by Magistrate Judge N. Reid Neureiter on 8 December 2021. It is hereby ORDERED that Defendants'
                        Unopposed Motion for Extension of Time to File and Exchange Witness and Exhibit List for the Preliminary Injunction Hearing
                        (Dkt. # 84 ) is GRANTED finding good cause shown. Defendants shall have up to and including December 7, 2021 to exchange
                        and file their Witness and Exhibit List. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 12/08/2021)
  12/08/2021         91 STIPULATION by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 12/08/2021)
  12/08/2021         92 MINUTE ORDER by Magistrate Judge N. Reid Neureiter on 12/8/2021. In light of the parties' Stipulation (Dkt. # 91 ), it is
                        hereby ORDERED that Plaintiff's Motion for Preliminary Injunction (Dkt. # 48 ) is DENIED as moot and the Preliminary
                        Injunction Hearing set for December 9, 2021 at 9:00 a.m. is VACATED. It is further ORDERED that the terms of the Stipulation
                        are ADOPTED and made an Order of Court. (rvill, ) (Entered: 12/08/2021)
  12/09/2021         93 NOTICE of Entry of Appearance by Daniel Patrick Struck on behalf of Christine MohrAttorney Daniel Patrick Struck added to
                        party Christine Mohr(pty:dft) (Struck, Daniel) (Entered: 12/09/2021)
  12/09/2021         94 NOTICE of Entry of Appearance by Ashlee B. Hesman on behalf of Christine MohrAttorney Ashlee B. Hesman added to party
                        Christine Mohr(pty:dft) (Hesman, Ashlee) (Entered: 12/09/2021)
  12/09/2021         95 NOTICE of Entry of Appearance by Kristina R. Rood on behalf of Christine MohrAttorney Kristina R. Rood added to party
                        Christine Mohr(pty:dft) (Rood, Kristina) (Entered: 12/09/2021)
  12/09/2021         96 Unopposed MOTION for Extension of Time to File Answer or Otherwise Respond re 46 Amended Complaint as to Defendant
                        Mohr by Defendants Christine Mohr, Wellpath LLC. (Attachments: # 1 Proposed Order (PDF Only))(Hesman, Ashlee) (Entered:
                        12/09/2021)
  12/09/2021         97 MEMORANDUM regarding 96 Unopposed MOTION for Extension of Time to File Answer or Otherwise Respond re 46
                        Amended Complaint as to Defendant Mohr filed by Wellpath LLC, Christine Mohr. Motion referred to Magistrate Judge N. Reid
                        Neureiter by Judge Christine M. Arguello on 12/9/2021. Text Only Entry (cmasec) (Entered: 12/09/2021)
  12/09/2021         98 Minute ORDER by Magistrate Judge N. Reid Neureiter on 9 December 2021. It is hereby ORDERED that Defendant Dr.
                        Christine Mohr's Unopposed Motion for Extension of Time to File Responsive Pleading (Dkt. # 96 ) is GRANTED. Dr. Mohr
                        shall answer or otherwise respond to Plaintiff's Amended Complaint (Dkt. # 46 ) on or before December 20, 2021. PLEASE
                        READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 12/09/2021)
  12/16/2021         99 Joint MOTION to Stay Case Pending Settlement Conference by Defendants Draper, El Paso County Colorado, Bill Elder, Cy
                        Gillespie. (Attachments: # 1 Proposed Order (PDF Only) )(Whitney, Nathan) (Entered: 12/16/2021)
  12/29/2021        100 MEMORANDUM regarding 99 Joint MOTION to Stay Case Pending Settlement ConferenceJoint MOTION for
                        Hearing/Conference for Purposes of Settlement filed by Cy Gillespie, El Paso County Colorado, Bill Elder, Draper. Motion
                        referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 12/29/2021. Text Only Entry (cmasec)
                        (Entered: 12/29/2021)
  01/04/2022        101 Minute ORDER by Magistrate Judge N. Reid Neureiter on 4 January 2022. This case is before the Court on It is hereby
                        ORDERED that the parties' Joint Motion for Settlement Conference and to Stay Case Pending Settlement Conference (Dkt. # 99
                        ) is GRANTED as follows. The parties are directed to jointly contact Chambers (303-335-2403) no later that January 7, 2022 to
                        schedule a Settlement Conference. It is further ORDERED that this matter is STAYED until such time as a Settlement
                        Conference is scheduled or until further Order of the Court. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, )
                        (Entered: 01/04/2022)
  01/24/2022        102 Minute ORDER by Magistrate Judge N. Reid Neureiter on 24 January 2022. It is hereby ORDERED that a Settlement
                        Conference is set on April 8, 2022 at 9:00 a.m. in Courtroom C-203, Second Floor, Byron G. Rogers U.S. Courthouse, 1929
                        Stout Street, Denver, Colorado. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 01/24/2022)
  02/24/2022        103 MOTION for Leave to Appear Telephonically at April 8, 2022 Settlement Conference 102 Order, by Defendants Christine Mohr,
                        Wellpath LLC. (Hesman, Ashlee) (Entered: 02/24/2022)
  02/24/2022        104 MEMORANDUM regarding 103 MOTION for Leave to Appear Telephonically at April 8, 2022 Settlement Conference 102
                        Order, filed by Wellpath LLC, Christine Mohr. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M.
                        Arguello on 2/24/2022. Text Only Entry (cmasec) (Entered: 02/24/2022)
  03/01/2022        105 Minute ORDER by Magistrate Judge N. Reid Neureiter on 1 March 2022. It is hereby ORDERED that Defendants Wellpath and
                        Mohr's Unopposed Motion for Leave to Appear Telephonically at April 8, 2022 Settlement Conference (Dkt. # 103 ) is
                        GRANTED IN PART and DENIED IN PART as follows. The Wellpath representative is given leave to attend the April 8, 2022
                        Settlement Conference by telephone, but the Court expects Wellpath's counsel to appear in person. PLEASE READ ATTACHED
                        MINUTE ORDER. (cmadr, ) (Entered: 03/01/2022)

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  03/17/2022        106 Unopposed MOTION for Leave to Appear CLIENTS AND ADJUSTER TO APPEAR TELEPHONICALLY AT APRIL 8, 2022
                        SETTLEMENT CONFERENCE AND REQUEST FOR STATUS CONFERENCE by Defendants Draper, El Paso County
                        Colorado, Bill Elder, Bill (I) Elder, Cy Gillespie. (Attachments: # 1 Exhibit A. Resolution 20-19)(Whitney, Nathan) (Entered:
                        03/17/2022)
  03/17/2022        107 MEMORANDUM regarding 106 Unopposed MOTION for Leave to Appear CLIENTS AND ADJUSTER TO APPEAR
                        TELEPHONICALLY AT APRIL 8, 2022 SETTLEMENT CONFERENCE AND REQUEST FOR STATUS CONFERENCE filed by
                        Cy Gillespie, Bill (I) Elder, El Paso County Colorado, Bill Elder, Draper. Motion referred to Magistrate Judge N. Reid Neureiter
                        by Judge Christine M. Arguello on 3/17/2022. Text Only Entry (cmasec) (Entered: 03/17/2022)
  03/18/2022        108 Minute ORDER by Magistrate Judge N. Reid Neureiter on 18 March 2022. It is hereby ORDERED that the County Defendants'
                        Unopposed Motion for Clients and Adjuster to Appear Telephonically at April 8, 2022 Settlement Conference and Request for
                        Status Conference (Dkt. # 106 ) is GRANTED IN PART and DENIED IN PART as follows. Defendants Elder and Gillespie and
                        El Paso County's Adjuster are given leave to attend the Settlement Conference telephonically. The Court understands that the
                        County Defendants' settlement authority will be contingent upon final approval by a vote of the El Paso County Board of County
                        Commissioners, and the Settlement Conference will proceed with that understanding. No status conference is necessary.
                        PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 03/18/2022)
  04/08/2022        109 Minute ORDER by Magistrate Judge N. Reid Neureiter on 8 April 2022. It is hereby ORDERED that a Scheduling Conference is
                        set for April 29, 2022 at 10:00 a.m. The proposed Scheduling Order is due on or before April 22, 2022. The parties are directed to
                        call the conference line as a participant at (888) 398-2342, Access Code 5755390# at the scheduled time. PLEASE READ
                        ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 04/08/2022)
  04/08/2022        110 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter: Settlement Conference held on 4/8/2022.
                        (rvill, ) (rvill, ). (Entered: 04/11/2022)
  04/22/2022        111 Proposed Scheduling Order by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 04/22/2022)
  04/22/2022        112 CONSENT to Jurisdiction of Magistrate Judge by Defendants Christine Mohr, Wellpath LLC All parties do not consent..
                        (Hesman, Ashlee) (Entered: 04/22/2022)
  04/29/2022        113 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter: Telephonic Scheduling Conference held on
                        4/29/2022. Discovery due by 2/15/2023. Dispositive Motions due by 3/17/2023. Telephonic Status Conference set for 10/11/2022
                        at 11:30 AM in Courtroom C203 before Magistrate Judge N. Reid Neureiter. The parties are directed to call the conference line
                        asa participant at (888) 398-2342, Access Code 5755390# at the scheduled time. FTR: Courtroom C203. (rvill, ) (Entered:
                        04/29/2022)
  04/29/2022        114 SCHEDULING ORDER by Magistrate Judge N. Reid Neureiter on April 29, 2022. (rvill, ) (Entered: 04/29/2022)
  05/09/2022        115 STIPULATION re 76 Protective Order (Joint Stipulation) by Defendants Draper, El Paso County Colorado, Bill Elder, Bill (I)
                        Elder, Cy Gillespie. (Strider, Christopher) (Entered: 05/09/2022)
  05/24/2022        116 STIPULATION of Dismissal of Party Defendant Jeremy Draper by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered:
                        05/24/2022)
  06/01/2022        117 NOTICE of Settlement by Defendants Christine Mohr, Wellpath LLC (Rood, Kristina) (Entered: 06/01/2022)
  06/01/2022        118 ORDER: In light of the parties' 117 Notice of Settlement, the parties are DIRECTED to file appropriate dismissal documents in
                        this matter by NOT LATER THAN 6/22/2022. SO ORDERED Dismissal Paper due by 6/22/2022. by Judge Christine M.
                        Arguello on 6/1/2022. Text Only Entry (cmasec) (Entered: 06/01/2022)
  06/02/2022        119 STIPULATION of Dismissal of Party Dr. Christine Mohr with Prejudice by Defendants Christine Mohr, Wellpath LLC. (Rood,
                        Kristina) (Entered: 06/02/2022)
  06/02/2022        120 Unopposed MOTION for Leave to File Third Amended Complaint by Plaintiff Darlene Griffith. (Attachments: # 1 Exhibit 1 -
                        Third Amended Complaint - REDLINE, # 2 Exhibit 2 - Third Amended Complaint - CLEAN)(McNulty, Andrew) (Entered:
                        06/02/2022)
  06/02/2022        121 Pursuant to 119 STIPULATION of Dismissal of Party, Defendant Christine Mohr (in her individual capacity) is terminated. Text
                        Only Entry. (sphil, ) (Entered: 06/02/2022)
  06/03/2022        122 STIPULATION of Dismissal of Party Wellpath, LLC with Prejudice by Defendant Wellpath LLC. (Rood, Kristina) (Entered:
                        06/03/2022)
  06/07/2022        123 ORDER: Granting 120 Motion for Leave to File Third Amended Complaint. The Third Amended Complaint (attached as Exhibit
                        [120-2] is accepted for filing and shall be filed by the Clerks Office as a separate document. SO ORDERED by Judge Christine
                        M. Arguello on 6/7/2022. Text Only Entry(cmasec) (Entered: 06/07/2022)
  06/07/2022        124 THIRD AMENDED COMPLAINT and Jury Demand against Bill Elder, Bill (I) Elder, El Paso County Colorado, Cy Gillespie,
                        Brande Ford, Elizabeth O'Neal, Andrew Mustapick, Tiffany Noe, Dawne Elliss, filed by Darlene Griffith.(sphil, ) Modified on
                        6/7/2022 (Amended compliant filed per [#123] order. (sphil, ). (Entered: 06/07/2022)
  06/15/2022        125 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Andrew Mustapick waiver sent on 6/7/2022, answer due
                        8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022        126 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Brande Ford waiver sent on 6/7/2022, answer due 8/6/2022.
                        (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022        127 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Dawne Elliss waiver sent on 6/7/2022, answer due 8/6/2022.
                        (McNulty, Andrew) (Entered: 06/15/2022)


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  06/15/2022        128 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Elizabeth O'Neal waiver sent on 6/7/2022, answer due
                        8/6/2022. (McNulty, Andrew) (Entered: 06/15/2022)
  06/15/2022        129 WAIVER OF SERVICE Returned Executed by Darlene Griffith. Tiffany Noe waiver sent on 6/7/2022, answer due 8/6/2022.
                        (McNulty, Andrew) (Entered: 06/15/2022)
  06/20/2022        130 Unopposed MOTION for Leave to File Excess Pages by Defendants Cynthia Ayad, El Paso County Colorado, Bill Elder, Dawne
                        Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 06/20/2022)
  06/22/2022        131 ORDER: Granting 130 Unopposed Motion for Leave to File Excess Pages. Defendants are permitted to file their Motion to
                        Dismiss in excess of this Court's page limitations, NOT TO EXCEED 40 pages in total; Plaintiff's Response NOT TO EXCEED
                        40 pages total. SO ORDERED by Judge Christine M. Arguello on 6/22/2022. Text Only Entry(cmasec) (Entered: 06/22/2022)
  06/28/2022        132 MOTION to Dismiss by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy
                        Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 06/28/2022)
  06/29/2022        133 MEMORANDUM regarding 132 MOTION to Dismiss filed by Bill (I) Elder, Brande Ford, Dawne Elliss, Andrew Mustapick,
                        Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill Elder, El Paso County Colorado. Motion referred to Magistrate Judge N. Reid
                        Neureiter by Judge Christine M. Arguello on 6/29/2022. Text Only Entry (cmasec) (Entered: 06/29/2022)
  07/07/2022        134 MOTION to Stay by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie,
                        Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 07/07/2022)
  07/08/2022        135 MEMORANDUM regarding 134 MOTION to Stay filed by Bill (I) Elder, Brande Ford, Dawne Elliss, Andrew Mustapick, Cy
                        Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill Elder, El Paso County Colorado. Motion referred to Magistrate Judge N. Reid
                        Neureiter by Judge Christine M. Arguello on 7/8/2022. Text Only Entry (cmasec) (Entered: 07/08/2022)
  07/12/2022        136 RESPONSE to 134 MOTION to Stay filed by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 07/12/2022)
  07/15/2022        137 Unopposed MOTION for Extension of Time to File Response/Reply as to 132 MOTION to Dismiss by Plaintiff Darlene Griffith.
                        (McNulty, Andrew) (Entered: 07/15/2022)
  07/24/2022        138 MEMORANDUM regarding 137 Unopposed MOTION for Extension of Time to File Response/Reply as to 132 MOTION to
                        Dismiss filed by Darlene Griffith. Motion referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on
                        7/24/2022. Text Only Entry (cmasec) (Entered: 07/24/2022)
  07/25/2022        139 Minute ORDER by Magistrate Judge N. Reid Neureiter on 25 July 2022. It is hereby ORDERED that Plaintiff's Unopposed
                        Motion for Extension of Time for Plaintiff to File Response to Defendants' Motion to Dismiss (Dkt. # 137 ) is GRANTED.
                        Plaintiff's response to Defendants' Motion to Dismiss (Dkt. # 132 ) shall be filed on or before August 9, 2022. It is further
                        ORDERED that the Court will hear argument on Defendants' Motion to Dismiss (Dkt. #132) and Motion to Stay Discovery (Dkt.
                        # 134 ) at the hearing set for October 11, 2022. To ensure that the parties have adequate time to present their arguments, the
                        hearing is RESET to October 11, 2022 at 11:00 a.m. The parties are directed to call the conference line as a participant at (888)
                        398-2342, Access Code 5755390# at the scheduled time. PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered:
                        07/25/2022)
  07/26/2022        140 REPLY to Response to 134 MOTION to Stay filed by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne
                        Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 07/26/2022)
  07/27/2022        141 NOTICE of Entry of Appearance by Steven Ward Martyn on behalf of El Paso County Colorado, Bill Elder, Bill (I) Elder,
                        Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'NealAttorney Steven Ward Martyn
                        added to party El Paso County Colorado(pty:dft), Attorney Steven Ward Martyn added to party Bill Elder(pty:dft), Attorney
                        Steven Ward Martyn added to party Bill (I) Elder(pty:dft), Attorney Steven Ward Martyn added to party Dawne Elliss(pty:dft),
                        Attorney Steven Ward Martyn added to party Brande Ford(pty:dft), Attorney Steven Ward Martyn added to party Cy
                        Gillespie(pty:dft), Attorney Steven Ward Martyn added to party Andrew Mustapick(pty:dft), Attorney Steven Ward Martyn added
                        to party Tiffany Noe(pty:dft), Attorney Steven Ward Martyn added to party Elizabeth O'Neal(pty:dft) (Martyn, Steven) (Entered:
                        07/27/2022)
  08/01/2022        142 Unopposed MOTION for Leave to File Excess Pages on Plaintiff's Response to Defendants' Motion to Dismiss Third Amended
                        Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 08/01/2022)
  08/01/2022        143 MEMORANDUM regarding 142 Unopposed MOTION for Leave to File Excess Pages on Plaintiff's Response to Defendants'
                        Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) filed by Darlene Griffith. Motion
                        referred to Magistrate Judge N. Reid Neureiter by Judge Christine M. Arguello on 8/1/2022. Text Only Entry (cmasec) (Entered:
                        08/01/2022)
  08/01/2022        144 MINUTE ORDER by Magistrate Judge N. Reid Neureiter on 08/01/2022. It is hereby ORDERED that Plaintiff's Unopposed
                        Motion for Leave to Exceed Page Limitation Regarding Plaintiff's Response to Defendants' Motion to Dismiss Third Amended
                        Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) (Dkt. # 142 is GRANTED. Plaintiff's response to Defendants' Motion to
                        Dismiss (Dkt. # 132 shall be no longer than fifty (50) pages in length, excluding the certificate of service. PLEASE READ
                        ATTACHED MINUTE ORDER (alave, ) (Entered: 08/01/2022)
  08/03/2022        145 NOTICE to Terminate ECF Filing Notifications to Counsel of Record by Defendants Christine Mohr, Wellpath LLC (Rood,
                        Kristina) (Entered: 08/03/2022)
  08/04/2022        146 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 145 Notice (Other) filed by
                        attorney Rood, Kristina. The document is incorrectly formatted. Action to take - REFILE THE DOCUMENT. In order for an
                        attorney to be withdrawn as counsel of record and term their ECF Notices, a Motion to Withdraw as Attorney must be filed.
                        Refer to D.C.COLO.LAttyR 5(b). (Text Only Entry) (sphil, ) (Entered: 08/04/2022)
  08/08/2022        147 RESPONSE to 132 MOTION to Dismiss THIRD AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(1) AND (6)
                        filed by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 08/08/2022)
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  08/10/2022        148 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC. (Struck, Daniel) (Entered: 08/10/2022)
  08/10/2022        149 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC. (Hesman, Ashlee) (Entered: 08/10/2022)
  08/10/2022        150 MOTION to Withdraw as Attorney by Defendants Christine Mohr, Wellpath LLC. (Rood, Kristina) (Entered: 08/10/2022)
  08/11/2022        151 ORDER: Granting 148 , 149 , and 150 Motions to Withdraw as Attorneys. Attorneys Daniel P. Struck, Ashlee B. Hesman, and
                        Kristina R. Rood are permitted to withdraw as counsel for Defendants Wellpath, LLC and Dr. Christine Mohr. FURTHER
                        ORDERED that the Clerk of the Court is DIRECTED to delete Mr. Struck and Mss. Hesman and Rood's email addresses from
                        future ECF filings and electronic notifications in this case. SO ORDERED by Senior Judge Christine M. Arguello on 8/11/2022.
                        Text Only Entry(cmasec) (Entered: 08/11/2022)
  08/16/2022        152 MOTION for Extension of Time to File Response/Reply as to 132 MOTION to Dismiss , MOTION for Leave to File Excess
                        Pages in their Reply in Support of Motion to Dismiss by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne
                        Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 08/16/2022)
  08/16/2022        153 MEMORANDUM regarding 152 MOTION for Extension of Time to File Response/Reply as to 132 MOTION to Dismiss
                        MOTION for Leave to File Excess Pages in their Reply in Support of Motion to Dismiss filed by Bill (I) Elder, Brande Ford,
                        Dawne Elliss, Andrew Mustapick, Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill Elder, El Paso County Colorado. Motion
                        referred to Magistrate Judge N. Reid Neureiter by Senior Judge Christine M. Arguello on 8/16/2022. Text Only Entry (cmasec)
                        (Entered: 08/16/2022)
  08/17/2022        154 Minute ORDER by Magistrate Judge N. Reid Neureiter on 17 August 2022. It is hereby ORDERED that Defendants' Unopposed
                        Motion for Extension of Time to File a Responsive Pleading and Motion for an Extension of Page Limitations (Dkt. # 152 ) is
                        GRANTED. Defendants' reply brief is due on or before August 26, 2022 and shall be no longer than twenty-five (25) pages.
                        PLEASE READ ATTACHED MINUTE ORDER. (cmadr, ) (Entered: 08/17/2022)
  08/26/2022        155 REPLY to Response to 132 MOTION to Dismiss filed by Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne
                        Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 08/26/2022)
  08/29/2022        156 NOTICE of Supplemental Authorities re: 132 MOTION to Dismiss , 147 Response to Motion by Plaintiff Darlene Griffith
                        (McNulty, Andrew) (Entered: 08/29/2022)
  09/29/2022        157 NOTICE of Entry of Appearance by Bryan E. Schmid on behalf of El Paso County Colorado, Bill Elder, Dawne Elliss, Brande
                        Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'NealAttorney Bryan E. Schmid added to party El Paso County
                        Colorado(pty:dft), Attorney Bryan E. Schmid added to party Bill Elder(pty:dft), Attorney Bryan E. Schmid added to party Dawne
                        Elliss(pty:dft), Attorney Bryan E. Schmid added to party Brande Ford(pty:dft), Attorney Bryan E. Schmid added to party Cy
                        Gillespie(pty:dft), Attorney Bryan E. Schmid added to party Andrew Mustapick(pty:dft), Attorney Bryan E. Schmid added to
                        party Tiffany Noe(pty:dft), Attorney Bryan E. Schmid added to party Elizabeth O'Neal(pty:dft) (Schmid, Bryan) (Entered:
                        09/29/2022)
  09/29/2022        158 Joint MOTION to Amend/Correct/Modify 114 Scheduling Order by Defendants Bill Elder, Bill (I) Elder, Dawne Elliss, Brande
                        Ford, Cy Gillespie, Andrew Mustapick, Tiffany Noe, Elizabeth O'Neal. (Schmid, Bryan) (Entered: 09/29/2022)
  09/29/2022        159 MEMORANDUM regarding 158 Joint MOTION to Amend/Correct/Modify 114 Scheduling Order filed by Bill (I) Elder, Brande
                        Ford, Dawne Elliss, Andrew Mustapick, Cy Gillespie, Elizabeth O'Neal, Tiffany Noe, Bill Elder. Motion referred to Magistrate
                        Judge N. Reid Neureiter by Senior Judge Christine M. Arguello on 9/29/2022. Text Only Entry (cmasec) (Entered: 09/29/2022)
  09/29/2022        160 Minute ORDER by Magistrate Judge N. Reid Neureiter on 29 September 2022. It is hereby ORDERED that the parties' Joint
                        Motion to Modify the Scheduling Order (Dkt. # 158 ) is GRANTED. The Scheduling Order (Dkt. # 114 ) is MODIFIED as
                        follows: Discovery due by 6/15/2023. Dispositive Motions due by 7/15/2023. PLEASE READ ATTACHED MINUTE ORDER.
                        (cmadr, ) (Entered: 09/30/2022)
  10/11/2022        161 MINUTE ENTRY for proceedings held before Magistrate Judge N. Reid Neureiter: Telephonic Motion Hearing held on
                        10/11/2022. Motion to Stay Discovery (Dkt. # 134 ) is TAKEN UNDER ADVISEMENT. The Court will issue a written order.
                        Defendants' Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) (Dkt. # 132 ) is TAKEN
                        UNDER ADVISEMENT. The Court will issue a written recommendation in due course. FTR: Courtroom C203. (rvill, )
                        (Entered: 10/11/2022)
  11/02/2022        162 ORDER ON DEFENDANTS' MOTION TO STAY DISCOVERY (Dkt. # 134 ) by Magistrate Judge N. Reid Neureiter on 2
                        November 2022. it is hereby ORDERED that Defendants' Motion to Stay Discovery (Dkt. #134) is GRANTED. Discovery is
                        STAYED pending the undersigned's issuance of a Report and Recommendation on Defendants' Motion to Dismiss Third
                        Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6) (Dkt. # 132 ), after which the Court will reassess whether it is
                        appropriate to lift the stay and proceed with discovery. (cmadr, ) (Entered: 11/02/2022)
  11/12/2022        163 TRANSCRIPT of Telephonic Motion Hearing held on October 11, 2022 before Magistrate Judge Neureiter. Pages: 1-62.
                        NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the
                        Court, by filing a Notice of Intent to Redact, of the party's intent to redact personal identifiers from the electronic
                        transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will
                        be made electronically available after 90 days. Please see the Notice of Electronic Availability of Transcripts document at
                        www.cod.uscourts.gov.
                        Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90
                        day deadline for electronic posting on PACER. (Patterson Transcription Company, ) (Entered: 11/12/2022)
  02/09/2023        164 Pro Se Notice of Change of Address/Contact Information by Plaintiff Darlene Griffith (trvo, ) (Entered: 02/10/2023)
  02/27/2023        165 REPORT AND RECOMMENDATION ONDEFENDANTS' MOTION TO DISMISS THIRD AMENDED
                        COMPLAINTPURSUANT TO Fed. R. Civ. P. 12(b)(1) and (6)(Dkt. # 132 ) by Magistrate Judge N. Reid Neureiter on 27
                        February 2023. In light of the foregoing, it is hereby RECOMMENDED that Defendants' Motion to Dismiss (Dkt. # 132 ) be
                        GRANTED, and that Plaintiff's Third Amended Complaint (Dkt. # 124 ) be DISMISSED. (cmadr, ) (Entered: 02/27/2023)
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  03/02/2023        166 AFFIDAVIT by Plaintiff Darlene Griffith. (sphil, ) (Entered: 03/03/2023)
  03/06/2023        167 Unopposed MOTION for Leave to EXCEED PAGE LIMITATION REGARDING OBJECTION TO REPORT AND
                        RECOMMENDATION by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 03/06/2023)
  03/08/2023        168 ORDER: Granting 167 Unopposed Motion for Leave to File Excess Pages. Defendant is permitted to file her Objection to 165
                        Magistrate Judge Report and Recommendation in excess of this Court's page limitations, NOT TO EXCEED 30 pages in total,
                        excluding Certificate of Service. SO ORDERED by Senior Judge Christine M. Arguello on 3/8/2023. Text Only Entry(cmasec)
                        (Entered: 03/08/2023)
  03/08/2023        169 OBJECTION to 165 Report and Recommendations filed by Plaintiff Darlene Griffith. (McNulty, Andrew) (Entered: 03/08/2023)
  03/13/2023        170 Unopposed MOTION for Extension of Time to File Response/Reply as to 165 RECOMMENDATION OF UNITED STATES
                        MAGISTRATE JUDGE re 124 Amended Complaint,, Add and Terminate Parties, filed by Darlene Griffith, 132 MOTION to
                        Dismiss filed by Bill (I) Elder, Brande Ford, Dawne Elliss, Andrew Mustapick, Cy Gill and to Exceed Page Limitation by
                        Defendants El Paso County Colorado, Bill Elder, Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew Mustapick,
                        Tiffany Noe, Elizabeth O'Neal. (Whitney, Nathan) (Entered: 03/13/2023)
  03/17/2023        171 ORDER: Granting in part and Denying in part 170 Unopposed Motion for Extension of Time to File Response and Exceed Page
                        Limitations. GRANTING Motion to Exceed Page Limitations. Defendants are permitted to file their Response to 169 Plaintiffs
                        Objection to 165 Magistrate Judge's Report and Recommendation in excess of this Court's page limitations, NOT TO EXCEED
                        25 pages in total, excluding Certificate of Service. DENYING Motion for Extension of Time. Defendants Objections continue to
                        be due 3/22/2023. SO ORDERED by Judge Christine M. Arguello on 3/17/2023. Text Only Entry(cmasec) (Entered: 03/17/2023)
  03/22/2023        172 RESPONSE to Objection to 165 RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE re 124 Amended
                        Complaint,, Add and Terminate Parties, filed by Darlene Griffith, 132 MOTION to Dismiss filed by Bill (I) Elder, Brande Ford,
                        Dawne Elliss, Andrew Mustapick, Cy Gill filed by Defendants Bill (I) Elder, Dawne Elliss, Brande Ford, Cy Gillespie, Andrew
                        Mustapick. (Whitney, Nathan) (Entered: 03/22/2023)
  03/27/2023        173 ORDER Affirming and Adopting Recommendation of United States Magistrate Judge by Senior Judge Christine M. Arguello on
                        3/27/2023. 165 Report and Recommendations; granting 132 Motion to Dismiss. (msmot) (Entered: 03/27/2023)
  03/27/2023        174 FINAL JUDGMENT by Clerk 3/27/2023. 173 Order on Motion to Dismiss, Order on Report and Recommendations (msmot)
                        (Entered: 03/27/2023)
  04/25/2023        175 NOTICE OF APPEAL as to 173 Order on Motion to Dismiss, Order on Report and Recommendations by Plaintiff Darlene
                        Griffith (Filing fee $ 505, Receipt Number ACODC-9066381) (McNulty, Andrew) (Entered: 04/25/2023)




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-00387-NRN

   DARLENE GRIFFITH

   Plaintiff,

   v.

   EL PASO COUNTY, COLORADO, et al.

   Defendants.


            DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT
                   PURSUANT TO FED. R. CIV. P. 12(b)(1) and (6)


           Defendants El Paso County (“El Paso County”), Bill Elder (“Elder”), Cy Gillespie

   (“Gillespie”), Dawne Elliss (“Elliss”), Andrew Mustapick (“Mustapick”), Elizabeth O’Neal

   (O’Neal”), Brande Ford (“Ford”), and Tiffany Noe (“Noe”) (collectively the “Defendants”),

   through the Office of the County Attorney of El Paso County, Colorado, move to dismiss

   Plaintiff’s Third Amended Complaint (Doc. 124, the “Complaint”) under Fed. R. Civ. P.

   12(b)(1) and (6) as follows:

                              CERTIFICATION OF CONFERRAL

           The Parties have conferred about Plaintiff Darlene Griffith’s (“Plaintiff’s”)

   allegations, including during a settlement conference and via telephone on June 28, 2022.

   The parties do not believe any further amendment of the Complaint is warranted. Plaintiff

   opposes this Motion.




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                                    I.   INTRODUCTION

          Plaintiff is a transgender female who has been diagnosed with Gender Dysphoria.

   In the Complaint, Plaintiff asserts 16 claims for relief under federal and state laws alleging

   that: (i) during intake into the El Paso County Criminal Justice Center (“CJC”), she was

   misgendered by the female deputy who visually searched her upper torso, and verbally

   harassed and threatened by the male deputy who visually searched her lower torso; (ii)

   she asked to be housed in a female ward but was housed in a male ward instead, where

   she was sexually assaulted by a male inmate, misgendered by deputies, and subject to

   pat down searches by male deputies; and (iii) she was denied access to female

   undergarments. While the Defendants vigorously deny many of Plaintiff’s allegations,

   Fed. R. Civ. P. 12(b)(6) mandates they be accepted as true for purposes of this Motion.

   Even so, Plaintiff’s allegations do not state viable constitutional or statutory violations and

   do not implicate clearly established rights. The Defendants respectfully ask the Court to

   grant this Motion and dismiss Plaintiff’s claims against them.

                                   II. MATERIAL ALLEGATIONS

          The Complaint is 55 pages long with 347 individually numbered paragraphs, yet it

   contains surprisingly few material allegations. These allegations are summarized below.

      A. Material Allegations Related to Plaintiff’s Housing Classification

          Plaintiff is a transgender woman who has been diagnosed with Gender Dysphoria.

   (Doc. 124, ¶ 2) Elder is the elected sheriff of the El Paso County Sheriff’s Office (“EPSO”)

   and is responsible for running CJC. (Id. at ¶ 14) Gillespie is an EPSO Commander

   responsible for overseeing CJC’s operations. (Id. at ¶ 15, 42)


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          Plaintiff entered CJC on July 20, 2020, as a pretrial detainee and an openly

   transgender woman with a feminine appearance. (Id. at ¶ 47) During the intake process,

   Plaintiff informed unidentified individuals at CJC that she is a transgender woman

   diagnosed with Gender Dysphoria and requested placement in the women’s ward

   because she feared abuse, being misgendered, and being searched by male deputies.

   (Id. at ¶ 48)

          Separately during intake into CJC, Noe classified Plaintiff into a men’s ward

   “despite knowing that [Plaintiff] is a transgender woman and that [Plaintiff] wished to be

   placed into [a women’s ward].” (Id. at ¶ 54) Plaintiff does not plausibly allege that Noe

   knew of Plaintiff’s Gender Dysphoria diagnosis or her fear that she would be abused,

   misgendered, or searched by male deputies in the men’s ward.

          On July 29, 2020, Ford did an ADA interview with Plaintiff during which Plaintiff

   informed Ford that she wished to be placed in a women’s ward because “[i]t was clear to

   [Ford]” that Plaintiff is a transgender woman (Id. at ¶ 55) Ford wrote in Plaintiff’s records

   that there were no disability concerns related to Plaintiff’s housing. (Id.) Plaintiff does not

   plausibly allege that Ford knew of Plaintiff’s Gender Dysphoria diagnosis or her fear that

   she would be abused, misgendered, or searched by male deputies in the men’s ward.

          On October 29, 2020, Plaintiff submitted a grievance “which she believed would

   be transmitted to [] Gillespie” requesting placement in a women’s ward “because she is a

   transgender woman.” (Id. at ¶ 57) The grievance also stated that Plaintiff had been placed

   in a women’s ward in a different facility. (Id.) O’Neal, not Gillespie, denied Plaintiff’s

   request to be placed in the women’s ward. (Id.) Plaintiff does not plausibly allege that


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   O’Neal knew of Plaintiff’s Gender Dysphoria diagnosis or her fear that she would be

   abused, misgendered, or searched by male deputies in the men’s ward.

          The Complaint also contains allegations about Plaintiff’s kites, grievances, and

   communications with individuals who are not parties to this case in which she discussed

   her placement in the men’s ward. On December 9, 2020, Plaintiff submitted a grievance

   requesting placement in a women’s ward, complaining that deputies were referring to her

   using male pronouns, and noting that she had previously been placed in a women’s ward

   in a different facility. (Id. at ¶ 58) On January 4, 2021, an unidentified individual responded

   by denying Plaintiff’s request. (Id.) On January 15, 2021, Plaintiff submitted another

   grievance regarding her housing and the conduct of “numerous staff regarding the issue,”

   and notifying CJC and its medical provider that she had been placed in a women’s ward

   in a different facility. (Id. at ¶ 59) On January 22, 2021, Plaintiff told Raymond Carrington

   (“Carrington,” a jail mental health provider employed by WellPath) that she was

   experiencing anxiety because of her treatment as a transgender inmate and her fear of

   retaliation from grieving said conduct. (Id. at ¶ 60). That same day, Plaintiff also wrote a

   grievance asking to be transferred to a women’s ward. (Id. at ¶ 61) On February 26, 2021,

   Plaintiff asked an unidentified mental health provider why she continued to be housed in

   the men’s ward and notified the provider of her resulting anxiety and depression. (Id. ¶ at

   62) On March 9, 2021, Plaintiff wrote a grievance asking that Christine Mohr (“Mohr,” a

   formerly named party employed by WellPath) provide information to EPSO about

   Plaintiff’s Gender Dysphoria. (Id. at ¶ 63) On March 10, 2021, Plaintiff wrote a kite

   complaining about her placement in CJC. (Id. at ¶ 64) On March 11, 2021, Plaintiff


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   informed Mohr that she wanted to be housed in a women’s ward and had previously been

   housed in a women’s ward in a different facility, and Mohr informed Plaintiff she would

   consult with EPSO regarding Plaintiff’s housing. (Id. at ¶ 65) On March 19, 2021, Mohr

   acknowledged talking to unidentified EPSO officials about Plaintiff’s concerns and, on

   March 27, 2021, Mohr informed Plaintiff that she would not be moved to a female ward.

   (Id. at ¶ 66)

      B. Material Allegations Related to the Initial Strip-Search of Plaintiff

          Plaintiff was subject to a “visual body-cavity search” upon intake at CJC. (Id. at ¶

   72) Plaintiff was taken to a separate room where a male deputy (Mustapick) and female

   deputy (Elliss) arrived, prompting Plaintiff to ask Mustapick to leave. (Id. at ¶ 73-74) Elliss

   informed Plaintiff that, per her sergeant’s orders, a male deputy would be present during

   the search and conduct part of the search because Plaintiff was “still a male” in CJC’s

   “system.” (Id. at ¶ 74) Elliss directed Plaintiff to take off her shirt and Plaintiff complied.

   Elliss visually inspected Plaintiff’s breasts while Mustapick was present. (Id. at ¶ 75-76)

   Elliss then gave Plaintiff a sports bra and allegedly told Mustapick “he is all yours now to

   strip out” before leaving the room. (Id. at ¶ 76) Mustapick ordered Plaintiff to remove the

   clothing on the lower half of her body and Plaintiff complied. (Id. at ¶ 77) Mustapick

   allegedly told Plaintiff to “spread [her] sexy cheeks,” that he was “going to go balls deep

   in that ass” while grabbing his groin, and that Plaintiff had better not tell anyone about

   what he said or Plaintiff would be “brutalized” by CJC guards. (Id. at ¶ 77-78 (brackets in

   original)).




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         C. Material Allegations Regarding an Alleged Sexual Assault by Another Inmate

            Plaintiff alleges that, on November 18, 2021, another inmate groped her right

   breast and said, “you know you want this dick.” (Id. at ¶ 84-85) Afterward, Plaintiff asked

   to see a mental health provider and to be moved to a female ward. (Id. at ¶ 86, 88) Plaintiff

   broadly asserts that “[t]his was not the first time that [Plaintiff] was assaulted by the other

   inmate” but provides no further allegations about the inmate’s identity or any other

   purported assault. (Id. at ¶ 87)

         D. Material Allegations Regarding Pat-Down Searches of Plaintiff by Male
            Deputies

            On January 20, 2021, Plaintiff wrote a grievance saying that her anxiety went

   “through the roof” when she was patted down by male deputies and that she was “being

   singled out as a transgender woman for different treatment.” (Id. at ¶ 90) On January 21,

   2021, Plaintiff complained to the jail medical provider about the impact of male pat-downs

   on her mental health. (Id.) The next day, Plaintiff wrote a grievance because she was

   continually subject to cross-gender pat-down searches, including one where a deputy

   intentionally touched her breast. (Id. at ¶ 91) On January 23, 2021, Plaintiff wrote a kite

   regarding the lack of accommodations for her Gender Dysphoria, citing cross-gender pat-

   down searches. The following month, Plaintiff wrote a grievance because she was

   subjected to “non-routine cross-gender pat down searches on a daily basis...” (Id. at ¶ 92-

   93)

         E. Material Allegations Regarding Misgendering by Deputies

            Plaintiff alleges that she was misgendered by sergeants and deputies throughout

   her incarceration at CJC. (Id. at ¶ 99.) Plaintiff alleges that, on September 16, 2020, a

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   deputy yelled a derogatory term in reference to Plaintiff after she complained that other

   inmates in her ward were not required to wear shirts. (Id. at ¶ 100) On November 10,

   2020, and December 9, 2020, Plaintiff submitted grievances because she was repeatedly

   misgendered by deputies. (Id. at ¶ 101) On February 3, 2021, Plaintiff submitted a

   grievance because she was being subject to “verbal harassment” by unidentified male

   deputies. (Id. at ¶ 102) On February 26, 2021, Plaintiff informed a medical provider that

   deputies continued to call her “sir.” (Id.) On June 23, 2021, Plaintiff submitted a grievance

   because she was misgendered by a CJC official. (Id. at ¶ 103) And, on July 1, 2021,

   Plaintiff told Carrington that she identifies as female, wished jail personnel would refer to

   her using female pronouns, she might harm herself, and WPATH standards of care

   should be followed in CJC. (Id. at ¶ 104) Carrington informed unidentified CJC officials

   about Plaintiff’s statements, but no action was taken. (Id.)

      F. Material Allegations Regarding Plaintiff’s Ability to Dress in Accordance with
         Her Gender Identity

          Despite clearly stating that “Elliss gave [Plaintiff] a sports bra” upon intake, (Id. at

   ¶ 76), Plaintiff asserts that her requests for a women’s sports bra and underwear were

   denied even after she submitted grievances on September 7, 2020, and October 24,

   2020. (Id. at ¶ 110-114) Plaintiff alleges that she eventually elevated her concerns to

   Gillespie, who also denied her request. (Id. at ¶ 114) On March 11, 2021, Plaintiff

   expressed concerns about her lack of access to female undergarments to CJC's medical

   provider. (Id. at ¶ 116) On March 27, 2021, the same provider told Plaintiff that CJC

   officials decided not to issue female panties to Plaintiff. (Id.)



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                                 III.     STANDARDS OF REVIEW

          This Court set forth the applicable standards of review in Simon v. Burtlow, No. 20-

   cv-01207-CMA-KMT, 2021 WL 4059782, at * 2 (D. Colo. Sept. 7, 2021) (unpublished).

                                    IV.     ARGUMENT

      A. The Claims Asserted Against “El Paso County” Must Be Dismissed

          Plaintiff asserts claims against both El Paso County and Elder in his official

   capacity. The official capacity claims are the same as suing EPSO because Elder is the

   elected Sheriff of EPSO. Hafer v.Melo, 502 U.S. 21, 25 (1991). EPSO and El Paso County

   are, however, separate entities. See Bristol v. Bd. of Cnty. Comm'rs of Clear Creek, 312

   F.3d 1213, 1219 (10th Cir. 2002).

          Section 30-11-105 of the Colorado Revised Statutes provides “the exclusive

   method by which jurisdiction over a county can be obtained.” See Calahan v. Jefferson

   Cnty., 429 P.2d 301, 302 (Colo. 1967) (stating that “the name in which the county shall

   sue or be sued shall be, ‘The board of county commissioners of the county of .........’”

   (emphasis added)). The Complaint fails to properly name El Paso County as a party and

   this Court lacks jurisdiction over it as a result. (See Doc. 124, case caption.)

          Even if the Court considers El Paso County properly named, the Complaint fails to

   state a plausible claim against it because EPSO, not El Paso County, is responsible for

   CJC’s operations. See Colo. Rev. Stat. § 30-10-511. Plaintiff therefore cannot assert a

   claim against El Paso County unless she plausibly alleges that EPSO sets policy for El

   Paso County or that El Paso County sets policy for CJC’s operations. See, e.g., Gonzales

   v. Martinez, 403 F.3d 1179, 1182 n.7 (10th Cir. 2005). Plaintiff makes no such allegations


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   in the Complaint. Consequently, the claims asserted against El Paso County must be

   dismissed under Fed. R. Civ. P. 12(b)(1) and (6).

      B. The § 1983 Claims Asserted Against Elder and Gillespie Must be Dismissed
         Because the Complaint Fails to Plausibly Allege Their Personal Participation

          Because Plaintiff levies allegations against several individuals and entities, it “is

   particularly important…that the complaint make clear exactly who is alleged to have done

   what to whom, to provide each individual defendant with fair notice as to the basis of the

   claims against him or her…” Robbins v. Oklahoma, 519 F.3d 1242, 1249-50 (10th Cir.

   2008). In other words, the “complaint must isolate the allegedly unconstitutional acts of

   each defendant; otherwise the complaint does not provide adequate notice as to the

   nature of the claims against each and fails for this reason.” Matthews v. Bergdorf, 889

   F.3d 1136, 1144 (10th Cir. 2018) (quotations omitted).

          The Complaint alleges that Elder and Gillespie set relevant policy for CJC rather

   than asserting that they were directly involved in the alleged constitutional violations. (See

   Doc. 124, ¶ 14, 42, 54, 57, 106, 118, 135, 160, 187, 205, 232, 247, 312, 326, 340.) As a

   result, Plaintiff may allege that Elder and Gillespie’s personal participation is satisfied

   under a theory of supervisory liability. (Id. at ¶ 14) See Dodds v. Richardson, 614 F.3d

   1185, 1195 (10th Cir. 2010) (personal participation may be satisfied under a theory of

   supervisory liability).

          Supervisory liability requires a plaintiff to first show an underlying constitutional

   violation committed by the supervisor’s subordinate. The plaintiff must then show: (1) the

   defendant’s personal involvement; (2) a causal connection; and (3) a culpable state of

   mind. See id. Personal involvement requires a plaintiff to “show an ‘affirmative link’

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    between the supervisor and the constitutional violation.” Estate of Booker v. Gomez, 745

    F.3d 405, 435 (10th Cir. 2014) (quotations omitted). Personal participation may be

    established by showing that the individual enacted a “policy or custom” recognizable

    under Monell. Schneider v. Cty. of Grand Junction Police Dep’t, 717 F.3d 760, 768-70

    (10th Cir. 2013). A causal connection requires a showing that “the defendant set in motion

    a series of events that the defendant knew or reasonably should have known would cause

    others to deprive the plaintiff of her constitutional rights.” Dodds, 614 F.3d at 1211

    (Tymkovich, J., concurring) (quotations omitted). Deliberate indifference is “a stringent

    standard of fault, requiring proof that a municipal actor disregarded a known or obvious

    consequence of his action.” Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 410 (1997).

           As explained below, Plaintiff has failed to establish an underlying constitutional

    violation (see § IV.C and D below); the existence of a “policy or custom” (see § IV. F

    below); a causal link (see id.); or that Elder or Gillespie acted with deliberate indifference

    (see id.). Consequently, Plaintiff’s claims against Elder and Gillespie, individually, must

    be dismissed under Fed. R. Civ. P. 12(b)(6).

       C. Plaintiff Fails to State Any Claims Under the Fourteenth Amendment

           Plaintiff brings four claims under the Fourteenth Amendment alleging a violation of

    the Equal Protection Clause, unconstitutional conditions of confinement, a violation of her

    substantive due process rights, and a failure to protect. Each of Plaintiff’s Fourteenth

    Amendment claims must be dismissed for the reasons set forth below.




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              1. The § 1983 Claims Asserted Against All Defendants Under the Equal
                 Protection Clause of the Fourteenth Amendment Must Be Dismissed
                 (Claim One)

          The equal protection clause of the Fourteenth Amendment requires that “all

    persons similarly situated should be treated alike.” City of Cleburne, Tex. V. Cleburne

    Living Center, 473 U.S. 432, 439 (1985). To succeed in a claim under the Fourteenth

    Amendment’s equal protection clause, Plaintiff must allege facts showing that she is

    similarly situated to other inmates and that those inmates received disparate treatment

    from her. Fogle v. Pierson, 435 F.3d 1252, 1261 (10th Cir. 2006). This is not to say that

    the law “may never draw distinctions between persons in meaningfully dissimilar

    situations,” but rather that where the state action does treat similarly situated people

    differently, it does so for at least a rational reason. SECSYS v. Vigil, 666 F.3d 678, 684

    (10th Cir. 2012). Determining whether Defendants’ actions have violated the Equal

    Protection Clause requires a two-part analysis: (1) whether the government action

    intentionally discriminates between two groups, and (2) whether the discriminatory action

    can be “justified by reference to some upright government purpose.” Id. at 685-86. The

    level of scrutiny the Court applies to the Defendants’ actions in the second part of the

    analysis rests on whether the Plaintiff is a member of a suspect or quasi-suspect class.

    Id. at 686. Transgender is not a suspect or quasi-suspect class; therefore, the

    Defendants’ classifications are subject to only rational basis analysis. Brown v. Zavaras,

    63 F.3d 967, 971 (10th Cir. 1985); Druley v. Paxton, 601 F. App’x 632, 635-36 (10th Cir.

    2015) (unpublished); Qz’Etax v. Ortiz, 170 F. App’x 551, 553 (10th Cir. 2006)

    (unpublished). In the context of a motion to dismiss the equal protection claim of a


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    non-suspect class plaintiff under Rule 12(b)(6), the plaintiff “must allege facts sufficient to

    overcome a presumption of government rationality.” Id.

           Plaintiff claims that Defendants’ actions discriminated against her by placing her in

    “men’s wards without adequate safeguards, even though she faces similar risks as all

    other women in such custody.” (Doc. 124, ⁋133). This is an apparent attempt to classify

    Plaintiff as similarly situated to female inmates. However, Plaintiff can only be considered

    similarly situated as other female inmates if she is “alike in all relevant aspects.” Grissom

    v. Roberts, 902 F.3d 1162, 1173 (10th Cir. 2018). Here, the fact that Plaintiff has not

    undergone gender affirmation surgery and still has male genitalia is a highly relevant

    factor differentiating her from the class of female inmates to whom she claims to be

    similarly situated. See Templeman v. Gunter, 16 F.3d 367, 371 (10th Cir. 1994) (slight

    distinctions between inmates based on history or risk of future misconduct rendered them

    not similarly situated for purposes of the Equal Protection clause). Because Plaintiff is not

    similarly situated to other members of a suspect class, her disparate treatment from other

    members of that class does not support a discrimination claim under the Equal Protection

    Clause and does not subject the Defendants’ actions to heightened scrutiny.

           Plaintiff goes on to attempt to align herself with the class of “other transgender

    women” by alleging that placement in the male housing ward and searches at the jail

    amounted to discrimination. (Doc. 124, ⁋135.) However, Plaintiff fails to establish that

    other transgender inmates who have female breasts and male genitals received different

    treatment during any part of the intake, search, classification, or housing procedures at

    CJC. See Brown v. Montoya, 662 F.3d 1152, 1172-73 (10th Cir. 2011) (regardless of level


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    of scrutiny, plaintiff in equal protection claim must make a threshold showing of disparate

    treatment from others who are similarly situated). In fact, none of Plaintiff’s allegations

    indicate that other inmates who were identified as male at birth but later identify as female,

    who have female breasts, and who have male genitals are searched solely by guards

    who match the inmates’ gender identification, housed in the ward that matches the

    inmates’ gender identification, or are otherwise treated differently than Plaintiff was.

           Even if Plaintiff’s allegations align her with other similarly situated individuals, they

    do not sufficiently overcome the presumption of government rationality. Defendants’

    classification of Plaintiff as male, housing Plaintiff in the male ward, and employing

    reasonable search procedures were all actions rationally based in the need to provide for

    the safe and secure function of CJC. Plaintiff’s conclusory statements that Defendant

    discriminated against her without “a compelling, important, or legitimate governmental

    interest,” (Doc. 124, ¶ 135, 205), and that “Defendants’ actions and inactions were taken

    in reckless and callous indifference to the federally protected rights of Plaintiff,” (Id. at ¶

    162, 176,188, 206), both cite the wrong standard for the Court to apply and fail to allege

    sufficient facts to state a cause of action for which relief can be granted under an equal

    protection theory. See Brown, 662 F.3d at 1172-73. Plaintiff’s claim must therefore be

    dismissed.

              2. Plaintiff Fails to State a Viable Claim Challenging the Conditions of Her
                 Confinement at CJC (Claim Two)

           As a pretrial detainee, Plaintiff’s challenge to the conditions of her confinement is

    governed by the Fourteenth Amendment’s due process clause. See Porro v. Barnes, 624

    F.3d 1322, 1326 (10th Cir. 2010). The Eighth Amendment proscription against cruel and

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    unusual punishment, however, “provides the benchmark” for claims challenging a pre-trial

    detainee’s conditions of confinement. McClendon v. City of Albuquerque, 79 F.3d 1014,

    1022 (10th Cir. 1996) (citations omitted). To succeed under the Eighth Amendment,

    Plaintiff must prove both an objective and a subjective component. The objective

    component requires Plaintiff to show that the alleged deprivation denied “the minimal

    civilized measure of life’s necessities,” while the subjective component requires Plaintiff

    to show that the Defendants had “a sufficiently culpable state of mind, i.e., deliberate

    indifference.” Id. (citations and quotation omitted). Under the deliberate indifference

    standard, an official is only liable if he “knows of and disregards an excessive risk to

    inmate health and safety; the official must both be aware of facts from which the inference

    could be drawn that a substantial risk of serious harm exists, and he must also draw the

    inference.” Farmer v. Brennan, 511 U.S. 825, 837 (1994).

           Here, Plaintiff’s claim fails with respect to each Defendant. Starting with O’Neal,

    Plaintiff’s only allegation is that O’Neal told Plaintiff her October 2020 grievance asking to

    be moved to a female ward was denied by unidentified County officials. (Doc. 124, ¶ 57)

    O’Neal’s communication to Plaintiff that other County officials denied her grievance does

    not establish O’Neal’s personal participation in any constitutional violation. See Gallagher

    v. Shelton, 587 F.3d 1063, 1069 (10th Cir. 2009) (claims against prison officials properly

    dismissed where officials’ only alleged involvement was the denial of grievances).

           The Court should also dismiss Plaintiff’s claim against Noe and Ford. Plaintiff

    alleges that Noe knew Plaintiff was transgender and wished to be housed in a ward

    corresponding with her gender identity but placed Plaintiff in a male housing unit instead.


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    (Doc. 124, ¶ 54) Plaintiff alleges that Ford conducted an initial interview with Plaintiff in

    July 2020 for purposes of the Americans with Disabilities Act. (Id. at ¶ 55) Plaintiff alleges

    “[i]t was clear to Ford” that Plaintiff was transgender and wished to be placed in housing

    that corresponded with her gender identity, but Ford did not “re-classify Plaintiff” or

    change her housing assignment. (Id.) Plaintiff goes on to allege that all Defendants failed

    to protect Plaintiff from sexual assault by other CJC inmates. (Doc. 124, ¶ 84-86, 151)1

           Plaintiff’s allegations suffer two pitfalls. First, they fail to show that any Defendants

    other than Noe and Ford were involved in Plaintiff’s housing assignment. Plaintiff has not

    stated a claim challenging the conditions of her confinement against the remaining

    Defendants. See Foote v. Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997) (“Individual

    liability under § 1983 must be based on personal involvement in the alleged constitutional

    violation.”). Second, Plaintiff’s allegations fail to state a constitutional violation because

    they do not show that Noe and Ford’s actions constituted deliberate indifference. See

    Green v. Hooks, 798 F. App’x 411, 422-23 (11th Cir. 2020) (unpublished) (prison officials

    were not deliberately indifferent when they housed a transgender inmate in a general

    population dormitory, despite subsequent sexual assaults). Plaintiff has not stated a

    viable claim.




    1 Plaintiff alleges one incident of sexual assault by a male CJC inmate that occurred on

    November 18, 2021. (Doc. 124, ¶ 84-86) Plaintiff also alleges that an unidentified witness
    told unidentified El Paso County officials “that he witnessed at least three to four other
    similar assaults” of Plaintiff. (Id. at ¶ 87) Plaintiff does not provide any factual allegations
    about these three or four other assaults, or allege that she told any of the Defendants
    about them. See Robbins, 519 F.3d at 1250 (section 1983 plaintiff must support claims
    with specific facts).
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           Additionally, the Court should dismiss Plaintiff’s conditions of confinement claim

    against Elliss and Mustapick. Plaintiff alleges that Elliss—a biological female—performed

    a visual inspection of Plaintiff’s breasts and then misgendered Plaintiff. (Doc. 124, ¶ 74-

    76) Plaintiff alleges that Mustapick—a biological male—performed a visual search of

    Plaintiff’s lower torso, during which he made sexually suggestive comments and gestures,

    and threatened Plaintiff not to tell anyone. (Id. at ¶ 76-79) The sexual harassment that

    Plaintiff attributes to Mustapick and the single instance of misgendering that Plaintiff

    attributes to Elliss do not state a constitutional claim. Barney v. Pulsipher, 143 F.3d 1299,

    1310 n.11 (10th Cir. 1998) (“Although plaintiffs allege [defendant] subjected them to

    severe verbal sexual harassment and intimidation, these acts of verbal harassment alone

    are not sufficient to state a claim under the Eighth Amendment.”); Adkins v. Rodriguez,

    59 F.3d 1034, 1037-38 (10th Cir. 1995) (verbal sexual harassment did not amount to

    Eighth Amendment violation).

           Finally, the remaining allegations in Plaintiff’s challenge to the conditions of her

    confinement are unavailing. Plaintiff alleges that she was subjected to cross-gender pat-

    down searches at CJC, but she does not identify who conducted the pat-down searches

    or state when many of these pat-down searches occurred. (See Doc. 124, ¶ 89-96)

    Plaintiff’s imprecise allegations fail to state a constitutional claim. Robbins, 519 F.3d at

    1250. The Court should dismiss Plaintiff’s conditions of confinement claim with respect to

    all Defendants.




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              3. Plaintiff’s Substantive Due Process Claim Must Be Dismissed for Two
                 Reasons (Claim Four)

           Plaintiff alleges that housing her in a male ward and subjecting her to searches by

    male deputies violated her right to bodily privacy and integrity, which is protected by the

    Fourteenth Amendment’s guarantee of substantive due process. (Doc. 124, ¶ 165-79)

    Substantive due process primarily protects “matters relating to marriage, family,

    procreation, and the right to bodily integrity.” Albright v. Oliver, 510 U.S. 266, 271 (1994)

    (citation omitted). The Tenth Circuit has applied substantive due process protections to a

    student’s § 1983 claims of sexual abuse by a state actor. See Maldonado v. Josey, 975

    F.2d 727, 730-31 (10th Cir. 1992). Importantly, however, “the [Supreme] Court has always

    been reluctant to expand the concept of substantive due process because the guideposts

    for responsible decisionmaking in this unchartered area are scarce and open-ended.”

    Albright v. Oliver, 510 U.S. 266, 271 (1994).

           Here, Plaintiff fails to state a substantive due process claim for two reasons. First,

    her claim is properly analyzed through the lens of the Eighth Amendment’s cruel and

    unusual punishment clause rather than the Fourteenth Amendment’s substantive due

    process guarantee. The Supreme Court explained in Graham v. Connor that when “an

    explicit textual source of constitutional protection” applies to claims, that Amendment

    rather than “the more generalized notion of ‘substantive due process,’ must be the guide

    for analyzing these claims.” 490 U.S. 386, 395 (1989). Thus, “claims of excessive force

    against convicted prisoners should be analyzed under the Eighth and not the Fourteenth

    Amendment.” Berry v. City of Muskogee, 900 F.2d 1489, 1494 (10th Cir. 1990). The Tenth

    Circuit and this Court have found, albeit under somewhat different circumstances from

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    those in this case, that a prisoner’s claimed violations of bodily integrity are properly

    analyzed under the Eighth Amendment. Ullery v. Raemish, No. 18-cv-00839-STV, 2019

    WL 529570, at *11 (D. Colo. Feb. 9, 2019) (unpublished) (citing Berry, 900 F.3d at 1494

    n.6). The Court should thus dismiss Plaintiff’s substantive due process claim.

           Second, even if the Court entertains Plaintiff’s substantive due process claim, she

    has not plausibly alleged action that satisfies the high standard required for such a claim.

    Government action violates substantive due process if it “shocks the conscience.” Cnty.

    of Sacramento v. Lewis, 523 U.S. 833, 848 (1998). To satisfy the shocks the conscience

    standard, “the plaintiff must demonstrate a degree of outrageousness and a magnitude

    of potential or actual harm that is truly conscience shocking.” Uhlrig v. Harder, 64 F.3d

    567, 574 (10th Cir. 1995). This “requires a high level of outrageousness, because the

    Supreme Court has admonished that a substantive due process violation requires more

    than an ordinary tort.” Id. In the prison and jail context, actions that shock the conscience

    include sexual assault and rape of prisoners by guards. Hall v. Zavaras, No. 08-cv-00999-

    DME, 2008 WL 5044553, at *4 (D. Colo. Nov. 19, 2008) (unpublished). The actions

    alleged by Plaintiff do not rise to such egregious levels. The Court should thus dismiss

    Plaintiff’s substantive due process claim.

              4. Plaintiff Fails to State a Failure to Protect Claim Under the Fourteenth
                 Amendment (Claim Fourteen)

           In another permutation of her Fourteenth Amendment claims, Plaintiff alleges that

    Elder, Gillespie, O’Neal, Noe, and Ford failed to protect her “from sexual assault at the

    hands of other inmates.” (Doc. 124, ¶ 315) The Eighth Amendment (via the Fourteenth

    Amendment) requires prison officials “to protect prisoners in custody from violence at the

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    hands of other prisoners.” Grimsley v. MacKay, 93 F.3d 676, 679 (10th Cir. 1996) (citing

    Farmer v. Brennan, 511 U.S. 825, 832-33 (1994)). To prevail on a failure to protect claim,

    the plaintiff must meet two prongs: (1) she was incarcerated under conditions posting a

    substantial risk of serious harm, and (2) prison officials acted with a sufficiently culpable

    state of mind, i.e., deliberate indifference. Grimsley, 93 F.3d at 681, citing Farmer, 511

    U.S. at 834.

           Here, Plaintiff has not plausibly alleged an affirmative link between Elder or

    Gillespie, and the violation she alleges. As a result, Plaintiff has not stated a viable failure

    to protect claim against them. See Grimsley, 93 F.3d at 680 (prison executives not liable

    for failure to protect). As for O’Neal, her only involvement in Plaintiff’s case is her delivery

    of an unfavorable grievance response as described above. (Doc. 124, ¶ 57) This does

    not establish her personal participation in a constitutional violation. See Gallagher, 587

    F.3d at 1069.

           Finally, Plaintiff has not stated a viable failure to protect claim against Noe and

    Ford. Noe allegedly knew that Plaintiff was transgender and wanted to be assigned to a

    female ward but she assigned Plaintiff to an all-male ward instead. (Doc. 124, ¶ 54). Ford

    conducted an Americans with Disabilities Act interview and knew Plaintiff was

    transgender, but she did not “re-classify Plaintiff” or change her housing assignment. (Id.).

    These allegations do not provide specific facts showing that Noe and Ford (or any of the

    other Defendants) knew that Plaintiff was at risk of serious harm and took no action to

    alleviate that risk. See Cox v. Nobles, 2020 WL 1541698, at *6-9 (S.D. Ga. Mar. 31, 2020)

    (unpublished) (stating “the mere fact that Plaintiff is transgender is insufficient to show


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    Moving Defendants are liable under the Eighth Amendment for any assault Plaintiff

    experienced,” and finding that officials at three different prisons were not deliberately

    indifferent where the officials were not subjectively aware of a substantial risk to plaintiff);

    see also Alsteens v. Piper, 2020 WL 3668781, at *3 (D. Colo. Jun. 12, 2020)

    (unpublished) (Plaintiff failed to allege viable failure to protect claim where allegations did

    not show prison official had repeated warnings of danger to plaintiff that were

    disregarded); Straker v. Stancil, 2022 WL 714690, at *3 (D. Colo. Mar. 10, 2022)

    (unpublished) (granting qualified immunity to prison staff where plaintiff did not plausibly

    allege staff were aware of substantial risk of harm). Plaintiff has not alleged a viable failure

    to protect claim.

       D. Plaintiff Fails to State a Claim Under the Fourth Amendment (Claim 3)

           The constitutionality of a strip search requires a balancing of the need for the

    particular search against the invasion of personal rights that the search entails. In Bell v.

    Wolfish, the Supreme Court set forth the balancing test for determining a search’s

    reasonableness:

           The test of reasonableness under the Fourth Amendment is not capable of
           precise definition or mechanical application. In each case it requires a
           balancing of the need for the particular search against the invasion of
           personal rights that the search entails. Courts must consider the scope of
           the particular intrusion, the manner in which its conducted, the justification
           for initiating it, and the place in which it is conducted.

    441 U.S. 520, 559 (1979). In the context of prisoner civil rights litigation, the Supreme

    Court has instructed that:

           when a prison regulation impinges on inmates’ constitutional rights, the
           regulation is valid if it is reasonably related to legitimate penological
           interests. Subjecting the day-to-day judgments of prison officials to an

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           inflexibly strict scrutiny analysis would seriously hamper their ability to
           anticipate security problems and to adopt innovative solutions to the
           intractable problems of prison administration.

    Turner v. Safley, 482 U.S. 78, 89 (1987).

           Here, Plaintiff is a pre-operation male to female, meaning Plaintiff has male

    genitalia and female breasts. Plaintiff claims that during the intake process into CJC,

    Mustapick remained in the strip-out room while Elliss conducted an examination of

    Plaintiff’s upper body and Mustapick searched Plaintiff’s lower body. Plaintiff alleges Elliss

    exited the room after completing the search of Plaintiff’s upper body and prior to

    Mustapick conducting the search of Plaintiff’s lower body. While Plaintiff clearly takes

    issue with the fact that Mustapick was present during the search, Plaintiff fails to state

    how the search itself was unreasonable, other than a bare assertion that the search was

    “objectively unreasonable in light of the circumstances” (Doc. 124, ¶ 159), and due to

    Mustapick’s alleged “sexually charged and offensive comments,” (Id.), directed at Plaintiff

    during the search.

           Applying the Bell factors to these allegations, the Complaint fails to establish a

    constitutional violation against Elliss or Mustapick. First, the complaint of intrusion was

    minor considering the circumstances. The strip search occurred as Plaintiff entered CJC

    to be housed in general population, which is a standard procedure implemented for safety

    and security reasons. See Archuleta v. Wagner, 523 F.3d 1278, 1284 (10th Cir. 2008)

    (reasonableness of strip search turns in part on whether inmate will be housed in general

    population). The only individuals present during Plaintiff’s strip search were Mustapick

    and Elliss. Plaintiff’s nude body was not exposed to any other staff or inmate. Thus, the


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    intrusion complained of was relatively minor. See Hyberg v. Enslow, 801 F. App’x 647,

    650-51 (10th Cir. 2020) (unpublished) (finding no plausible Fourth Amendment claim

    where inmate was strip searched in a designated area “with limited access for other

    inmates and staff” before returning to general population, and where staff made

    insensitive comments).

           Plaintiff goes on to complain about the way her strip search was conducted. But

    verbal statements made during a search, like those attributed to Mustapick, are

    insufficient to establish a constitutional violation. See Adkins, 59 F.3d at 1037 (holding

    that verbal sexual harassment by a prison guard did not violate a constitutional right);

    Hyberg, 801 F. App’x at 650-51. Accordingly, the second Bell factor weights against a

    constitutional violation by Mustapick.

           The third and fourth Bell factors also weigh against a constitutional violation. The

    justification for the strip search of Plaintiff was strong. Plaintiff was strip searched during

    intake into CJC to ensure the safety and security of the facility. Such searches ensure

    that newly admitted inmates being housed in general population do not introduce

    weapons or contraband into the facility. See Florence v. Bd. of Chosen Freeholders, 566

    U.S. 318, 332 (2012) (contraband undermines security when introduced into a secure

    facility); see also Hyberg, 801 F. App’x 650 (“[T]here are obvious security concerns

    inherent when an inmate will be placed in the general prison population.” (citation

    omitted)). The allegations further establish that the strip search was not conducted in a

    public area in CJC, but in an area where only Elliss and Mustapick could observe Plaintiff.




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    See id. (discussing setting of a search). Accordingly, the third and fourth Bell factors do

    not support finding a constitutional violation.

           In sum, the Bell factors weigh against finding a constitutional violation against Elliss

    and Mustapick, and the Court must dismiss Plaintiff’s claims against them under Fed. R.

    Civ. P. 12(b)(6).

       E. The Individual Defendants Are Entitled to Qualified Immunity

           Plaintiff’s allegations not only fail to state constitutional claims, but also fail to

    overcome each individual Defendant’s qualified immunity defense. Qualified immunity is

    an affirmative defense to a § 1983 action that protects government officials from liability

    for civil damages, provided that their conduct does not violate clearly established statutory

    or constitutional rights of which a reasonable person would have known. Ullery v. Bradley,

    949 F.3d 1282, 1289 (10th Cir. 2020). A motion to dismiss based on qualified immunity

    imposes the burden on the plaintiff to show (1) a constitutional violation occurred, and (2)

    the constitutional right was clearly established at the time of the alleged violation. Hulen

    v. Yates, 322 F.3d 1229, 1237 (10th Cir. 2003). Courts are “permitted to exercise their

    sound discretion in deciding which of the two prongs of the qualified immunity analysis

    should be addressed first in light of the circumstances of the case at hand.” Pearson v.

    Callahan, 555 U.S. 223, 236 (2009). Regardless of the court’s starting point, the plaintiff

    must show that both prongs are met to defeat a qualified immunity defense. See Herrera

    v. City of Albuquerque, 589 F.3d 1064, 1070 (10th Cir. 2009). Plaintiff fails to make such

    a showing.




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           First, Plaintiff has not shown that a constitutional violation occurred. As described

    above, Plaintiff fails to state viable claims under the Fourth, Eighth, or Fourteenth

    Amendment. The Defendants are thus entitled to qualified immunity, and the Court should

    end its inquiry here. See Herrera, 589 F.3d at 1070.

           Second, even if the Court continues with the qualified immunity analysis, Plaintiff

    has not shown that the rights in question were clearly established. A right is clearly

    established if the law was “sufficiently clear that a reasonable official would have

    understood that his conduct violated the right.” Currier v. Doran, 242 F.3d 905, 923 (10th

    Cir. 2001). This generally requires a “Supreme Court or Tenth Circuit decision on point,

    or the clearly established weight of authority from other courts must have found the law

    to be as the plaintiff maintains.” Id. (internal quotations omitted). Although it is not

    necessary for the facts in the cited authority to correspond exactly to the situation the

    plaintiff complains of, the “plaintiff must demonstrate a substantial correspondence

    between the conduct in question and prior law allegedly establishing that the defendant’s

    actions were clearly prohibited.” Trotter v. Regents, 219 F.3d 1179, 1184 (10th Cir. 2000)

    (internal quotations omitted).

           Here, Plaintiff’s alleged rights were not clearly established at the time she was

    admitted to and housed in CJC. It was not clearly established that the visual strip search

    by a male and female deputy of a transgender inmate who identifies as female, has

    female breasts, and has male genitals violates a constitutional right. See Naisha v.

    Metzger, 2021 WL 5632063, at *1-2 (3d Cir. 2021) (unpublished) (granting qualified

    immunity to male deputy who conducted visual strip search of transgender inmate and


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    laughed at inmate, because law was not clearly established); see generally Carter-el v.

    Boyer, No. 1:19cv243 (TSE/MSN), 2020 WL 939289, at *4 (E.D. Va. Feb. 25, 2020)

    (unpublished) (observing that “little if any case law addresses the issue of the propriety

    of cross-gender searches of transgender inmates.”). Plaintiff’s allegation of verbal

    harassment during the search does not change this. See Adkins, 59 F.3d at 1037-38.

    Similarly, it was not clearly established that housing a transgender inmate who identifies

    as female, has female breasts, and has male genitals in a male ward violates a

    constitutional right. Defendants can find no case law in the Tenth Circuit or any other

    circuit holding that such a right was clearly established when Plaintiff was admitted to

    CJC. On the contrary, one federal court has found that a female inmate’s “right not to be

    housed on an all male ward [sic] was not clearly established at the time of the alleged

    violations.” See Galvan v. Carothers, 855 F. Supp. 285, 293 (D. Alaska. 1994). It also

    was not clearly established that providing a sports bra but not panties to a transgender

    inmate who identifies as female, has female breasts, and has male genitals violated a

    constitutional right. See generally Druley v. Patton, 601 F. App’x 632, 635 (10th Cir. 2015)

    (unpublished) (denying female undergarments to transgender inmate only required

    rational relation to legitimate state purpose). Finally, it was not clearly established that

    prisoners have a substantive due process right to bodily integrity, as this Court has found.

    Ullery, 2019 WL 529570, at *11. The Defendants are thus entitled to qualified immunity

    from Plaintiff’s federal constitutional claims.




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       F. Plaintiff Fails to State a Municipal Liability Claim2

           Plaintiff not only brings claims against the individual Defendants, but also against

    El Paso County and EPSO. Municipalities cannot be held liable for the unconstitutional

    actions of their employees under a theory of respondeat superior. Brown, 520 U.S. at 405

    (1997). Municipalities may instead be liable under § 1983 when the execution of a policy

    or custom “inflicts the injury” upon the plaintiff. Monell v. Dep’t of Sec. Servs. of N.Y., 436

    U.S. 658, 694 (1978). To state a cognizable Monell claim, a plaintiff must first establish

    an underlying constitutional violation and then show the existence of a municipal custom

    or policy and a direct causal link between the custom or policy and the violation alleged.

    Myers v. Okla. Cnty. Bd. of Cnty. Commr’s, 151 F.3d 1313, 1316 (10th Cir. 1998). An

    official policy or custom may be proven by the existence of a formally promulgated policy;

    a well-settled custom or practice; a final decision by a municipal policymaker; failure to

    train or supervise; or ratification by the final policymaker of the decisions of subordinates

    to whom authority was delegated subject to the policymaker’s review and approval.

    Brammer-Hoelter v. Twin Peaks Charter Acad., 602 F.3d 1175, 1189 (10th Cir. 2010).

    Plaintiff must establish causation by showing that “the municipality was the ‘moving force’

    behind the injury alleged.’” Schneider v. City of Grand Junction Police Dep’t, 717 F.3d

    760, 770 (10th Cir. 2013) (citations omitted). “Where a plaintiff claims that the municipality

    has not directly inflicted an injury, but nonetheless has caused an employee to do so,

    rigorous standards of culpability and causation must be applied to ensure that the



    2 Plaintiff’s municipal liability claims first fail because there is no underlying constitutional

    violation for the reasons described above.
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    municipality is not held liable solely for the actions of its employees.” Brown, 520 U.S. at

    405.

           The Complaint does not clearly elucidate any theory of municipal liability through

    plausible allegations. (See Doc. 124, ¶ 4, 14, 135, 145, 160, 168, 170, 171, 172, 312.)

    For instance, the Complaint refers to formal policies in passing but fails to identify any

    specific EPSO policy or aspect thereof that caused the alleged constitutional violations.

    As such, Plaintiff cannot succeed under this theory of municipal liability. See Carney v.

    City and Cnty. of Denver, 534 F.3d 1269, 1274 (10th Cir. 2008) (plaintiff must turn to other

    theories of municipal liability where she fails to identify a formal policy).

           Likewise, the Complaint offers mere conclusory allegations regarding the

    existence of an informal custom. While municipal liability may be based “on an informal

    custom so long as this custom amounts to a widespread practice that, although not

    authorized by written laws or express municipal policy, is so permanent and well settled

    as to constitute a custom or usage within the force of law,” Brammer-Hoelter, 602 F.3d at

    1189, it generally requires a showing of “evidence suggesting that similarly situated

    individuals were mistreated by the municipality in a similar way.” Carney, 534 F.3d at

    1274. The Complaint does not identify any similarly situated individuals that were

    mistreated in a similar way, which “seriously undermines [Plaintiff’s] claim.” Id. (quoting

    Randle v. City of Aurora, 69 F.3d 441, 447 (10th Cir. 1995)).

           The Complaint does not explicitly assert municipal liability under a failure to train

    or supervise theory. But even if it did, such a theory would fail due to a lack of precise,

    plausible allegations. “A municipality’s culpability for a deprivation of rights is at its most


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    tenuous where a claim turns on a failure to train.” Connick v. Thompson, 563 U.S. 51, 61

    (2011). Thus, to establish a failure to train or supervise claim, a plaintiff must show that

    the alleged failure “amounts to deliberate indifference to the rights of the persons with

    whom the police come into contact.” City of Canton v. Harris, 489 U.S. 378, 388 (1989).

    In other words, a “plaintiff must prove the need for more or different training is so obvious,

    and the inadequacy so likely to result in the violation of constitutional rights, that the

    policymakers of the [municipality] can be reasonably said to have been indifferent to the

    need for additional training.” Jenkins v. Wood, 81 F.3d 988, 994 (10th Cir. 1996) (internal

    citations omitted). Deliberate indifference in this context ordinarily requires showing a

    pattern of similar constitutional violations by untrained employees. See Brown, 520 U.S.

    at 407-08.

           The Complaint does not identify any similarly situated individuals who were

    mistreated in a similar way, as explained above. Plaintiff may, in turn, argue that her

    allegations satisfy the “narrow range of circumstances” in which a single incident may be

    sufficient to show deliberate indifference. Connick, 536 U.S. at 64 (2011). If such an

    argument were made, it should fail because numerous courts have found that a municipal

    entity cannot be deliberately indifferent in the context of a failure to train or supervise

    where the right asserted is not clearly established, such as in this case. See Arrington-

    Bey v. City of Bedford Heights, 858 F.3d 988, 994-96 (6th Cir. 2017) (“But a municipal

    policymaker cannot exhibit fault rising to the level of deliberate indifference to a

    constitutional right when that right has not yet been clearly established.”) (internal

    citations and quotations omitted); Bustillos v. El Paso Cty. Hosp. Dist., 891 F.3d 214, 222


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    (5th Cir. 2018); Nicholas v. Wany Cnty., Mich., 822 F. App’x 445, 451-52 (6th Cir. 2020)

    (unpublished); Townes v. City of New York, 176 F.3d 138, 143–44 (2d Cir. 1999); Szabla

    v. City of Brooklyn Park, 486 F.3d 385, 393 (8th Cir. 2007); Moya v. City of Clovis, No.

    18-494-GBW-KRS, 2019 WL 6255217, at * 10 (D.N.M. Nov. 22, 2019) (unpublished); see

    also Montoya v. City & Cnty. of Denver, No. 16-cv-01457-JLK, 2021 WL 8087380, at *2

    n.3 (D. Colo. July 27, 2021) (unpublished) (noting that the issue of whether a municipal

    entity can be deliberately indifferent to a right that is not clearly established was left open

    by Contreras ex rel. A.L. v. Dona Ana Cnty. Comm’rs, 965 F.3d 114, 1124 (10th Cir. 2020)

    (Carson, J. concurring)).

           The Complaint also alludes to municipal liability by virtue of a final decision by a

    policymaker. In this context, “it is not enough for a § 1983 plaintiff merely to identify conduct

    properly attributable to the municipality. The plaintiff must also demonstrate that, through

    its deliberate conduct, the municipality was the ‘moving force’ behind the injury alleged.”

    Brown, 520 U.S. at 404 (emphasis in original). That is to say, it must be shown that a final

    policymaker’s decision directly deprived a plaintiff of a constitutional right or was made

    with deliberate indifference. Id. at 404-08.

           Because the Complaint does not plausibly allege that Elder’s decisions pertained

    directly to Plaintiff, she must show that his decisions were made with deliberate

    indifference. See id. at 404-07. But in situations such as this, where the existence of the

    alleged right is unclear, courts have found that policymakers cannot act with the requisite

    degree of deliberate indifference. See Moya, 2019 WL 6255217, at * 10 (“But a municipal

    policymaker cannot exhibit fault rising to the level of deliberate indifference to a


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    constitutional right when that right has not yet been clearly established.”) (quoting

    Arrington-Bey, 858 F.3d at 994 (6th Cir. 2017); see also Szbala,v. City of Brooklyn Park,

    486 F.3d 385, 292 (8th Cir. 2007).

           Absent an articulable theory of municipal liability, the Complaint fails to satisfy the

    “rigorous standards…of causation.” Brown, 520 U.S. at 405. The Complaint, instead,

    appears to rely on a hybrid theory of municipal liability, alleging elements of various types

    of customs or policies but failing to fully develop any. The Tenth Circuit has rejected such

    an approach because it “would be at odds with the Court’s conservative, restrictive

    approach regarding the individual theories of liability.” Cacioppo v. Town of Vail, Colo.,

    528 F. App’x 929, 934 (10th Cir. 2013) (unpublished). Consequently, the Court should

    dismiss Plaintiff’s § 1983 claims asserted against EPSO and El Paso County.

       G. Plaintiff’s Claim Under the Enhance Law Enforcement Integrity Act Must Be
          Dismissed

           The Enhance Law Enforcement Integrity Act (“Act”) creates a cause of action

    against:

           [a] peace officer, as defined in section 24-31-901(3), who, under color of
           law, subjects or causes to be subjected, including failing to intervene, any
           other person to the deprivation of any individual rights that create binding
           obligations on government actors secured by the bill of rights, article II of
           the state constitution…

    Colo. Rev. Stat. § 13-21-131(1). The Act defines a “peace officer” as “any person

    employed by a political subdivision of the state required to be certified by the P.O.S.T.

    board pursuant to section 16.2.5-102…and any noncertified deputy sheriff as described

    in section 16-2.5-103(2).” Colo. Rev. Stat. § 24-31-901(3). A “noncertified deputy” means,



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           a peace officer employed by a county or city and county whose authority is
           limited to the duties assigned by and while working under the direction of
           the chief of police, sheriff, an official who has the duties of a sheriff in a city
           and county, or chief executive of the employing law enforcement agency.

    Id. § 16-2.5-103(2).

              1. Plaintiff Cannot Assert “Official Capacity” Claims Under the Act

           Plaintiff cannot assert an “official capacity” claim under the Act because a

    municipal entity, such as EPSO, does not fit within the Act’s definition of a “peace officer.”

    See Colo. Rev. Stat. § 24-31-901(3). Consequently, Claims 5, 6, 7, 8, 9, 15, and 16 must

    be dismissed to the extent they assert “official capacity” claims against Elder or are

    asserted against El Paso County directly.

              2. Plaintiff Has Failed to Plausibly Allege Personal Participation by Elder or
                 Gillespie

           The Complaint appears to premise Elder and Gillespie’s personal participation

    upon a theory of supervisory liability. See § IV.B above. The plain language of the Act

    does not, however, expressly allow for supervisory liability and Defendants have been

    unable to locate any authority from any Colorado court recognizing such a claim under

    the Act. This federal Court should not, for the first time, expand liability under the Act to

    allow for a theory of liability not expressly provided for in the Act. See Przekurat ex rel.

    Przekurat v. Torres, 428 P.3d 512, 514 (Colo. 2018) (court first looks to a statute’s plain

    language). If, however, the Court applies § 1983 precedent, such as Dodd, and

    recognizes a claim for supervisory liability under the Act, such claim must be dismissed

    for the reasons set forth in § IV.C.1-4 above.




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              3.   O’Neal, Noe, and Ford Are Not “Peace Officers”

           The Complaint’s allegations concerning O’Neal, Noe, and Ford do not show that

    they satisfy the Act’s definition of a “peace officer.” The Complaint alleges that Noe

    classified Plaintiff into an all-male unit upon Plaintiff’s intake at CJC, (Doc. 124, ¶ 54),

    Ford did an ADA interview of Plaintiff but did not place Plaintiff into an all-female unit (id.

    at ¶ 55), and O’Neal reviewed and denied Plaintiff’s request for a transfer to an all-female

    unit (Id. at ¶ 57). Such duties do not plausibly assert that O’Neal, Noe, and Ford are

    “peace officers” as opposed to administrative employees, such as ADA coordinators or

    inmate intake coordinators. Consequently, Claims 5, 6, 7, 8, 9, 15, and 16 asserted

    against O’Neal, Ford, and Noe must be dismissed because the Complaint is devoid of

    plausible allegations supporting its conclusory assertion that O’Neal, Ford, and Noe are

    “peace officers.”

              4.   Plaintiff Fails to State a Plausible Violation of Her Rights Under the Colorado
                   Constitution

           The Colorado Constitution generally does not give rise to an individual cause of

    action for damages. Bd of Cnty. Comm’rs v. Sundheim, 926 P.2d 545, 549-50 (Colo.

    1996). Absent a § 1983-like state statute, Sundheim’s holding has resulted in a somewhat

    limited body of case law delineating the specific rights protected by the Colorado

    Constitution. This is particularly important here because this case involves asserted

    rights that have not been clearly recognized under the United States Constitution, let

    alone the less litigated Colorado Constitution. Thus, when applying the Act (passed in

    2020), this federal Court should not recognize rights for the first time under the Colorado

    Constitution. See e.g. Younger v. Harris, 401 U.S. 37 (1971). If, however, the Court

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    applies § 1983 precedent to Plaintiff’s claims asserted under the Act, such claims fail for

    the same reasons as set forth above in § IV.C.1-4 above.

       H. The Claims Asserted Under the Americans with Disabilities Act (“ADA”) and
          Section 504 of the Rehabilitation Act of 1973 (“Rehabilitation Act”) Must Be
          Dismissed (Claims 10 and 11)

           Plaintiff asserts claims under Title II of the ADA and the Rehabilitation Act. Courts

    examine both claims using a similar framework requiring a plaintiff to show that: (1) she

    is a qualified individual with a disability; (2) she was either excluded from participation in

    or denied the benefits of a public entity’s services, programs, or activities, or was

    otherwise discriminated against by the public entity; and (3) her exclusion, denial, or

    discrimination was by reason of her disability. 42 U.S.C. § 12132; Cunningham v. Univ.

    of N.M Bd. of Regents, 531 F. App’x 909, 919 (10th Cir. 2013) (unpublished) (noting that

    because the same substantive standards apply, court’s rulings with regard to the ADA

    apply with equal force to the Rehabilitation Act); but see Crane v. Utah Dep’t of Corr., 15

    F.4th 1296, 1312-13 (10th Cir. 2021) (discussing the different causal standards under

    Title II of the ADA and Rehabilitation Act). A violation occurs when disabled individuals

    are excluded from the benefits of a public entity’s services, that is, they are denied

    “meaningful access” to those services. Alexander v. Choate, 469 U.S. 287, 301 (1985).

           Plaintiff’s ADA and Rehabilitation Act claims are asserted against El Paso County

    only. Such claims must be dismissed for the reasons set forth in § IV.A above. To the

    extent the Complaint can be read to assert these claims against EPSO, they must be

    dismissed for the following reasons.




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           1.   Plaintiff Fails to Allege a Disability

           “[G]ender identity disorders not resulting from physical impairments” are

    categorically excluded from the ADA’s definition of “disability.” 42 U.S.C. § 12211(b)(1).

    “No federal court of appeals or the Supreme Court has…addressed whether [this]

    exclusion applies to gender dysphoria.” Venson v. Gregson, No. 3:18-cv-2185-MAB, 2021

    WL 673371, at *2 (S.D. Ill. Feb. 22, 2021) (unpublished). But there has been significant

    disagreement amongst district courts across the country regarding whether “gender

    dysphoria” is a “gender identity disorder” and categorically excluded from the ADA’s

    definition of “disability” when it is not caused by a physical impairment. See London v.

    Evans, No. 19-599-MN, 2019 WL 5726983, at * 6 n.3 (D. Del. Nov. 5, 2019) (unpublished).

           In the 2021 case Doe v. Pa. Dep’t of Corr., the district court for the Western District

    of Pennsylvania surveyed decisions from across the country and identified three general

    approaches to this issue. “The first, and apparently the majority approach, views the

    [ADA’s] language as expressing Congress’ intent to exclude from the ADA’s protection

    both disabling and non-disabling gender identity disorders [including gender dysphoria]

    that do not result from physical impairment.” No. 1:20-cv-00023-SPB-RAL, 2021 WL

    1583556, at *8-9 (W.D. Pa. Feb. 19, 2021) (unpublished) (quotations omitted). The

    second approach holds that gender dysphoria falls outside of the ADA exclusion so long

    as the condition substantially limits a major life activity, but this approach has drawn

    subsequent criticism for “lacking any textual or other support.” Id. at *9 (citing Parker v.

    Strawser Constr., Inc., 307 F.Supp.3d 744, 754 (S.D. Ohio 2018). Finally, the “third

    approach recognizes a physical etiology underlying gender dysphoria may exist to place


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    the condition outside of the exclusion of gender identity disorders ‘not resulting from

    physical impairments’…[But] [t]his third approach acknowledges that courts typically lack

    sufficient expertise…to determine the cause or causes of gender dysphoria.” Doe, 2021

    WL 1583556, at *9.

           Here, the Court should adopt the first approach because it is in line with this Court’s

    earlier decision in Michaels v. Akal Sec., Inc., No. 09-cv-01300-ZLW-CBS, 2010 WL

    2573988, at *6 (D. Colo. Jun. 24, 2010) (unpublished). There, the Court found that

    “[g]ender dysphoria, as a gender identity disorder, is specifically exempted as a

    disability…”. Id. Thus, to survive dismissal, the Complaint must plausibly allege that

    Plaintiff’s gender dysphoria results from a physical impairment. The Complaint contains

    no such plausible allegations. Consequently, Plaintiff’s ADA and Rehabilitation Act claims

    should be dismissed.

              2. Plaintiff Fails to Allege Causation
           In its 2021 Crane decision, the Tenth Circuit addressed the divergent causal

    standards for claims asserted under Title II of the ADA and resolved this issue

    “by joining our sibling circuits in holding the ADA merely requires the plaintiff's disability

    be a but-for cause (i.e., ‘by reason of’) of the discrimination, rather than—as the

    Rehabilitation Act requires—its sole cause (i.e., ‘solely by reason of’).” 15 F.4th at 1312-

    13 (internal citations omitted). Notwithstanding this difference, the Tenth Circuit found that

    the plaintiff’s claims were properly subject to dismissal because the plaintiff “fail[ed] to

    allege [his] disability was a but-for cause of the purported discrimination.” Id. at 1313.




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           Like in Crane, the Complaint does not plausibly allege causation under the less

    onerous ADA standard or higher Rehabilitation Act standard because Plaintiff asserts that

    her transgender status—not Gender Dysphoria, the alleged disability—was the reason

    for her exclusion from certain programs and services within CJC (See Doc. 124, ¶ 1 (“El

    Paso County’s policy of refusing to house transgender inmates based on their gender

    identity…”); 3 (“Defendants denied [Plaintiff] clothing that conforms with her gender

    identity despite the fact that cisgender women are allowed panties and lipstick.”); 50 (“El

    Paso County, as a matter of policy, refuses to house transgender women in female

    housing facilities.”); 71 (“It is El Paso County’s official policy that transgender women

    (including those with Gender Dysphoria) are searched, including strip searched, by male

    staff and not female staff.” )). Consequently, the Court must dismiss Plaintiff’s ADA and

    Rehabilitation Act claims.

              3. Plaintiff Cannot Recover Emotional Distress Damages and Other Types of
                 Damages Not Generally Compensable for Breach of Contract Claims
           In the 2022 case Cummings v. Premier Rehab Keller, P.L.L.C., the Supreme Court

    noted that the Rehabilitation Act is akin to a contract between the federal government and

    recipients of federal funds which expressly provides that the recipients cannot

    discriminate on the basis of certain protected classes, including on the basis of a disability.

    142 S. Ct. 1562, 1571-76 (2022). The Supreme Court had previously held that this created

    an implied private right of action to enforce such protections of the Rehabilitation Act. Id.

    However, in Cummings, the Supreme Court held that the damages available to plaintiffs

    in such claims must be limited to those available under contract law. Id. Emotional distress



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    damages are generally not compensable for breach of a contract and thus are not

    available as remedies under the Rehabilitation Act. Id.

           Expanding upon the Supreme Court’s reasoning, other types of damages that are

    generally unavailable in breach of contract claims, like those for pain and suffering, should

    also be unavailable as a remedy under the Rehabilitation Act. See, e.g., Cianciott v.

    Hospice Care Network, 927 N.Y.S.2d 779, 785 (N.Y.S. July 26, 2011) (“[P]ain and

    suffering damages are not ordinarily recoverable in breach of contract actions.”).

           Furthermore, federal law expressly limits the remedies available under Title II of

    the ADA to those remedies available under the Rehabilitation Act. 42 U.S.C. § 12133;

    Barnes v. Gorman, 536 U.S. 181, 184-85 (2002) (noting that “the remedies for violations

    of [Title II of the ADA] and § 504 of the Rehabilitation Act are coextensive…”). Cumming’s

    damage limitation should, therefore, apply with equal force to claims asserted under Title

    II of the ADA. Consequently, Claims 12 and 13 must be dismissed to the extent they seek

    to recover damages that are generally unavailable in breach of contract claims.

              4. Plaintiff Cannot Recover Compensatory Damages

           Compensatory damages under Title II of the ADA and Rehabilitation Act are only

    available in instances of intentional discrimination. See Havens v. Colo. Dep’t. of Corr.,

    897 F.3d 1250, 1264 (10th Cir. 2018). Intentional discrimination can be inferred from a

    defendant’s deliberate indifference to a strong likelihood that the pursuit of its questioned

    policies will likely result in a violation of federally protected rights and a corresponding

    failure to act. Id.; Rogers v. Colo. Dep’t of Corrs., No. 16-cv-02733-STV, 2019 WL

    4464036, at * 17 (D. Colo. Sept. 18, 2019) (unpublished).


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           It is unclear whether Gender Dysphoria is excluded from the ADA’s definition of

    “disability” for the reasons set forth in § IV.K.1 above. That is to say, it is unclear whether

    the right alleged by Plaintiff is protected under the ADA and Rehabilitation Act at all. In

    similarly unclear circumstances, the Eighth Circuit applied § 1983 principles to find that a

    municipality was not deliberately indifferent under the ADA and Rehabilitation Act when

    the right in question was not clearly established. See Roberts v. City of Omaha, 723 F.3d

    966, 975-76 (8th Cir. 2013) (holding the plaintiff “can only prevail on [the ADA and

    Rehabilitation Act] claims by showing the city’s deliberate indifference to his alleged right

    to be free from discrimination in the circumstances of this case, but the city, like the

    individual officers, lacked notice the officers’ actions might have violated [the plaintiff’s]

    asserted rights.”).

           Applying the well-reasoned holding in Roberts, Plaintiff has failed to plausibly

    allege that EPSO was deliberately indifferent under the ADA and Rehabilitation Act given

    that the right alleged (i.e. Gender Dysphoria’s protection under the ADA and

    Rehabilitation Act) is not clearly established. Consequently, the Court must dismiss

    Plaintiff’s ADA and Rehabilitation Act claims.

       I. The Claims Asserted Under Colorado’s Anti-Discrimination Act (“CADA”)
          Must Be Dismissed Because Plaintiff Failed to Exhaust Her Administrative
          Remedies (Claims 12 and 13)

           Claims 12 and 13 allege discrimination in a place of public accommodation in

    violation of Colo. Rev. Stat. § 24-34-601(2)(a) (i.e. Part 6 of CADA). (Doc. 124, ¶ 295,

    296, 301, 302.) CADA clearly states that,

           [n]o person may file a civil action in a district court in this state based on an
           alleged discriminatory or unfair practice prohibited by parts 4 to 7 of this

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           article without first exhausting the proceedings and remedies available to
           him under this part 3 unless he shows, in an action filed in the appropriate
           district court, by clear and convincing evidence, his ill health which is of such
           a nature that pursuing administrative remedies would not provide timely and
           reasonable relief and would cause irreparable harm.

    Colo. Rev. Stat. § 24-34-306(14). Part 3 of CADA lays out the administrative procedure

    that a plaintiff must exhaust before filing a private action. Critically, the right to sue notice,

    issued at the conclusion of the administrative process, constitutes the exhaustion of

    administrative remedies. Colo. Rev. Stat. § 24-34-306(15).

           Plaintiff’s CADA claims are subject to CADA’s exhaustion requirement because

    they assert discrimination in a place of public accommodation in violation of Colo. Rev.

    Stat. § 24-34-601(2)(a). (Doc. 124, ¶ 295, 296, 301, 302); Colo. Rev. Stat. § 24-34-

    306(14); Brooke v. Restaurant Sevs., Inc. 906 P.2d 66, 70 (Colo. 1995) (“We hold that

    administrative remedies under [CADA] must be exhausted only for claims filed pursuant

    to [CADA].”); Mullen v. S. Denver Rehab., LLC, No. 18-cv-01552-MEH, 2020 WL

    2557501, at *18 (D. Colo. May 20, 2020) (unpublished) (“Part 6 of the CADA, under which

    Plaintiffs bring their claims, is included in the plain language of the statute requiring

    exhaustion of administrative remedies. Accordingly, the Plaintiffs must demonstrate that

    they exhausted administrative remedies before filing their claims under the CADA.”)

    (internal citations and quotations omitted).

           Plaintiff did not exhaust her administrative remedies under CADA before filing this

    lawsuit and does not allege exhaustion of her administrative remedies under CADA in the

    Complaint. (See Doc. 124, ¶ 12) (alleging PLRA exhaustion only). Consequently, the

    Court must dismiss Claims 12 and 13 under Fed. R. Civ. P. 12(b)(1) and/or (6).


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                                         V. CONCLUSION

          Defendants respectfully ask the Court to enter an order dismissing Plaintiff’s

    Complaint with prejudice, awarding Defendants reasonable attorneys’ fees and costs, and

    for such other and further relief the Court deems just and proper.

          Dated this 28th day of June 2022.
                                                           By: s/ Nathan J. Whitney
                                                           Nathan J. Whitney, #39002
                                                           Senior Assistant County Attorney
                                                           Terry A. Sample, #33919
                                                           Senior Assistant County Attorney
                                                           Chris Strider, #33919
                                                           Assistant County Attorney
                                                           Steven Martyn, #47429
                                                           El Paso County Attorney’s Office
                                                           200 S. Cascade Ave.
                                                           Colorado Springs, CO 80903
                                                           (719) 520-6485 (Main Office Line)
                                                           (719) 520-7264 (Office)
                                                           Email:
                                                           nathanwhitney@elpasoco.com
                                                           chrisstrider@elpasoco.com
                                                           terrysample@elpasoco.com
                                                           stevenmartyn@elpasoco.com




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                                 CERTIFICATE OF SERVICE


           I hereby certify that on June 28, 2022, I electronically filed a true copy of the
    Defendants’ Motion to Dismiss Third Amended Complaint with the Clerk of Court using
    the CM/ECF system which will send notification of such filing to the following:
    Andy McNulty
    Mari Newman
    1543 Champa Street, Suite 400
    Denver, CO 80202
    (303) 571-1000
    (303) 571-1001
    amcnulty@kln-law.com


                                                           s/Casey Campbell
                                                          Paralegal




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-00387-NRN-CMA

   DARLENE GRIFFITH,

          Plaintiff,

   v.

   EL PASO COUNTY, COLORADO, et al.

          Defendants.


          RESPONSE TO DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED
              COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(1) AND (6)


          Plaintiff, by and through her attorneys, responds to Defendants’ Motion to Dismiss Third

   Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and (6). [Doc. #132], as follows:

   1. Introduction

          This case is “about protecting the rights of transgender people in public spaces and not

   forcing them to exist on the margins.” G.G. v. Gloucester Cty. Sch. Bd., 853 F.3d 729, 730 (4th

   Cir. 2017) (Davis, J., concurring). It is a case that is, at its core, “about governmental validation of

   the existence and experiences of transgender people, as well as the simple recognition of their

   humanity.” Id. Far from isolated, this case “is part of a larger movement that is redefining and

   broadening the scope of civil and human rights so that they extend to a vulnerable group that has

   traditionally been unrecognized, unrepresented, and unprotected.” Id.

          Ms. Griffith is a transgender woman who has been diagnosed with Gender Dysphoria. In

   the community, she lives in accordance with her female gender identity. Despite this well-

   documented history, Defendants Bill Elder, Cy Gillespie, Elizabeth O’Neal, Tiffany Noe, and

   Brande Ford purposefully housed Ms. Griffith in an all-male unit in the El Paso County Jail. Even


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   in the face of Ms. Griffith’s repeated requests to be moved to a unit that corresponds with her

   gender identity, Defendants continued to deny her this reasonable accommodation.

          Defendants’ decision to house Ms. Griffith in a unit that does not conform with her gender

   identity also subjected Ms. Griffith to a pervasive culture of discrimination and harassment. She

   was sexually harassed and subjected to a highly invasive (and completely unnecessary) cross-

   gender visual body cavity search by Defendant Andrew Mustapick, who told her that he wanted to

   go “balls deep in [her] ass” while Defendant Dawne Elliss did nothing to prevent this clearly

   unconstitutional search. She was continuously subjected to demeaning cross-gender pat-down

   searches. She was regularly mis-gendered and demeaned by El Paso County officials. She was not

   given clothing that conforms with her gender identity, despite the fact that cisgendered women are

   allowed women’s underwear and grooming products. All of these actions were taken in

   accordance with the official policies of El Paso County, which were implemented by Defendants

   Elder and Gillespie, and pursuant to widespread unwritten customs and practices that El Paso

   County, Defendant Elder, and Defendant Gillespie have condoned. Defendants’ motion to dismiss

   should be denied in its entirety.

   2. Relevant Factual Allegations

          As amply alleged in Plaintiff’s Third Amended Complaint, El Paso County and its officials

   violated Ms. Griffith’s Constitutional and statutory rights in a variety of different ways. First,

   Defendants Ford, O’Neal, Noe, Gillespie, and Elder purposefully intentionally disregarded Ms.

   Griffith’s repeated requests to be housed in a unit that corresponded with her female gender

   identity by instead housing Ms. Griffith in an all-male unit within the El Paso County Jail because

   she is a transgender woman with male genitalia. [Doc. #124], ¶¶ 47-70. Defendants made this

   conscious decision to discriminate and expose Ms. Griffith to obvious danger despite knowing that




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   Ms. Griffith suffered from Gender Dysphoria that was exacerbated by being housed in an all-male

   unit. Id.

           Second, Defendant Mustapick sexually harassed and assaulted Ms. Griffith during an

   unconstitutional cross-gender visual body-cavity search while Defendant Elliss stood by and

   allowed Mustapick to violate Ms. Griffith’s rights without intervening. Id., ¶¶ 71-83. After

   Defendant Elliss left Ms. Griffith alone with Defendant Mustapick (a male deputy), Defendant

   Mustapick ordered Ms. Griffith to take off her socks, pants, and panties, place her hands on the

   wall, bend over, and “spread [her] sexy cheeks.” Id., ¶ 77. Defendant Mustapick then told Ms.

   Griffith that he was “going to go balls deep in that ass” while grabbing his own penis in view of

   Ms. Griffith. Id., ¶78. Defendant Mustapick’s threatening and demeaning search of Ms. Griffith

   served no legitimate penological purpose. Id., ¶ 80.

           Third, Defendants Ford, O’Neal, Noe, Gillespie, and Elder failed to protect Ms. Griffith by

   housing her in an all-male unit, which predictably led to her being assaulted by a male inmate.

   That inmate approached Ms. Griffith while she was laying in her bunk and groped her right breast

   while telling Ms. Griffith, “you know you want this dick.” Id., ¶¶ 84-88.

           Fourth, because of Defendants Ford’s, O’Neal’s, Noe’s, Gillespie’s, and Elder’s decision

   to house Ms. Griffith in an all-male facility, El Paso County officials subjected Ms. Griffith to

   continuous cross-gender pat-down searches. Id., ¶¶ 89-96. Male deputies repeatedly touched Ms.

   Griffith’s breasts and groin when patting her down. Id., ¶ 90.

           Fifth, because of Defendants Ford’s, O’Neal’s, Noe’s, Gillespie’s, and Elder’s decision to

   house Ms. Griffith in an all-male facility, El Paso County officials constantly mis-gendered Ms.

   Griffith throughout her incarceration. Id., ¶¶ 97-109. In one instance, an El Paso County deputy

   called Ms. Griffith a “blind faggot” in front of other inmates. Id., ¶ 100. Mis-gendering is a form

   of sexual harassment.


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          Sixth, because of Defendants Ford’s, O’Neal’s, Noe’s, Gillespie’s, and Elder’s decision to

   house Ms. Griffith in an all-male facility, she was denied the ability to dress in accordance with

   her gender identity. Id., ¶¶ 110-122. Ms. Griffith repeatedly requested gender affirming clothing,

   but was denied each time. Id., ¶¶ 115-117.

          Importantly, all of this conduct that violated Ms. Griffith’s Constitutional and statutory

   rights was undertaken either pursuant to official El Paso County Jail policies (enacted and

   implemented by Defendant Elder and Gillespie), id., ¶¶ 42, 57, 74, 81, 94, 106, 117, 118, and/or

   the widespread customs and practices at the El Paso County Jail. Doc. Id., ¶¶ 67, 87, 94, 106, 118.

   These policies, customs, and practices directly caused the violation of Ms. Griffith’s

   Constitutional rights. Id., ¶¶ 42, 57, 67, 74, 81, 87, 94, 106, 117, 118. All of these actions by

   Defendants also caused Ms. Griffith to engage in self-harm by wrapping a rubber band around her

   genitalia extremely tightly with the purpose of self-castration. Id., ¶¶ 69, 83, 96, 109, 122.

   3. STANDARD OF REVIEW

          3.1 The general standard of review disfavors granting motions to dismiss.

          “There is a strong presumption against the dismissal of claims under [Fed.R.Civ.P.

   12(b)(6)].” Blevins v. Reid, 2008 U.S. Dist. LEXIS 46168, at *9 (D. Colo. June 12, 2008). A

   complaint will survive a Rule 12(b)(6) motion if it contains “enough facts to state a claim to relief

   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009). “Plausible” does not mean “likely to be true,” but is, instead, a

   nudge beyond “conceivable.” See Robbins v. Oklahoma, 519 F.3d 1242, 1247 (10th Cir. 2008).

   When evaluating a Rule 12(b)(6) motion, a court must accept as true “all well-pleaded factual

   allegations in a complaint and view these allegations in the light most favorable to the plaintiff.”

   Kerber v. Qwest Group Life Ins. Plan, 647 F.3d 950, 959 (10th Cir. 2011).

          Courts have rejected a heightened pleading standard for claims of municipal liability.


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      The reasons for not requiring heightened fact pleading in a § 1983 municipal liability
      complaint remain even in the wake of Twombly and Iqbal: a plaintiff, as an outsider to
      municipal government, is not expected to have information about a city’s official policies,
      practices, or training programs at the pleading stage.

   Walker v. Zepeda, 2012 U.S. Dist. LEXIS 74386, *14 (D. Colo. May 29, 2012) (Ebel, J). Thus, a

   complaint sufficiently alleges municipal liability where “it contain[s] not only ‘a boilerplate

   recitation of the grounds for municipal liability,’” but also makes “some additional allegation to

   put the municipality on fair notice of the grounds for which it [is] being sued.” Id. (quoting Taylor

   v. RED Dev., LLC, 2011 U.S. Dist. LEXIS 97985, at *4 (D. Kan. Aug. 31, 2011). “To require

   more could foreclose legitimate § 1983 claims that, after appropriate discovery, turn out to have

   evidentiary support.” Id. at *15-16 (citing Wilson v. City of Chicago, 2009 U.S. Dist. LEXIS

   93912, at *3 (N.D. Ill. Oct. 7, 2009).

          3.2 Qualified immunity does not shield defendants from liability where there conduct
              is egregious, or where caselaw puts them on notice their conduct is
              unconstitutional.

          To show that a right was clearly established, a plaintiff may point to “a Supreme Court or

   Tenth Circuit decision on point, or the clearly established weight of authority from other courts.”

   Gutierrez v. Cobos, 841 F.3d 895, 899 (10th Cir. 2016) (citations omitted). But, even absent such

   a showing, qualified immunity does not shield a defendant when “a reasonable officer would

   understand that what he is doing violates that right.” Medina v. Cram, 252 F.3d 1124, 1128 (10th

   Cir. 2001). Nor does qualified immunity require the plaintiff to show “the very act in question

   previously was held unlawful.” Gutierrez, 841 F.3d at 899 (10th Cir. 2016). “[N]ot every

   constitutional violation has factual antecedents,” and courts “can occasionally rely on the general

   proposition that it would be ‘clear to a reasonable officer that his conduct was unlawful in the

   situation he confronted…even though existing precedent does not address similar circumstances.’”

   Colbruno v. Kessler, 928 F.3d 1156, 1165 (10th Cir. 2019) (quoting D.C. v. Wesby, 138 S. Ct.

   577, 590 (2018)). The Tenth Circuit has held, in line with Supreme Court precedent, that “general

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   statements of the law are not inherently incapable of giving fair and clear warning to officers as

   long as the unlawfulness of an action is apparent[.]” Ashaheed v. Currington, 7 F.4th 1236, 1246

   (U.S. 10th Cir. 2021) (cleaned up) (quoting White v. Pauly, 137 S. Ct. 548, 552 (2017)). In fact,

   “[t]he more obviously egregious the conduct in light of prevailing constitutional principles, the

   less specificity is required from prior case law to clearly establish the violation.” Perea v. Baca,

   817 F.3d 1198, 1204 (10th Cir. 2016) (internal quotation marks and citation omitted). “[I]t would

   be remarkable if the most obviously unconstitutional conduct should be the most immune from

   liability only because it is so flagrantly unlawful that few dare its attempt.” Colbruno, 928 F.3d at

   1165.

   4. ARGUMENT

           4.1 Plaintiff adequately alleges that Defendants Elder and Gillespie personally
               participated in the violation of her Constitutional rights.

           “Personal involvement [in a constitutional violation] does not require direct participation

   because § 1983 states any official who ‘causes’ a citizen to be deprived of her constitutional rights

   can also be held liable.” Dodds v. Richardson, 614 F.3d 1185, 1195 (10th Cir. 2010) (citation

   omitted). In Dodds, the court held that a sheriff was personally responsible under Section 1983

   where the enforcement of jail policy caused the violation of the plaintiff’s constitutional rights

   when the sheriff was “responsible for the policies that operated [at the jail] and [those policies]

   enforced by his subordinates at the jail.” Id. at 1203. Similarly, here, Plaintiff alleges that the

   policies enacted by Defendant Elder and Gillespie, [Doc. #124], ¶¶ 14, 57, caused the violation of

   her constitutional rights. Further, Plaintiff alleges that Defendants Elder and Gillespie make

   facility assignments to people in custody solely on the basis of the individual’s genitalia, in

   contravention of widely accepted standards, Id., ¶ 42, which caused the violation of Plaintiff’s

   constitutional rights in numerous ways. Id., ¶¶ 47-122.



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          Further, where the “underlying unconstitutional misconduct was so widespread or flagrant

   that in the proper exercise of its official responsibilities the governing body should have known of

   it,” a factfinder may infer that the governing officials did know about the misconduct. Jojola v.

   Chavez, 55 F.3d 488 (10th Cir. 1995). The violation of Ms. Griffith’s rights was no secret, and

   transgender inmates at the El Paso County Jail are constantly housed in facilities that do not

   correspond with their gender identity, subjecting them to discrimination and exposing them to an

   extreme risk of assault and harassment. [Doc. #124], ¶ 67. This case is very similar to Lopez v.

   LeMaster, in which the Tenth Circuit held that a sheriff was liable for deliberate indifference

   because he did not take action to prevent inmates from being attacked by other inmates at the jail,

   despite being aware of prior attacks and deficiencies in staffing and surveillance that prevented the

   jail from preventing attacks. 172 F.3d 756, 760-64 (10th Cir. 1999). As alleged, Defendants Elder

   and Gillespie are personally liable for the violation of Plaintiff’s Constitutional rights.

          Finally, Dodds and Lopez clearly establish that an official who implements an official

   policy that causes the violation of the Constitution is not entitled to qualified immunity.

          4.2 Plaintiff adequately alleges that Defendants violated her rights under the
              Fourteenth Amendment’s Equal Protection Clause.

          The Equal Protection Clause of the Fourteenth Amendment directs that “all persons

   similarly situated should be treated alike,” thereby protecting against intentional discrimination by

   way of classifications that reflect “a bare . . . desire to harm a politically unpopular

   group.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1050 (7th Cir.

   2017) (quoting City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985)). As alleged,

   Ms. Griffith is a transgender woman and Defendants knew as much. [Doc. #124], ¶¶ 25-27, 110-

   112. Defendants’ decision to disregard Ms. Griffith’s identity as a transgender woman, and instead

   treat her as a male inmate, violated her Fourteenth Amendment rights.



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                  4.2.1 As alleged, Defendants engaged in sex- and gender-based discrimination
                        against Ms. Griffith.

           Refusing to allow transgender individuals to use public facilities that correspond with their

   gender identities is sex- and gender-based discrimination under the Fourteenth Amendment.

   Adams v. Sch. Bd., 968 F.3d 1286, 1302 (11th Cir. 2020); Grimm v. Gloucester Cty. Sch. Bd., 976

   F.3d 399, 402 (4th Cir. 2020); Whitaker, 858 F.3d at 1048-49. When an inmate is “placed in a

   facility based on their genitalia… a sex-based classification is used, and intermediate scrutiny

   must be applied.” Hampton v. Baldwin, No. 3:18-CV-550-NJR-RJD, 2018 U.S. Dist. LEXIS

   190682, at *32-37 (S.D. Ill. Nov. 7, 2018); see also Tay v. Dennison, 457 F. Supp. 3d 657 (S.D.

   Ill. 2020); Doe v. Mass. Dep’t of Corr., No. 17-12255-RGS, 2018 U.S. Dist. LEXIS 99925, at *25

   (D. Mass. June 14, 2018) (holding that a transgender prisoner’s “compulsory assignment to a

   men’s prison caused Doe to be treated differently from other female prisoners”); Iglesias v. Fed.

   Bureau of Prisons, No. 19-CV-415-NJR, 2021 U.S. Dist. LEXIS 245517, at *72 (S.D. Ill. Dec. 27,

   2021). Defendants violated Ms. Griffith’s rights under the Equal Protection Clause in the same

   way by housing her in an all-male unit and denying her access to women’s facilities, solely based

   on her transgender status and the fact that she has male genitalia. [Doc. #124], ¶¶ 42, 47-70. In

   other words, a similarly situated woman to Ms. Griffith would not be housed in an all-male

   facility.

           Moreover, Defendants discriminated against Ms. Griffith by denying her items that

   cisgender women have access to, including clothing and grooming products, solely based on her

   transgender status. [Doc. #124], ¶¶ 110-122. The United States Supreme Court has long held that

   sex stereotyping based on preconceived notions about appropriate dress for men and women is

   intolerable sex discrimination. Price Waterhouse v. Hopkins, 490 U.S. 228 (1989); Smith v. City of

   Salem, 378 F.3d 566, 574 (6th Cir. 2004) (“After Price Waterhouse, an employer who

   discriminates against women because, for instance, they do not wear dresses or makeup, is

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   engaging in sex discrimination because the discrimination would not occur but for the victim’s

   sex.”); Dawson v. Bumble & Bumble, 398 F.3d 211, 221 (2d Cir. 2005). Simply put, “it is

   impossible to discriminate against a person for being homosexual or transgender without

   discriminating against that individual based on sex.” Bostock v. Clayton Cty., 140 S. Ct. 1731,

   1741 (2020). Plaintiff adequately alleges that Defendants’ actions constitute sex- and gender-based

   discrimination.

                     4.2.2 Plaintiff, as a transgender woman, is a member of a suspect, or quasi-
                           suspect, class.

          A growing consensus of courts have held that transgender individuals constitute a suspect

   or quasi-suspect class.1 And, when evaluating transgender individuals under the four-factor test

   outlined for determining whether a class qualifies as suspect or quasi-suspect, it becomes clear that

   discrimination against transgender individuals merits heightened scrutiny. Heightened scrutiny is

   appropriate when the class being discriminated against: (1) has been “historically subjected to

   discrimination,” (2) has a defining characteristic bearing no “relation to ability to perform or

   contribute to society,” (3) has “obvious, immutable, or distinguishing characteristics,” and (4) is a


   1 See, e.g., Grimm, 972 F.3d at 610-13 (holding that transgender people constitute a quasi-suspect

   class); Crowder v. Diaz, No. 2:17-CV-1657-TLN-DMC, 2019 U.S. Dist. LEXIS 140306, at *30
   (E.D. Cal. Aug. 16, 2019) (same); Evancho v. Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288
   (W.D. Pa. 2017); Adkins v. City of New York, 143 F. Supp. 3d 134, 139 (S.D.N.Y. 2015) (same);
   Bd. of Educ. of the Highland Local Sch. Dist. v. U.S. Dep’t of Educ., 208 F. Supp. 3d 850, 873
   (S.D. Ohio 2016) (same); M.A.B. v. Bd. of Educ., 286 F. Supp. 3d 704, 718-19 (D. Md. 2018)
   (same); Norsworthy, 87 F. Supp. 3d at 1119 (same); F.V. v. Barron, 286 F. Supp. 3d 1131, 1145
   (D. Idaho 2018) (same); Karnoski v. Trump, 2018 U.S. Dist. LEXIS 63563, 2018 WL 1784464
   (W.D. Wash. Apr. 13, 2018) (same); see also Flack v. Wis. Dept. of Health Servs., 328 F. Supp. 3d
   931, 951-53 (W.D. Wis. 2018) (explaining in a ruling on a preliminary injunction why heightened
   scrutiny would likely apply to transgender persons); Doe v. Wash. State Dep't of Corr., No. 4:21-
   CV-5059-TOR, 2021 U.S. Dist. LEXIS 93455, at *21 (E.D. Wash. May 17, 2021); McQueen v.
   Brown, No. 2:15-cv-2544 JAM AC P, 2018 U.S. Dist. LEXIS 66377, 2018 WL 1875631, at *3
   (E.D. Cal. Apr. 19, 2018), report and recommendation adopted, No. 2:15-cv-2544 JAM AC P,
   2018 U.S. Dist. LEXIS 91170, 2018 WL 2441713 (E.D. Cal. May 31, 2018) (collecting cases);
   Karnoski v. Trump, No. C17-1297-MJP, 2018 U.S. Dist. LEXIS 63563, 2018 WL 1784464, at *1
   (W.D. Wash. Apr. 13, 2018) (“The Court also rules that, because transgender people have long
   been subjected to systemic oppression and forced to live in silence, they are a protected class.”).

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   “minority or is politically powerless.” Windsor v. United States, 699 F.3d 169, 181 (2d Cir.

   2012), aff’d on other grounds, 570 U.S. 744 (2013); see also Bowen v. Gilliard, 483 U.S. 587, 602

   (1987); Cleburne, 473 U.S. at 440-41. Transgender individuals, like Ms. Griffith, meet all of these

   criteria.

           First, “[i]t is generally accepted that transgender individuals face an alarming rate of

   discrimination, harassment, and violence.” Crowder, 2019 U.S. Dist. LEXIS 140306, at *32-35;2

   see also Grimm v. Gloucester Cty. Sch. Bd., 302 F. Supp. 3d 730, 749 (E.D. Va. 2018). For

   example, the transgender community “suffers from high rates of employment discrimination,

   economic instability, and homelessness.” Grimm, 972 F.3d at 611. Additionally, transgender

   individuals frequently experience harassment in places such as schools, medical settings, and retail

   stores, while also experiencing physical assault in places such as schools and places of public

   accommodation, at high levels and being disproportionate victims of violent crime. Id. “In the

   prison context, [PREA] exposed heightened risk of sexual assault against LGBTQI prisoners and

   the atypical severity of punishments LGBTQI people face solely for being themselves” and

   “transgender inmates are thirteen times more likely to be assaulted than other prisoners.” Crowder,

   2019 U.S. Dist. LEXIS 140306, at *33. And, the El Paso County Jail’s treatment of Ms. Griffith is

   an exemplar of how “current measures and policies continue to target transgender persons for

   differential treatment.” Grimm, 972 F.3d at 611.

           Second, in Windsor, the Second Circuit concluded “the aversion homosexuals experience

   has nothing to do with aptitude or performance.” 699 F.3d at 182-83. “The same can be said of




   2 Citing Jaime M. Grant et al., Injustice at Every Turn: A Report of the

   National Transgender Discrimination Survey, Nat’l Center for Transgender Equality
   (2011), available
   at https://www.transequality.org/sites/default/files/docs/resources/NTDS_Report.pdf.

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   discrimination leveled at transgender people.” Crowder, 2019 U.S. Dist. LEXIS 140306, at *35;

   Grimm, 972 F.3d at 611.

          Third, the Fourteenth Amendment is meant to protect citizens from discrimination based

   on circumstances beyond their control. See Plyler, 457 U.S. at 216 n.14. “[B]eing transgender is

   not a choice.” Grimm, 972 F.3d at 612. At least three courts, based on substantial evidence, have

   acknowledged that gender identity is biologically determined. Id.; Crowder, 2019 U.S. Dist.

   LEXIS 140306, at *35-36; Doe v. McConn, 489 F. Supp. 76, 78 (S.D. Tex. 1980) (“These findings

   indicate that the transsexual has not made a choice to be as he is, but rather that the choice has

   been made for him through many causes preceding and beyond his control”). And, “given the

   discrimination transgender individuals face, it is illogical to assert that a person would actively

   choose this ‘lifestyle.’” Crowder, 2019 U.S. Dist. LEXIS 140306, at *35-36 (quoting Hernandez-

   Montiel v. Immigration & Naturalization Serv., 225 F.3d 1084, 1095 (9th Cir. 2000) (stating

   a transgender asylum applicant’s female sexual identity “must be fundamental, or [s]he would not

   have suffered this persecution and would have changed years ago”)).

          Fourth, “transgender people constitute a minority lacking political power” given that

   “approximately 0.6% of the adult population in the United States” identifies as transgender.

   Grimm, 972 F.3d at 612. “[T]ransgender persons are underrepresented and have not gained

   positions of significant power” and “no acknowledged transgender person has ever held a

   significant position in Congress or the federal judiciary.” Crowder, 2019 U.S. Dist. LEXIS

   140306, at *36-37 (citing Adkins, 143 F. Supp. 3d at 140 (“[T]here is no indication that there have

   ever been any transgender members of the United States Congress or the federal judiciary.”);

   M.A.B. v. Bd. of Educ., 286 F. Supp. 3d 704, 721 (D. Md. 2018) (“Only two openly transgender

   candidates have ever been elected; both won seats in a state legislature.”)). Importantly, “the

   examples of discrimination” against transgender individuals (which this case represents) “affirm


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   what we intuitively know: Transgender people constitute a minority that has not yet been able to

   meaningfully vindicate their rights through the political process.” Grimm, 972 F.3d at 612.

          For these reasons, a growing consensus of courts that have held “transgender persons

   constitute a quasi-suspect class” and discrimination against them is subject to heightened scrutiny.

   Id. at 613. Ms. Griffith is a member of a quasi-suspect class.

                  4.2.3 Defendants’ deliberate decision to disregard Ms. Griffith’s female gender
                        identity, and instead treat her as a male inmate, was not substantially
                        related to an important interest and violated the Equal Protection clause.

          Under intermediate scrutiny, “classifications by gender must serve important governmental

   objectives and must be substantially related to achievement of those objectives” in order to be

   upheld. Craig v. Boren, 429 U.S. 190, 197 (1976). “When a sex-based classification is used, the

   burden rests with the state to demonstrate that its proffered justification is ‘exceedingly

   persuasive.’” Whitaker, 858 F.3d at 1050 (citing United States v. Virginia, 518 U.S. 515, 533

   (1996)). “It is not sufficient to provide a hypothesized or post hoc justification created in response

   to litigation.” Id. The Tenth Circuit has recognized that “[a]t least since Virginia, [the arc of the

   Supreme Court’s equal protection jurisprudence] bends toward requiring more—not less—judicial

   scrutiny when asserted physical differences are raised to justify gender-based discrimination[.]”

   Free the Nipple-Fort Collins v. City of Fort Collins, 916 F.3d 792, 805 (10th Cir. 2019).

   Ultimately, the question this Court must answer is whether Defendants’ “policy of

   placing transgender inmates in the prison of their assigned sex at birth [is] substantially related to

   the achievement of prison security?” Hampton, 2018 U.S. Dist. LEXIS 190682, at *32-37. The

   answer to that question is a resounding no.

          As alleged, there was no reason for Defendants to assign Plaintiff – who for decades has

   lived in society as a woman, and who has previously been housed with female offenders in the

   Colorado Department of Corrections – to an all-male unit other than the fact that she has male


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   genitalia and her sex assigned at birth was male. [Doc. #124], ¶¶ 42, 47-70. Transgender inmates

   do not generally pose a greater security threat than cisgender inmates. Doe, 2018 U.S. Dist.

   LEXIS 99925, 2018 WL 2994403, at *10 (citing Virginia, 518 U.S. at 531 and holding that

   “generalized concerns for prison security are insufficient to meet the ‘demanding’ burden placed

   on the State to justify sex-based classifications”). Defendants’ placement of Plaintiff in an all-male

   facility is particularly glaring in light of her previous placement with female inmates in the

   CDOC, of which, as alleged, Defendants were aware. [Doc. #124], ¶ 65. Given the lack of any

   justification for housing Ms. Griffith in an all-male unit other than her genitalia and sex assigned

   at birth, that classification does not pass intermediate scrutiny.

          Therefore, based on substantial precedent, it is clear that, as alleged, Plaintiff’s placement

   in an all-male unit was not substantially related to an important government interest. See Tay, 457

   F. Supp. 3d at 682 (holding that a transgender prisoner’s placement in a men’s prison was not

   substantially related to an important government interest even though the prisoner had a history of

   violent behavior); Hampton, 2018 U.S. Dist. LEXIS 190682, 2018 WL 5830730, at *12 (finding

   that a transgender female inmate’s equal protection claim based on her placement in a

   men’s prison had a “greater than negligible chance of success on the merits”); Doe, 2018 U.S.

   Dist. LEXIS 99925, 2018 WL 2994403, at *9 (refusing to dismiss transgender woman prisoner’s

   equal protection claim because “the DOC ha[d] not met its burden of demonstrating

   that housing her and other similarly situated transgender prisoners in facilities that correspond to

   their birth sex serves an important governmental interest”); Norsworthy, 87 F. Supp. 3d at 1120

   (finding that a transgender woman prisoner adequately stated equal protection claim

   against prison officials for denying her sex reassignment surgery).

          Finally, Defendants are not entitled to qualified immunity based on the caselaw and well-

   established legal principles outlined above. Particularly, the Supreme Court’s decision in Bostock,


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   the weight of authority from other circuits holding that discrimination against transgender

   individuals violates the Fourteenth Amendment, and the Tenth Circuit’s decision in Free the

   Nipple-Fort Collins would have put Defendants on notice that they were violating Ms. Griffith’s

   Fourteenth Amendment rights.

                  4.2.4 Separately, the sexual harassment that Ms. Griffith was subjected to
                        demonstrates that Defendants violated the Equal Protection clause.

           Ms. Griffith was subjected to significant verbal and physical harassment by staff and other

   inmates. “[I]t is well-settled that sexual harassment also violates the Equal Protection clause[.]”

   Lucente v. Cty. of Suffolk, 980 F.3d 284, 304, 305 (2d Cir. 2020); Doe v. Beaumont Indep. Sch.

   Dist., No. 1:21-CV-00132, 2022 U.S. Dist. LEXIS 125296, at *31 n.15 (E.D. Tex. July 14, 2022)

   (citing cases). “To succeed on her sexual harassment claim under the Equal Protection Clause,

   [Ms. Griffith] must establish (1) the harassment was intentional and based on sex and (2) the

   harassment was ‘sufficiently severe or pervasive.’” Hampton, 2018 U.S. Dist. LEXIS 190682, at

   *37-39 (quoting Trautvetter v. Quick, 916 F.2d 1140, 1149 (7th Cir. 1990). “[A] plaintiff wishing

   to sustain an equal protection claim of sexual harassment must show both ‘sexual harassment’ and

   an ‘intent’ to harass based upon that plaintiff’s membership in a particular class of citizens.” Id. at

   1040.

           As alleged, Ms. Griffith was sexually harassed by Defendant Mustapick who, on intake to

   the El Paso County Jail, ordered Ms. Griffith to undress, bend over, and “spread [her] sexy

   cheeks,” and then grabbed his own penis while threatening Ms. Griffith that he was “going to go

   balls deep in that ass”. [Doc. #124], ¶¶ 71-83. After this egregious harassment, Ms. Griffith

   continued to be consistently harassed and mis-gendered by deputies because she is a transgender

   woman (including an incident where a deputy called Ms. Griffith a “blind faggot”). Id., ¶¶ 97-109.

   Ms. Griffith was also assaulted by another inmate because she was discriminatorily placed into a

   unit that does not correspond with her gender identity. Id., ¶ 84-88. Given all of this, Ms. Griffith

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   has alleged a compelling sexual harassment claim under the Equal Protection clause McNamarah,

   Chan Tov, Misgendering as Misconduct, 68 UCLA L. Rev. Disc. 40, 43 (2020). 3 Defendant

   Mustapick is not entitled to qualified immunity based on the caselaw and well-established legal

   principles outlined here.

          4.3 Plaintiff adequately alleges that Defendants violated her substantive due process
              rights under the Fourteenth Amendment.

          The Due Process Clause of the Fourteenth Amendment protects pretrial detainees—who

   have not been adjudged guilty of any crime—from any conditions or restrictions that amount to

   punishment. Bell v. Wolfish, 441 U.S. 520, 535-37 (1979); see also Valdez v. Rosenbaum, 302

   F.3d 1039, 1045 (9th Cir. 2002).4 “[I]f a restriction or condition is not reasonably related to a



   3 Citing G. G. ex rel. Grimm v Gloucester Cty. Sch. Bd., 822 F3d 709, 716 (4th Cir 2016) (finding

   misgendering “display[s] hostility”), vacated, 137 S Ct 1239 (2017); Hampton, 2018 U.S. Dist.
   LEXIS 190682, 2018 WL 5830730, at *2 (quoting medical testimony that “misgendering
   transgender people can be degrading, humiliating, invalidating, and mentally devastating” and
   holding that transgender woman had a strong equal protection claim based on sexual harassment
   in a male prison and was likely to succeed on the merits where prisoners and correctional officers
   constantly misgendered her and verbally abused her with slurs such as “fag,” “it,” “he-she”, and
   “dick-sucker”); Prescott v Rady Children's Hosp.-San Diego, 265 F Supp 3d 1090, 1096 (S.D.
   Cal. 2017) (“For a transgender person with gender dysphoria, being referred to by the wrong
   gender pronoun is often incredibly distressing.”); Rumble v Fairview Health Servs., No. 14-CV-
   2037, 2015 U.S. Dist. LEXIS 31591, at *71 (D. Minn. Mar. 16, 2015) (rejecting defendant's
   characterization of misgendering as a “perceived slight[]” and concluding it was “objectively
   offensive behavior”); Doe v City of New York, 42 Misc. 3d 502 (Sup Ct NY County) (concluding
   purposeful misgendering as “not a light matter, but one which is laden with discriminatory
   intent”); see also Gregory v. Jeffreys, No. 21-1097, 2021 U.S. Dist. LEXIS 206187, at *10 (C.D.
   Ill. Oct. 26, 2021) (holding that “Plaintiff has adequately alleged Defendant Warden Jackson
   violated Plaintiff's equal protection rights based on a policy and practice of allowing staff to
   sexually harass transgender inmates”); Tay, 457 F. Supp. 3d at 683 (S.D. Ill. 2020); Hecox v.
   Little, 479 F. Supp. 3d 930, 957 (D. Idaho 2020) (finding that “misgendering” was “concerning”
   given that it is “degrading, mean, and potentially mentally devastating to transgender
   individuals”); Joyner v. Snyder, No. 06-3062, 2007 U.S. Dist. LEXIS 7214, 2007 WL 401269, at
   *2 (C.D. Ill. Feb. 1, 2007) (finding that prisoner sufficiently stated an equal protection violation
   where prisoner alleged that he was harassed and discriminated against because of his sexual
   orientation).
   4 Pretrial detainees possess greater constitutional rights than prisoners. Stone v. City & County of

   San Francisco, 968 F.2d 850, 857 n.10 (9th Cir. 1992); see also Mendiola-Martinez v. Arpaio, 836
   F.3d 1239, 1246 n.5 (9th Cir. 2016) (“Eighth Amendment protections apply only once a prisoner

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   legitimate goal—if it is arbitrary or purposeless—a court permissibly may infer that the purpose of

   the governmental action is punishment that may not constitutionally be inflicted upon

   detainees[.]” Bell, 441 U.S. at 539 Punishment occurs if an official action causes the “infliction of

   pain” on an inmate that is “unnecessary and wanton.” Jordan v. Gardner, 986 F.2d 1521, 1525 (9th

   Cir. 1993). Physical injury need not result for the punishment to state a cause of action, for the

   wanton infliction of psychological pain is also prohibited. Benefield v. McDowall, 241 F.3d 1267,

   1272 (10th Cir. 2001); Calhoun v. Detella, 319 F.3d 936, 939 (7th Cir. 2003).

                  4.3.1 Defendant El Paso County subjected Ms. Griffith to unconstitutional
                        conditions of confinement through near-constant sexual harassment and
                        unwanted cross-gender touching.

          “[A] female detainee has the right not to be sexually harassed, verbally or physically, by

   other detainees or guards.” Shaw v. District of Columbia, 944 F. Supp. 2d 43, 58-59 (D.D.C.

   2013); Farmer v. Brennan, 511 U.S. at 834 (1994) (unsolicited sexual touching, harassment, and

   coercion are “simply not part of the penalty that criminal offenders pay for their offenses against

   society” (internal quotations omitted)).5 El Paso County officials’ continuous harassment of Ms.

   Griffith and repeated unwanted cross-gender touching of her, as amply alleged, violated her

   substantive due process rights. [Doc. #124], ¶¶ 97-109.




   has been convicted of a crime, while pretrial detainees are entitled to the potentially more
   expansive protections of the Due Process Clause of the Fourteenth Amendment.”).
   5 See also Women Prisoners of the District of Columbia Dep’t of Corrections v. D.C., 877 F. Supp.

   634, 664-67 (D.D.C. 1994) (sexual assault, coercion and harassment of the sort alleged by plaintiff
   violate contemporary standards of decency and can cause severe physical and psychological
   harm); Hudson v. McMillian, 503 U.S. 1, 6-7 (1992) (holding that where no legitimate law
   enforcement or penological purpose can be inferred from the defendant’s alleged conduct, the
   harassment itself may also be sufficient evidence of a malicious and sadistic state of mind”);
   Joseph v. U.S. Fed. Bureau of Prisons, 232 F.3d 901 (10th Cir. 2000) (“[B]ecause the sexual
   harassment or abuse of an inmate by a corrections officer can never serve a legitimate penological
   purpose and may well result in severe physical and psychological harm, such abuse can, in certain
   circumstances, constitute the unnecessary and wanton infliction of pain[] that is forbidden by the
   Eighth Amendment.”); Barney v. Pulsipher, 143 F.3d 1299, 1310 (10th Cir.1998).

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                  4.3.2 Defendant Mustapick subjected Ms. Griffith to unconstitutional
                        conditions of confinement through the cross-gender visual body-cavity
                        search he performed on her.

          A visual body-cavity search violates the Constitution where the search was “conducted in a

   harassing manner intended to humiliate and inflict psychological pain.” Fillmore v. Page, 358

   F.3d 496, 505 (7th Cir. 2004); Calhoun, 319 F.3d at 939. “[E]xposing a person’s naked body

   involuntarily is a severe invasion of personal privacy.” Colbruno v. Kessler, 928 F.3d 1155, 1161-

   63 (10th Cir. 2019) (holding that pretrial detainee who was walked naked through public areas of a

   hospital had a valid claim under the Fourteenth Amendment that his jailers violated clearly

   established law). Forcing Ms. Griffith to be naked in front of a male guard, who then made her

   spread her “sexy” butt cheeks to “go balls deep” while grabbing his own penis, [Doc. #124], ¶¶

   71-83, certainly rises to “calculated harassment unrelated to prison needs” with the intent to

   humiliate Ms. Griffith. Richards v. Wexford, 2021 U.S. App. LEXIS 31545, 2021 WL 4892160, at

   *3 (7th Cir. Oct. 20, 2021). This is highlighted by the multiple courts that have held that actions

   similar to, and less egregious than, the actions of Defendant Mustapick imposed unconstitutional

   conditions of confinement on the plaintiff-inmate; these cases and legal principles also

   demonstrate why Defendant Mustapick is not entitled to qualified immunity. 6


   6 See Vazquez v. Cty. of Kern, 949 F.3d 1153, 1163-64 (9th Cir. 2020) (holding that a female

   pretrial detainee had shown Fourteenth Amendment violation where a guard had watched a female
   detainee shower, along with: (1) calling the detainee “babe”; (2) telling the detainee that she had a
   “big butt”; (3) commenting on the detainee’s shower gown; (4) telling the detainee that he had
   seen her in the shower and that she should leave her boyfriend to find someone like him; and (5)
   telling the detainee about a sexual dream he had about her and that he wanted the dream to come
   true); Kent v. Johnson, 821 F.2d 1220, 1227- 28 (6th Cir. 1987) (holding that plaintiff sufficiently
   alleged a violation of his constitutional rights where he alleged “that female prison guards have
   allowed themselves unrestricted views of his naked body in the shower, at close range and for
   extended periods of time, to retaliate against, punish and harass him for asserting his right to
   privacy”); Semelbauer v. Muskegon Cnty., No. 1:14-cv-1245, 2015 U.S. Dist. LEXIS 189417,
   2015 WL 9906265, at *3-4 (W.D. Mich. Sept. 11, 2015) (permitting plaintiff to proceed on
   separate claims that the viewing of female inmates by male guards violated both her Fourth and
   Eighth Amendment rights); Payette v. Hoenisch, 284 Fed. Appx. 348, 2008 U.S. App. LEXIS
   14441, No. 07-3249, 2008 WL 2648917, at *5 (7th Cir. 2008) (holding that plaintiff’s evidence

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                  4.3.3 Defendant El Paso County subjected Ms. Griffith to unconstitutional
                        conditions of confinement through its officials’ repeated cross-gender
                        pat-down searches of her.

          The cross-gender pat-down searches inflicted on Ms. Griffith violated her Fourteenth

   Amendment rights by imposing on her an unconstitutional condition of confinement. [Doc. #124],

   ¶¶ 89-96. Multiple courts have held that repeated cross-gender pat-down searches of women,

   absent emergency circumstances that would necessitate performing a cross-gender pat-down

   search, impose unconstitutional conditions of confinement. See Jordan, 986 F.2d at 1526; Colman

   v. Vasquez, 142 F.Supp.2d 226 (D. Conn. 2001); Nelson v. City of Stamford, No. 3:09-cv-1690

   (VLB), 2012 U.S. Dist. LEXIS 8907, at *72-73 (D. Conn. Jan. 25, 2012). For example,

   in Colman, a court addressed the constitutionality of cross-gender at searches in the context of a

   female prisoner incarcerated in a special unit for victims of sexual assault who was forced to

   submit to pat searches by male guards. 142 F.Supp.2d at 226. The Colman court noted that

   “‘women experience unwanted touching by men differently from men subject to comparable

   touching by women.’” 142 F.Supp.2d at 232 (quoting Jordan, 986 F.2d at 1521). And, in Jordan,

   the Court found that women who expressed significant emotional distress at being continually



   “that he was strip searched in front of a window in which everyone in the booking department,
   including inmates and officials of both sexes, could see him . . . create a triable dispute whether
   the search was conducted ‘in a harassing manner intended to humiliate and inflict psychological
   pain’”) (quoting Calhoun, 319 F.3d at 939); Solan v. Ranck, No. CV-06-0049, 2007 U.S. Dist.
   LEXIS 84903, 2007 WL 4111424, at *8 (M.D. Pa. 2007) (holding that Eighth Amendment claim
   was stated where plaintiff alleged that correctional officers deliberately prevented him from
   placing his towel around his waist then dragged him naked in front of a large group of people of
   both sexes; this allegation supports the inference that they intended to humiliate him, an action
   without any penological justification, due to the fact that defendants deliberately put the plaintiff
   on display naked); see also Vasquez v. Raemisch, 480 F. Supp. 2d 1120, 1131-32 (W.D. Wis.
   2007) (holding that Eighth Amendment claim was stated as to strip search where the plaintiff
   alleged his constitutional rights were violated by the manner of the search whereby several officers
   made contact with his genitals; the court held that “[e]ven if legitimate security reasons existed for
   proceeding directly to a manual search, there could be no legitimate purpose for using a strip
   search as a means of obtaining sexual gratification or conducting it in a manner intended to
   humiliate the prisoner, which is what petitioner alleges respondents . . . were doing”).

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   being subjected to cross-gender pat-down searches had a claim for violation of their Constitutional

   rights. Jordan, 986 F.2d at 1531 (en banc) (holding that a cross-gender clothed body search policy

   at a women’s prison constituted cruel and unusual punishment because many of the inmates had

   histories of sexual or physical abuse by men and because cross-gender bodily searches, even if

   conducted properly, would likely inflict psychological trauma).

          Here, Ms. Griffith was part of a particularly vulnerable population, transgender woman

   inmates, and suffered from Gender Dysphoria. [Doc. #124], ¶¶ 48-49. She is also blind. Id., ¶¶ 50.

   The searches were not performed under exigent circumstances or due to any emergency; she was

   routinely patted-down by male deputies. Id., ¶¶ 89-96. Ms. Griffith has adequately alleged a claim

   against El Paso County for violating her Fourteenth Amendment rights through its customary

   practice, which was done pursuant to El Paso County policy, of subjecting her to continuous cross-

   gender pat-down searches. Id., ¶¶ 89-96.

                  4.3.4 Defendants El Paso County, Ford, O’Neal, Noe, Gillespie, and Elder
                        violated Ms. Griffith’s rights under the United States and Colorado
                        Constitutions by failing to protect her from assault.

          Prison officials have a duty to “take reasonable measures to guarantee the safety of the

   inmates.” Farmer, 511 U.S. at 832. More to the point, they “have a duty to protect prisoners from

   violence at the hands of other prisoners.” Farmer, 511 U.S. at 833. “A prison official violates the

   [Constitution] ‘when a substantial risk of serious harm, of which the official is subjectively aware,

   exists[,] the official does not respond reasonably to the risk,’” and the official’s actions or inaction

   causes the injury. Id. The prison official must be both aware of the risk and draw the

   inference. Farmer, 511 U.S. at 837. The Supreme Court in Farmer held that circumstantial

   evidence and the obviousness of the substantial risk of harm, not just actual notification, may be

   used to establish subjective awareness. 511 U.S. at 842-44. Further, allegations suggesting the

   substantial risk was “long-standing, pervasive, [or] well-documented” and the defendants “had


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   been exposed to information concerning the risk and thus must have known about it ... could be

   sufficient ... to find that [the defendants] had actual knowledge of the risk.” Id. at 842-43 (internal

   quotation marks and citation omitted).

           When analyzing subjective awareness, courts have considered the obviousness of the risk

   to inmate safety, the defendant’s knowledge about the vulnerability of certain types of inmates to

   risk of harm, prison policies pertaining to such inmates, and their housing placements. See Greene

   v. Bowles, 361 F.3d 290, 294 (6th Cir. 2004); Taylor v. Mich. Dep’t of Corr., 69 F.3d 76, 81-82

   (6th Cir. 1995).7 Placing Ms. Griffith, a blind, transgender woman, into a general population male

   ward was nearly per se deliberately indifferent to a risk that she would be assaulted by male

   inmates. See Diamond v. Owens, 131 F. Supp. 3d 1346, 1376-79 (M.D. Ga. 2015) (holding that a

   non-violent, transgender female inmate, faced a substantial risk of sexual assault at closed-security

   facilities because the risk was obvious and that guards are obviously aware from PREA that

   transgender inmates face a substantial vulnerability to sexual assault).

           Farmer itself provides strong and binding authority that Defendants violated Ms. Griffith’s

   rights by not protecting her from male inmates. In Farmer, a transgender inmate, allegedly known

   to be vulnerable to sexual assault, complained prison officials were deliberately indifferent to a

   substantial risk of sexual assault by placing her in general population at a “higher security facility”

   known for its violent environment and history of assaults. Farmer, 511 U.S. at 825. The Supreme

   Court emphasized the constitutional right of prisoners to be reasonably protected from the


   7 See also Green v. Hooks, 2013 U.S. Dist. LEXIS 124806, 2013 WL 4647493, at *2-*3 (S.D.

   Ga.); Shaw, 944 F. Supp. 2d at 59-60 (“Plaintiff ... points ... to [reports, regulations, and
   professional guidelines] ... to provide factual grounding to support the inference that the risk to
   transgender detainees was obvious, well-documented, and known to [d]efendants.” (internal
   quotation marks and citation omitted)); Newsome v. Higham, 2010 U.S. Dist. LEXIS 29521, 2010
   WL 1258013, at *3-*4 (M.D. Ga.); Farmer v. Carlson, 685 F. Supp. 1335, 1342 (M.D. Penn.
   1988) (“Clearly, placing plaintiff, a twenty-one year old transsexual, into the general population at
   ... a [high-]security institution, could pose a significant threat to internal security in general and to
   plaintiff in particular.”).

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   violence of other inmates. Id. at 833 (“[G]ratuitously allowing the beating or rape of one prisoner

   by another serves no ‘legitimate penological objectiv[e].’” (citation omitted)). The Supreme Court

   ultimately held that “a prison official may be held liable... if he knows that inmates face a

   substantial risk of serious harm and disregards that risk by failing to take reasonable measures to

   abate it.” Id. at 847. Here, Defendants were aware that Ms. Griffith is a transgender female, knew

   she is blind, and knew, because of these two things, that she placing her into an all-male unit

   would make her particularly vulnerable to sexual assault. [Doc. #124], ¶¶ 47-50. They also knew

   that incarceration standards dictated that transgender women are vulnerable to sexual assault when

   placed in all-male units. Id., ¶¶ 42-43, 45-46. Still, Defendant El Paso County took no action to

   move her to a female unit. This violated Ms. Griffith’s rights. See Diamond, 131 F. Supp. 3d at

   1379-80.

           Finally, Defendants Ford, O’Neal, Noe, Gillespie, and Elder are not entitled to qualified

   immunity based on the caselaw and well-established legal principles outlined above.

           4.4 Plaintiff adequately alleges that Defendants El Paso County, Elder, Gilespie,
               Mustapick, and Elliss subjected her to unlawful searches under the Fourth
               Amendment.

           Whether a particular search is constitutional is judged by “balancing of the need for the

   particular search against the invasion of personal rights that the search entails.” Bell, 441 U.S. at

   559. Courts make this determination by balancing four non-exclusive factors. Id.; see also Harris

   v. Miller, 818 F.3d 49, 58 (2d Cir. 2016). Those factors are: “[1] the scope of the particular

   intrusion, [2] the manner in which it is conducted, [3] the justification for initiating it, and [4] the

   place in which it is conducted.” Id.

           Defendant Mustapick’s visual body-cavity of Ms. Griffith, which included an inspection of

   her anal and genital areas, violated her constitutional rights. [Doc. #124], ¶¶ 71-83; see Maricopa

   Cnty. Sheriff’s Dep’t, 629 F.3d at 1142 (holding that a cross-gender strip search was unreasonable


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   as a matter of law where there was no emergency). A strip-search, let alone a visual body-cavity

   search, is “one of the clearest forms of degradation in Western Society” and the indignity imposed

   by strip searches is multiplied when one’s body is “viewed by a member of the opposite gender.”

   Canedy v. Boardman, 16 F.3d 183, 185 (7th Cir. 1994); Chapman v. Nichols, 989 F.2d 393, 395

   (10th Cir.1993) (“[A] strip search is an invasion of personal rights of the first magnitude.”). Courts

   have held that blanket policies subjecting all newly-arrested detainees in a local correctional

   facility to visual body cavity searches, even when performed by guard who is a member of the

   same gender as the detainee, are unconstitutional. See Shain v. Ellison, 273 F.3d 56, 64-65 (2d Cir.

   2001); Wachtler v. County of Herkimer, 35 F.3d 77, 82 (2d Cir. 1994). In order for a visual body

   cavity search to be found reasonable under the circumstances, there must be some “‘particularized

   suspicion,’ arising either from the nature of the charge or specific circumstances relating to the

   arrestee and/or the arrest,” that the arrestee is concealing weapons or other contraband. Weber v.

   Dell, 804 F.2d 796, 802 (2d Cir. 1986) (citing United States v. Montoya De Hernandez, 473 U.S.

   531, 540 (1985)); Murcia v. County of Orange, 226 F. Supp. 2d 489, 494 (S.D.N.Y. 2002).

          First, “regardless of who performs the search, a visual body cavity search, such as the one

   conducted here, is invasive.” Harris, 818 F.3d at 58. A search “that involves a stranger peering

   without consent at a naked individual, and in particular at the most private portions of that

   person’s body, is a serious invasion of privacy.” Florence v. Bd. of Chosen Freeholders, 566 U.S.

   318 (2012) (Breyer, J., dissenting).8




   8 See also Canedy, 16 F.3d at 185 (“[O]ne of the clearest forms of degradation in Western Society

   is to strip a person of his clothes. The right to be free from strip searches and degrading body
   inspections is thus basic to the concept of privacy.” (quoting 3 George B. Trubow, ed., Privacy
   Law and Practice, ¶ 25.02[1] (1991))); Cookish v. Powell, 945 F.2d 441, 446 (1st Cir. 1991) (“[A]
   ‘severe if not gross interference with a person’s privacy [] occurs when guards conduct a visual
   inspection of body cavities.”).


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          Second, “while all forced observations or inspections of the naked body implicate a

   privacy concern, it is generally considered a greater invasion to have one’s naked body viewed by

   a member of the opposite sex.” Canedy, 16 F.3d at 185; see also Byrd v. Maricopa Cty. Sheriff’s

   Dep’t, 629 F.3d 1135, 1141 (9th Cir. 2011). For this reason, “[c]ourts throughout the country have

   universally frowned upon cross-gender strip searches in the absence of an emergency or exigent

   circumstances.” Byrd, 629 F.3d at 1143.9 “Indeed, best-practice standards in prison management

   typically discourage cross-gender strip searches.” Harris, 818 F.3d at 59. For example, the 2009

   National Prison Rape Elimination Commission Report “determined that[,] ‘[t]o prevent abuse, . . .

   the [Commission’s recommended] standard on this subject strictly prohibits non-medical staff

   from conducting cross-gender strip and visual body cavity searches—except in the case of an

   emergency—because of their extraordinarily intrusive nature.’” Byrd, 629 F.3d at 1142 (quoting

   the Commission Report at 63). Likewise, the American Correctional Association’s recommended

   standard for cross-gender strip searches “provide[s] that, except in emergency situations, visual

   inspections of inmate body cavities are conducted by officers of the same sex, in private.”

   Id. (quoting Standards for Adult Correctional Institutions § 4-4194 (2003)).

          Third, a visual body-cavity search conducted in an unprofessional manner is

   unreasonable. See Byrd, 629 F.3d at 1143 (“[W]e have consistently recognized the ‘frightening

   and humiliating invasion’ occasioned by a strip search, ‘even when conducted with all due

   courtesy.’” (quoting Way v. Cty. of Ventura, 445 F.3d 1157, 1160 (9th Cir. 2006))). As the

   Supreme Court stated in Bell: “[O]n occasion a security guard may conduct the search in an



   9 See also Lee v. Downs, 641 F.2d 1117, 1119 (4th Cir. 1981) (“Most people, however, have a

   special sense of privacy in their genitals, and involuntary exposure of them in the presence of
   people of the other sex may be especially demeaning and humiliating. When not reasonably
   necessary, that sort of degradation is not to be visited upon those confined in our prisons.”);
   Fortner v. Thomas, 983 F.2d 1024, 1030 (11th Cir. 1993) (citing Lee and “join[ing] other circuits
   in recognizing a prisoner’s constitutional right to bodily privacy”).

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   abusive fashion. Such abuse cannot be condoned. The searches must be conducted in a reasonable

   manner.” Bell, 441 U.S. at 560 (citations omitted). Here, the visual body-cavity search was

   conducted in a disgusting and degrading manner by a male guard who made clear his prurient

   gratification, despite the ready availability of female officers to do the search. See, e.g., Lee, 641

   F.2d at 1120 (“[I]t was wholly unnecessary for the male guards to remain in the room and to

   restrain the plaintiff while her underclothing was forcefully removed.”).

          Fourth, there was no justification for subjecting Ms. Griffith to a cross-gender visual body-

   cavity search. See, e.g., Byrd, 629 F.3d at 1137 n.2, 1142, 1143; Hayes, 70 F.3d at 1148.

          Fifth, the fact that the visual body-cavity search was conducted outside of the presence of

   other individuals makes it less reasonable because there was more chance for abuse. See Byrd, 629

   F.3d at 1143. Indeed, Defendant Mustapick predictably seized this opportunity to sexually degrade

   Ms. Griffith for his own prurient gratification.

          The Tenth Circuit, in an analogous case, held that a cross-gender strip-search, less

   egregious than the one performed by Defendant Mustapick, violated an inmate’s right to be free

   from unreasonable searches and seizures. In Hayes v. Marriott, the male plaintiff alleged that a

   video-taped strip search conducted in the presence of female corrections officers violated his

   constitutional rights under the Fourth Amendment. 70 F.3d 1144, 1145 (10th Cir. 1995). Despite

   an affidavit from a prison official attesting that no females actively participated in the strip search

   and expressing staffing considerations, the Tenth Circuit reversed the grant of summary judgment

   in favor of the prison officials. Id. at 1147-48. In doing so, the Tenth Circuit explicitly recognized

   that an inmate’s privacy rights may be violated by a single cross-gender strip-search. Id. at 1147.

   And, in another case, the Tenth Circuit held that an officer who forced a female inmate to expose

   her breasts to a female deputy in order to pump her breast milk, without any penological

   justification, violated her right to be free from unreasonable searches. Shroff v. Spellman, 604 F.3d


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   1179, 1191 (10th Cir. 2010). Importantly, the Tenth Circuit defined the right of the plaintiff that

   was violated as the “personal right not to be required to expose her breasts before another person.”

   Id.

           Ultimately, the caselaw is clear that “cross-gender strip searches” let alone cross-gender

   visual body-cavity searches, “in the absence of an emergency violate an inmate’s right under the

   Fourth Amendment to be free from unreasonable searches.” Byrd, 629 F.3d at 1144-47; Cookish,

   945 F.2d at 442; Moore v. Carwell, 168 F.3d 234, 235 (5th Cir. 1999); Shaw, 944 F. Supp. 2d at

   56-57. Therefore, Ms. Griffith has adequately alleged that Defendants violated her rights and that

   they are not entitled to qualified immunity.

           4.5 Defendants El Paso County, Elder, Gilespie, Mustapick, and Elliss violated Ms.
               Griffith’s rights under the Fourteenth Amendment by unconstitutionally invading
               her right to privacy and bodily integrity.

           “Visual body cavity searches are invasive and degrading, occasioning a serious invasion of

   privacy and working a significant harm to a person’s bodily integrity.” Sloley v. Vanbramer, 945

   F.3d 30, 38 (2d Cir. 2019); Vazquez, 949 F.3d at 1165 (alteration in original) (quoting Hydrick v.

   Hunter, 500 F.3d 978, 1000 (9th Cir. 2007) (“[T]he Fourteenth Amendment protects a sphere of

   privacy, and the most ‘basic subject of privacy . . . the naked body.’”); Shroff, 604 F.3d at 1191

   (“In a civilized society, one’s anatomy is draped with constitutional protections.”).

           “[A]ll forced observations or inspections of the naked body implicate a privacy concern.”

   Canedy, 16 F.3d at 185. To state the obvious, visual body-cavity searches are even more intrusive

   as they “require an arrestee not only to strip naked in front of a stranger, but also to expose the

   most private areas of her body to others. This is often, as here, done while the person arrested is

   required to assume degrading and humiliating positions.” Swain v. Spinney, 117 F.3d 1, 6 (1st Cir.

   1997). The freedom from such “degrading body inspections is . . . basic to the concept of

   privacy.” Canedy, 16 F.3d at 185 (internal quotation marks omitted); Byrd, 845 F.3d at 922-24


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   (noting that the right to bodily privacy may be violated if, for example, the viewing of an inmate’s

   naked body while showering and/or using the toilet is “frequent[]” and “up close” or “neither

   obscured nor distant”).

          Moreover, “any reasonable adult in our society would understand that the involuntary

   exposure of an adult’s nude body is a significant imposition on the victim. And law-enforcement

   officers in this circuit have been taught this lesson repeatedly.” Colbruno, 928 F.3d at 1163-65.10

   Several other circuits have recognized that officials can violate the Eighth Amendment (which

   imposes a higher burden than the Fourteenth Amendment) by forcing inmates to expose their

   naked bodies for the purpose of humiliation. See Calhoun, 319 F.3d at 939; Kent, 821 F.2d at

   1227-28; Lee, 641 F.2d at 1119. When considering Defendant Mustapick’s sexually degrading

   statements and gesture, in combination with his position of power over Ms. Griffith and the

   humiliating position that he had Ms. Griffith in when he made the statements, it is clear that he

   violated her right to privacy and bodily integrity. See Vazquez, 949 F.3d at 1162; Fontana v.

   Haskin, 262 F.3d 871, 881-82 n.6. (9th Cir. 2001). According to this authority, Defendants Elder,

   Gilespie, Mustapick, and Elliss all violated Ms. Griffith’s clearly established rights.

          4.6 Defendant Elliss failed to intervene to prevent the violation of Ms. Griffith’s
              Fourth and Fourteenth Amendment rights.




   10 In Cumbey v. Meachum, 684 F.2d 712 (10th Cir. 1982), the Tenth Circuit reversed the dismissal

   of a prisoner’s complaint that his constitutional rights had been violated because female prison
   guards “are assigned to posts where they observe[d] him dressing and undressing and using the
   toilet and the shower,” holding that “[a]lthough the inmates’ right to privacy must yield to the
   penal institution’s need to maintain security, it does not vanish altogether.” Id. at 713-14. More
   recently, the Tenth Circuit stated that “exposing a person’s naked body involuntarily is a severe
   invasion of personal privacy” in a case where it held that parading a naked inmate through a
   hospital violated his clearly established right to privacy and bodily integrity under the Fourteenth
   Amendment. Colbruno, 928 F.3d at 1163-65; see also Hill v. Bogans, 735 F.2d 391 (10th Cir.
   1984) (holding that the Denver jail had violated a detainee’s constitutional rights by requiring him
   to expose his naked body in a public area of the jail in front of “ten to twelve people [] milling
   about.”).

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           As alleged, Defendant Elliss failed to intervene to prevent the violation of Ms. Griffith’s

   Constitutional rights. [Doc. #124], ¶¶ 71-83. “[A]ll law enforcement officials have an affirmative

   duty to intervene to protect the constitutional rights of citizens from infringement by other law

   enforcement officers in their presence.” Vondrak v. City of Las Cruces, 535 F.3d 1198, 1210 (10th

   Cir. 2008). For failure to intervene liability to attach, a plaintiff must simply establish that

   “officers have knowledge of a constitutional violation,” Jones v. Norton, 809 F.3d 564 (10th Cir.

   2015), and “a realistic opportunity to intervene to prevent the harm from occurring.” Vondrak, 535

   F.3d at 1210. The Tenth Circuit has repeatedly found an officer to possess knowledge where there

   was indeed an underlying constitutional violation, and where the officer was “on the scene[,]”

   Casey v. City of Federal Heights, 509 F.3d 1278, 1283 (10th Cir. 2017), or “present for the

   [violation].” Fogarty v. Gallegos, 523 F.3d 1147, 1164 (10th Cir. 2008). Here, as alleged,

   Defendant Elliss was present for the violation and explicitly allowed it to occur. [Doc. #124], ¶¶

   74-77. Ms. Griffith begged Defendant Elliss to let a woman search her. Id. Defendant Elliss

   refused and actively chose to leave and allow Defendant Mustapick to search Ms. Griffith

   unsupervised. Id. Under a failure to intervene theory, Ms. Griffith has adequately alleged that

   Defendant Elliss violated her Constitutional rights.

           Finally, it is clearly established that officers who are present for constitutional violations

   by other officers, and do nothing to intervene, violate the Constitution. Vondrak, 535 F.3d at 1210

   (an officer is liable if the officer had observed or had reason to know “that any constitutional

   violation has been committed by a law enforcement official.”); Fogarty v. Gallegos, 523 F.3d

   1147, 1164 (10th Cir. 2008). Defendant Elliss’ violation was “obvious” and “particularly clear[.]”

   Casey, 509 F.3d at 1283. And, the Tenth Circuit has time and again held that when officials are on

   the scene and fail to intervene, regardless of the constitutional violation occurring, they are liable

   under clearly established law. See Reid v. Wren, 57 F.3d 1081, at *2 (10th Cir. 1995); Walton v.


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   Gomez (In re Estate of Booker), 745 F.3d 405, 422 n.25 (10th Cir. 2014); see also Anderson v.

   Branen, 17 F.3d 552, 557 (2d Cir. 1994).

          4.7 Plaintiff adequately alleges municipal liability against El Paso County.

                  4.7.1 El Paso County maintained a facially unconstitutional policies relating to
                        the treatment of transgender inmates.

          Where an official policy or practice is unconstitutional on its face, it necessarily follows

   that a policymaker was not only aware of the specific policy, but was also aware that a

   constitutional violation was most likely to occur. See Burge v. St. Tammany Parish, 336 F.3d 363,

   370 (5th Cir. 2003); Craig v. Floyd County, 643 F.3d 1306, 1310 (11th Cir. 2011); Heaney v.

   Costigan, Civil Action No. 09-cv-01006-MSK-BNB, 2012 U.S. Dist. LEXIS 55655, at *3 (D.

   Colo. Apr. 20, 2012). Where a plaintiff claims that a particular municipal action itself violates

   federal law, or directs an employee to do so, resolving issues of fault and causation is

   straightforward. Bd. of the Cty. Comm’rs v. Brown, 520 U.S. 397, 404 (1997). The conclusion that

   the action taken or directed by the municipality itself, or its authorized decisionmaker, violates

   federal law will also determine that the municipal action was the moving force behind the injury of

   which the plaintiff complains. Id. If a plaintiff is able to demonstrate that a municipality

   promulgated a policy that was unconstitutional on its face, she does not also need to prove that

   the policy was promulgated with knowing disregard for its consequences — knowledge is

   presumed. Cf. Burge, 336 F.3d at 370.

          Under this framework, Ms. Griffith need not prove deliberate indifference to establish

   municipal liability. Although a pattern of unconstitutional action is generally required to prove

   municipal liability, “a constitutional violation may be such a ‘known and obvious’ or ‘highly

   predictable consequence’ of an ongoing course of action that knowledge of past violations is

   unnecessary.” Hernandez v. Borough of Palisades Park Police Dep’t, 58 F. App’x 909, 913 (3d

   Cir. 2003) (citing Berg v. County of Allegheny, 219 F.3d 261, 276 (3d Cir. 2000)); Brown, 520

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   U.S. at 409.

           As alleged, El Paso County’s policies, on their face, violate the Constitution and caused the

   violation of Ms. Griffith’s constitutional rights. First, Ms. Griffith was housed in an all-male unit

   based specifically on El Paso County policy. [Doc. #124], ¶¶ 54, 57, 58, 66. Second, per El Paso

   County policy, Ms. Griffith was subjected to a cross-gender visual body cavity search. Id., ¶ 74.

   Third, Ms. Griffith was subjected to continuous cross-gender pat down searches without any

   exigency or other penological basis pursuant to El Paso County policy. Id., ¶ 94. Fourth, Ms.

   Griffith was denied access to gender-affirming clothing because of the official policies of El Paso

   County. Id., ¶ 118. Because the violations of Ms. Griffith’s rights were due to unconstitutional

   official policies, El Paso County’s knowledge “necessarily follows[,]” Hobart v. City of Stafford,

   No. 4:09-CV-3332, 2015 U.S. Dist. LEXIS 47953, at *37-39 (S.D. Tex. Apr. 13, 2015)[,] and

   dismissing Ms. Griffith’s claims against El Paso County is inappropriate.

                   4.7.2 El Paso County officials customarily violated Ms. Griffith’s rights over
                         the course of a year and a half.

           To establish municipal liability, a plaintiff must show (1) the existence of a municipal

   custom, (2) that the defendant enacted or maintained the custom with the requisite state of mind,

   and (3) that the custom is the moving force behind the injury alleged. Bryson v. City of Oklahoma

   City, 627 F.3d 784, 788 (10th Cir. 2010). Municipal liability is cognizable where there is “an

   informal custom amounting to a widespread practice that, although not authorized by written law

   or express municipal policy, is so permanent and well settled as to constitute a custom or usage

   with the force of law.” Id. State of mind and causation are “satisfied when the municipality has

   actual or constructive notice that its action or failure to act is substantially certain to result in a

   constitutional violation, and it consciously or deliberately chooses to disregard the risk of harm.”

   Barney v. Pulsipher, 143 F.3d 1299, 1307 (10th Cir. 1998).



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          Courts in this District have held that a plaintiff pleads existence of a continuing, persistent,

   and widespread practice of unconstitutional conduct through allegations demonstrating “multiple

   harms that occurred to the plaintiff himself” especially when those harms “occurred in the open”

   and involved “multiple officials[.]” Arakji v. Hess, No. 15-cv-00681-CMA, 2015 U.S. Dist.

   LEXIS 161600, at *16-17 (D. Colo. Dec. 2, 2015) (quoting Taylor, 2011 U.S. Dist. LEXIS 97985,

   at *3). Other authority holds that the repeated violation of an inmate’s constitutional rights over

   the course of their incarceration demonstrates Monell liability. See Crowson v. Wash. Cty. State of

   Utah, 983 F.3d 1166, 1191 (10th Cir. 2020); Cady v. Cumberland Cty. Jail, No. 2:10-cv-00512-

   NT, 2013 U.S. Dist. LEXIS 109195, *112 (D. Me. Mar. 22, 2013); Jacoby v. DuPage Cty. Ill., No.

   12 CV 6539, 2013 U.S. Dist. LEXIS 89934, at *9 (N.D. Ill. June 26, 2013); Rykard v. City of

   Dothan, No. l:10-cv-868-MHT [wo], 2011 U.S. Dist. LEXIS 101135, at *9 (M.D. Ala. Aug. 9,

   2011); see also Smith v. Corr. Corp. of Am., Inc., 674 F. Supp. 2d 201, 206 (D.D.C. 2009).

          This is not a case where a decision by a single employee (or even a few employees) caused

   a single violation of Ms. Griffith’s constitutional rights. This is a case where at least a half dozen

   El Paso County officials (and medical contractors), over the course of a year and a half, made

   repeated decisions to: (1) house Ms. Griffith in a facility that did not correspond with her gender

   identity despite her many requests to be moved to an all-women facility, [Doc. #124], ¶¶ 47-66;

   (2) continuously subject her to cross-gender pat-down searches without any exigency or

   penological justification, Id., ¶¶ 89-93; (3) constantly mis-gender her, Id., ¶¶ 97-105; and (4) deny

   her access to gender-affirming clothing items simply because she is a transgender woman. Id., ¶¶

   110-118. It is unfathomable that every El Paso County official that interacted with Ms. Griffith

   chose the same course of action over the entirety of Mr. Griffith’s incarceration absent their

   decisions being guided by El Paso County’s customs and practices. Because of the many separate

   wrongful actions (and inactions) committed by El Paso County officials, the events underlying the


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   Defendants’ violations of Ms. Griffith’s rights alone is sufficient evidence of a pattern to hold it

   liable under Monell. Crowson v. Wash. Cty. State of Utah, 983 F.3d at 1191.

                  4.7.3 Defendant Elder’s decisions, as a final policymaker for El Paso County,
                        subject the County to Monell liability.

          Defendant Elder “is a final policymaker with regard to [the El Paso County] jail, such that

   his actions ‘may fairly be said to be those of the municipality.’” Lopez, 172 F.3d at 763

   (quoting Brown, 520 U.S. at 404); see also Layton v. Bd. of Cty. Comm’rs, 512 F. App’x 861, 870-

   72 (10th Cir. 2013). A decision by municipal policymakers on a single occasion can satisfy the

   “official policy” requirement of Monell. Pembaur v. City of Cincinnati, 475 U.S. 469 (1986).

   Where action is directed by a “final policymaker,” the municipality is equally responsible whether

   that action is taken only once or repeatedly. Id. at 484-85.

          Here, Defendant Elder possesses final policymaking authority in the operation of the El

   Paso County and his decisions regarding the Jail’s treatment of transgender individuals, in and of

   themselves, are the decisions of El Paso County. “[F]inal policymaking authority is a legal issue to

   be determined by the court based on local and state law.” Randle v. City of Aurora, 69 F.3d 441,

   447 (10th Cir. 1995). Colorado law explicitly grants that Defendant Elder, as the elected Sheriff of

   El Paso County, “shall have charge and custody of the jails of the county, and of the prisoners in

   the jails, and shall supervise them himself or herself or through a deputy or jailer.” C.R.S. § 30-10-

   511. Defendant Elder’s authority as to the operation of the El Paso County Jail is unlimited and

   unchecked.11 In accordance with the undeniable fact that sheriffs have complete authority over the

   operation of their county jail, courts have consistently found that Colorado sheriffs are final

   policymakers when it comes to the operation of jails. E.g. Cortese v. Black, 838 F. Supp. 485, 495-

   96 (D. Colo. 1993) (holding that Larimer County Sheriff was a “final policymaker”); Carrillo v.



   11 See, e.g., C.R.S. §§ 30-10-503, 504, 506 and 522.



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   Suthers, 2014 U.S. Dist. LEXIS 184359, *32 (D. Colo. December 29, 2014) (noting that “a sheriff

   is typically the final policymaker for matters concerning the operations of a county jail”). And, as

   alleged, the circumstances of Defendant Elder’s authority make clear that he is a final policymaker

   for the El Paso County Jail’s treatment of transgender individuals. [Doc. #124], ¶ 14. Because

   Defendant Elder is not “meaningfully constrained by policies not of that official’s own making,”

   Defendant’s decisions are “final -- i.e., are [not] subject to any meaningful review,” and the

   decision in how to treat transgender individuals is “within the realm of [his] grant of authority” at

   state law. Randle, 69 F.3d at 448. For these reasons, the decisions alleged to have been made by

   Defendant Elder are attributable to El Paso County and implicate its liability for the violation of

   Ms. Griffith’s constitutional rights. [Doc. #124], ¶ 42 (make facility assignments to people in

   custody solely on the basis of the individual’s genitalia); Id., ¶¶ 54, 57, 106 (policy of housing Ms.

   Griffith in an all-male unit and condoning discriminatory and harassing treatment of transgender

   prisoners); Id., ¶ 118 (denial of gender appropriate undergarments and lipstick); Id., ¶ 160

   (allowing male deputies to search transgender women without any supervision).

          4.8 Plaintiff adequately alleges claims under the Enhance Law Enforcement Integrity
              act.

                  4.8.1 The Enhance Law Enforcement Integrity Act authorizes a claim against
                        Defendants in their official capacities.

          The Enhance Law Enforcement Integrity Act establishes a cause of action against any

   “peace officer . . . who, acting under color of state law, subjects or causes to be subjected . . . any

   other person to the deprivation of any individual rights that create binding obligations on

   government actors secured by the bill of rights, section II of the state constitution.” The statutory

   definitions further provide that “peace officer” means “any person employed by a political

   subdivision of the state required to be certified by the P.O.S.T. board,” including “sheriffs.” C.R.S.

   §§ 24-31-901(3), 16- 2.5-102 (emphasis added). Thus, the statutory language on its face


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   establishes a cause of action against sheriffs whose actions result in deprivations of constitutional

   rights. Section 13-21-131’s use of the phrase “peace officer” distinguishes it from its federal

   counterpart under 42 U.S.C. § 1983, which establishes a cause of action against “any person”

   whose conduct causes a deprivation of federal constitutional rights. The Supreme Court has

   interpreted “person” to include municipal corporations. See Monell, 436 U.S. at 690-95. Thus, in

   Section 1983 cases, plaintiffs may bring suit for deprivations of constitutional rights directly

   against municipalities.

           Defendants misapprehend the import of this distinction. First, Defendants’ argument that

   the Enhance Law Enforcement Integrity Act does not authorize claims against peace officers in

   their official capacity would render meaningless one of the key remedial schemes of Section 13-

   21-131. Cf. State, Dep’t of Revenue, Motor Vehicle Div. v. Borquez, 751 P.2d 639, 643 (Colo.

   1988) (en banc) (“Rules of statutory construction require that in the interpretation of a statute, the

   legislature will be presumed to have inserted every part for a purpose, and to have intended that

   every part of a statute should be carried into effect.”). C.R.S. § 13-21-131(1) provides that peace

   officers may be “liable to the injured party for legal or equitable relief or any other appropriate

   relief.” The statute further provides that “in actions for injunctive relief, a court shall deem a

   plaintiff to have prevailed if the plaintiff’s suit was a substantial factor or significant catalyst in

   obtaining the results sought by the litigation.” C.R.S. § 13-21-131(3). Without the ability to bring

   official capacity suits, these provisions of the statute that allow for injunctive relief and discuss

   “results sought by the litigation” would be rendered mere surplusage. For example, an official

   capacity suit may seek a change in a municipality’s training which would be beyond the control of

   an individual officer. Although a sheriff may temporarily have the authority in their individual

   capacity to implement such a change, if that sheriff dies or leaves office, the claim would not




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   survive. Only by suing the sheriff, and his deputies, in his official capacity could such equitable

   relief be obtained. Cf. Kentucky v. Graham, 473 U.S. 159, 166, n. 11(1985).

          Second, reading the Enhance Law Enforcement Integrity Act to preclude official capacity

   suits against peace officers would contravene the Act’s broad statutory purpose and scheme. The

   Enhance Law Enforcement Integrity Act is significantly broader than the provisions contained

   within C.R.S. §13-21-131, which involves only the private civil cause of action. During opening

   remarks when the Act was first presented, its co-prime sponsor summarized the bill as follows:

      Senate Bill 217 promotes accountability and integrity in law enforcement in a few ways. It
      mandates the use of body cameras, reigns in the use of deadly force by officers including
      outlawing chokeholds as methods of apprehension, prevents the rehiring of officers who
      are found guilty . . . of violent or unlawful behavior; requires public reporting on the use of
      force in the field; revokes qualified immunity for law enforcement which has served as a
      shield for many of them from accountability and has significantly denied families justice.
      Members, the time is now for accountability, transparency, and integrity within our law
      enforcement.

   Hearing on S.B. 20-217 Before the Sen. Comm. on State, Veterans, & Military Affairs, Jun. 4,

   2020, 2020 Leg. (statement of Sen. Leroy Garcia), at 5:39-6:33. Additionally, the Enhance Law

   Enforcement Integrity Act is significantly broader than its federal counterpart, Section 1983. In

   particular, the Enhance Law Enforcement Integrity Act provides that “[s]tatutory immunities and

   statutory limitations on liability, damages, or attorney fees do not apply,” that “[t]he ‘Colorado

   Governmental Immunity Act’ . . . does not apply,” and that “[q]ualified immunity is not a defense

   to liability.” C.R.S. § 13-21-131(2)(a)-(b). By any measure, the Enhance Law Enforcement

   Integrity Act was a sweeping reform intended to apply broadly to actions involving police

   misconduct. Defendants ask this Court to rule that civil actions against officers in their official

   capacities—the only type of action that would allow litigants to bring claims seeking to prove a

   causal connection between departmental policies and deprivations of constitutional rights—should

   be precluded as a matter of law. Such a ruling would directly contravene the legislature’s intent to



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   promote “accountability, transparency, and integrity.” As such, this court should rule that official

   capacity suits are cognizable under C.R.S. § 13-21-131.

                  4.8.2 Plaintiff has alleged sufficient facts to plausibly state a claim against
                        Defendants Elder and Gillespie in their individual capacities.

          Contrary to Defendants’ argument, the Enhance Law Enforcement Integrity Act’s plain

   language creates liability against any peace officer, including “sheriffs” and “deputy sheriffs,”

   C.R.S. § 16-2.5-102, who meet the statutory criteria for liability. Under the explicit terms of the

   statute, any “peace officer… employed by a local government”—whether in a supervisory role or

   otherwise—is liable under the Enhance Law Enforcement Integrity Act if she, under color of law,

   “subjects or causes to be subjected…any other person to the deprivation of any individual rights

   that create binding obligations on government actors secured by the bill of rights, article II of the

   state constitution.” C.R.S. § 13-21-131(1).

          When interpreting a statute, a court’s “primary purpose is to give effect to the General

   Assembly’s intent.” Ray v. People, 2019 COA 24, ¶ 13. Courts “endeavor to effectuate the

   purpose of the legislative scheme, reading that scheme as a whole, giving consistent effect to all of

   its parts, and avoiding constructions that would render any words or phrases superfluous or would

   lead to illogical or absurd results.” Butler v. Bd. of Cty. Comm’rs, 2021 COA 32, ¶ 9. To

   determine the legislative purpose of a statute, courts “focus first on the language of the statute,”

   giving “the statutory words and phrases their plain and ordinary meanings.” Id. “As the supreme

   court has instructed, ‘[i]f the statutory language is clear and unambiguous, [a court will] apply it as

   written—venturing no further.’” Ray, ¶ 13 (citation omitted).

          The Enhance Law Enforcement Integrity Act clearly imposes liability on sheriffs and other

   supervisory peace officers like Defendants Elder and Gillespie, who, under the color of law,

   violate or cause a violation of an individual’s rights that are secured by Colorado’s Bill of Rights.

   The statute explicitly defines “peace officer” by reference to “section 24-31-901(3).” Section 24-

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   31-901(3)’s definition of peace officer includes “any person employed by a political subdivision

   of the state required to be certified by the P.O.S.T. board pursuant to section 16-2.5-102” and

   Section 16-2.5-102, in turn, includes in its definition sheriffs and deputy sheriffs. Thus, the

   statutory scheme explicitly and unambiguously contemplates liability against a sheriff and deputy

   sheriff like Defendants Elder and Gillespie.12

          Regardless what substantive elements the legislature intended that a plaintiff would need to

   prove to establish liability under the statute, the plain language clearly contemplates sheriffs and

   deputy sheriffs as potential defendants. Whether any given sheriff or deputy sheriff is in fact liable

   for a particular incident will depend on the facts of the specific case at issue, but the statute’s reach

   clearly will extend to impose liability on a sheriff or deputy sheriff if she “subject[ed] or cause[ed]

   to be subjected…[the plaintiff] to the deprivation of any individual rights…secured by

   [Colorado’s] bill of rights,.” C.R.S. § 13-21-131(1). For the reasons below, Plaintiff plausibly

   pleaded that Defendants Elder and Gillespie caused her to be subjected to such a violation, and the

   ultimate causation determination, a factual question, is for the jury to make.

          Further, the Enhance Law Enforcement Integrity Act was intended to be much broader

   than its federal counterpart, which has been severely judicially narrowed by many federal courts

   over the past several decades. Statutes such as Colorado’s, which give vitality to state

   constitutional protections, provide rights independent of potentially similar rights arising from the

   federal constitution. “[U]nless expressly adopted by a state legislature authorizing civil actions to




   12 Claims against sheriffs like Elder an Gillespie were specifically contemplated in the drafting of

   the Law Enforcement Integrity Act. See, e.g. Leslie Herod, et al., Colorado took a revolutionary
   step to reform policing. Here's how we did it. USA Today (Oct. 28, 2021),
   https://www.usatoday.com/story/opinion/2021/10/28/colorado-hold-cops-accountable-qualified-
   immunity/6101915001/.


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   redress violation of state constitutions, the intent of the 1871 federal legislature that enacted

   Section 1983 is irrelevant to the construction of [a] state civil rights act.” Gary S. Gildin,

   Redressing Deprivations of Rights Secured by State Constitutions Outside the Shadow of the

   Supreme Court’s Constitutional Remedies Jurisprudence, 115 Penn St. L. Rev. 877, 904 (2011).

          Additionally, the Enhance Law Enforcement Integrity Act is silent on whether it imposes a

   heightened standard of liability on claims against individuals like sheriffs and deputy sheriffs. In

   the face of such silence, interpretation turns to “other aids to statutory construction, such as the

   consequences of a given construction, the end to be achieved by the statute, and the statute’s

   legislative history.” Butler, ¶ 10. The Act was passed amid state and nationwide protests,

   including massive marches and demonstrations outside the state capitol in Denver, in response to

   the murder of George Floyd by Minneapolis police.13 The legislation implemented “[f]ar-reaching

   reforms to Colorado policing.”14 “The law contained a raft of changes that reformers have long

   sought, but the most significant provision is one that no state ha[d] successfully passed before, and

   the change that cops fear most: Police officers can now be sued, they can no longer claim

   ‘qualified immunity’ from civil damages if they knowingly violate the law on the job, and they

   could personally be on the hook for up to $25,000 in penalties stemming from a lawsuit.”15 The

   Act explicitly provides that “[s]tatutory immunities and statutory limitations on liability, damages,

   or attorney fees do not apply to claims brought pursuant to this section [13-12-131]”; the

   “‘Colorado Governmental Immunity Act’ [CGIA] …does not apply to claims brought pursuant to

   this section”; and “[q]ualified immunity is not a defense to liability.” C.R.S. § 13-21-131(2).


   13 See, e.g., Russell Berman, The State Where Protests Have Already Forced Major Police

   Reform, THE ATLANTIC (July 17, 2020), https://www.theatlantic.com/politics/archive/2020/07/
   police-reform-law-colorado/614269/.
   14 Saja Hindi, Here’s what Colorado’s police reform bill does, THE DENVER POST (June 13, 2020),

   https://www.denverpost.com/2020/06/13/colorado-police-accountability-reform-bill/.
   15 Berman, https://www.theatlantic.com/politics/archive/2020/07/police-reform-law-

   colorado/614269.

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   Further, “if [a] peace officer’s employer determines that the officer did not act upon a good faith

   and reasonable belief that the action was lawful, then the peace officer is personally liable and

   shall not be indemnified by the peace officer’s employer for five percent of the judgment or

   settlement or twenty-five thousand dollars, whichever is less.” C.R.S. § 13-21-131(4). Based on

   the context in which it was enacted, its stated purpose to hold peace officers accountable for their

   unlawful conduct and increase law enforcement integrity, its explicit elimination of federally

   developed qualified immunity, CGIA immunity, and other limitations on liability, and its

   requirement that individual peace officers are personally financially liable for their violations,

   legislators indisputably intended that Section 13-21-131 be far more broad-reaching than federal

   law under Section 1983.

          Moreover, the Enhance Law Enforcement Integrity Act’s elimination of qualified

   immunity, a federal judicially created doctrine that serves to greatly restrict liability under Section

   1983, is in itself a powerful rejection by the Colorado legislature of federal limitations on civil

   accountability for peace officers. Qualified immunity is not found in the Constitution or federal

   statute but rather was created by the Supreme Court; the doctrine “operates like absolute

   immunity” by “protect[ing] law enforcement officers from having to face any consequences for

   wrongdoing.” Jamison v. McClendon, 476 F. Supp. 3d 386, 391, 404 (S.D. Miss. 2020). Qualified

   immunity “serve[s] as a shield” and “protect[s] [officers] from accountability,” rendering section

   1983 almost toothless in the face of “thousands [who] have died at the hands of law enforcement

   over the years,…the death toll continu[ing] to rise,” and the “[c]ountless more [who] have suffered

   from other forms of abuse and misconduct by police.” Id. at 392. As Fifth Circuit Judge Willett

   points out while urging reconsideration of qualified immunity’s application, “it’s curious how this

   entrenched, judge-created doctrine excuses constitutional violations by limiting the statute

   Congress passed to redress constitutional violations.” Zadeh v. Robinson, 928 F.3d 457, 480-81


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   (5th Cir. 2019) (Willett, J., concurring in part and dissenting in part). Colorado legislators

   purposefully enacted the Enhance Law Enforcement Integrity Act, and the broader statutory

   scheme in which it sits,16 against this backdrop of increasing judicial and scholarly criticism of

   qualified immunity and other judicially created restrictions on the federal civil rights remedy.

   Consciously aware of the shortcomings of Section 1983 now that federal courts have severely

   blunted its reach, state legislators deliberately intended for the Enhance Law Enforcement

   Integrity Act to broaden peace officer liability beyond that imposed by Section 1983 in order to

   increase accountability and hopefully reduce police misconduct.

           The federal “supervisory liability” standards that Defendants urge are nowhere to be found

   in the statute. Because the application of such standards would contravene and undermine the

   Act’s purpose to expand liability for peace officers who violate the law, this Court should reject

   Defendants’ attempt to interpose federal standards into Colorado’s ambitious police reform

   legislative scheme. Instead, this Court should apply familiar principles of tort liability in

   determining whether Ms. Griffith plausibly pleaded that Defendants Elder and Gillespie caused

   Ms. Griffith to be subject to a violation of her state constitutional rights.

           The Enhance Law Enforcement Integrity Act creates a state cause of action in tort.

   Moreover, the substantive rights of the Enhance Law Enforcement Integrity Act are defined by

   reference to Colorado Constitution’s Bill of Rights, which “serve[] to protect the rights of

   individuals when infringed upon by governmental action.” People v. Vigil, 127 P.3d 916, 938

   (Colo. 2006). Accordingly, rather than adopting complex and contrived supervisory liability

   standards from judicially created federal law on Section 1983, this Court need look no further than

   these two areas of Colorado law to determine Defendants’ liability under Colorado’s Enhance Law


   16 For example, the Act also provides that officers convicted of or found liable of using excessive

   force, or failing to intervene therein, will lose their peace officer certification, with no opportunity
   to become recertified. See C.R.S. § 24-31-904.

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   Enforcement Integrity Act.

           “Under traditional tort principles, the plaintiff must show that the defendant’s conduct

   ‘proximately caused’ the claimed injury.” Lorenzen v. Pinnacol Assurance, 2019 COA 54, ¶ 23

   (citation omitted). “Proximate cause has two components: causation in fact and legal causation.”

   Id. at ¶ 24. “Legal causation…refers to the scope or foreseeability of liability.” Id. “As to

   causation in fact, the test is whether, but for the alleged [tortious conduct], the harm would not

   have occurred,” or alternatively, whether “the defendant’s conduct was a necessary component of

   a causal set that would have caused the injury.” Id. at ¶ 25 (citation omitted). Regarding causation

   in fact, black letter tort law provides that “[i]f more than one act or failure to act contributed to the

   claimed injury, then each act or failure to act may have been a cause of the injury.” CJI-Civ 9:20.

   “A cause does not have to be the only cause or the last or nearest cause. It is enough if the act or

   failure to act joins in a natural and probable way with some other act or failure to act to cause

   some or all of the claimed injury.” Id.

           Therefore, to state a plausible claim against Defendants Elder and Gillespie, Ms. Griffith

   need only plead sufficient facts to allow the reasonable inference that assuming the truth of all

   factual allegations, the supervised Defendants’ unlawful treatment of Ms. Griffith would not have

   occurred but for Defendant Elder’s and Gillespie’s conduct, and Ms. Griffith’s unlawful treatment

   “was a foreseeable risk” of Defendant Elder’s and Gillespie’s policies. Danko v. Conyers, 2018

   COA 14, ¶ 39. These standards of causation are consistent with and dictated by section 13-12-

   131(1), which provides that liability is established if the plaintiff proves that a peace officer “under

   color of law, subjects or causes to be subjected,… any other person” to a violation of Colorado’s

   Bill of Rights. (Emphasis added.)

           The Complaint and the reasonable inferences therefrom plausibly assert that Defendants

   Elder and Gillespie were on notice that the jail’s policies were contrary to well-established


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   national standards for the treatment of transgender individuals, 40-46, and that Defendants Elder

   and Gillespie put policies into place that violated these standards and the Constitutional rights of

   transgender individuals like Ms. Griffith. [Doc. #124], ¶¶ 42, 54, 57, 106, 114, 117, 118. Further,

   the Complaint alleges that Defendant Gillespie was specifically aware of the discriminatory

   treatment inflicted on Ms. Griffith and did nothing to stop the violation of her Constitutional

   rights. Id., ¶¶ 57, 114, 117. Accordingly, the Complaint plausibly pleads a claim for relief against

   Defendants Elder and Gillespie.

                   4.8.3 Defendants O’Neal, Noe, and Ford are “peace officers.”

           Defendants O’Neal, Noe, and Ford are sheriff’s deputies for El Paso County. [Doc. #124],

   ¶¶ 16, 19, 20. The Enhance Law Enforcement Integrity Act states that “peace officer, as defined in

   section 24-31-901 (3), who, under color of law, subjects or causes to be subjected, including

   failing to intervene, any other person to the deprivation of any individual rights that create binding

   obligations on government actors secured by the bill of rights, article II of the state constitution, is

   liable to the injured party for legal or equitable relief or any other appropriate relief.” C.R.S. § 13-

   21-131(1). C.R.S. § 24-31-901(3) defines a peace officer as “any person employed by a political

   subdivision of the state required to be certified by the P.O.S.T. board pursuant to section 16-2.5-

   102, a Colorado state patrol officer as described in section 16-2.5-114, and any noncertified

   deputy sheriff as described in section 16-2.5-103(2).” Finally, C.R.S. § 16-2.5-102 states that

   P.O.S.T. certified “peace officers” include deputy sheriffs and C.R.S. § 16-2.5-103(2) states that

   “[a] noncertified deputy sheriff or detention officer is a peace officer employed by a county or city

   and county whose authority is limited to the duties assigned by and while working under the

   direction of the chief of police, sheriff, an official who has the duties of a sheriff in a city and

   county, or chief executive of the employing law enforcement agency.” Conspicuously absent from

   the law are any limitations for peace officers for their constitutional violations while performing


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   administrative work. Clearly, as pled and under the plain language of the relevant statutes,

   Defendants O’Neal, Noe, and Ford are “peace officers” subject to suit under the Enhance Law

   Enforcement Integrity Act.

          4.9 Plaintiff states multiple claims for the violation of her rights under the Colorado
              Constitution.17

          Generally, the Colorado Supreme Court has “determined that the Colorado Constitution

   provides more protection for our citizens than do similarly or identically worded provisions of the

   United States Constitution.” People v. Young, 814 P.2d 834, 842 (Colo. 1991).18 The Colorado

   Supreme Court has repeatedly recognized “that the Colorado Constitution, written to address the

   concerns of our own citizens and tailored to our unique regional location, is a source of protection

   for individual rights that is independent of and supplemental to the protections provided by the

   United States Constitution.” Id. As outlined below, Defendants violated Ms. Griffith’s Colorado

   Constitutional rights.

                  4.9.1 Defendants Elder, Gillespie, O’Neal, Mustapick, Elliss, Noe, and Ford
                        violated Ms. Griffith’s rights under the Colorado Constitution’s Equal
                        Rights Amendment.

          Defendants’ decision to disregard Ms. Griffith’s gender identity, and instead treat her as a

   male inmate, violates the Colorado Constitution’s Equal Rights Amendment (“ERA”). In

   Colorado, classifications based solely on sex are prohibited. Colo. Const. Art. II, Section 29. “This

   amendment prohibits unequal treatment based exclusively on the circumstance of sex, social

   stereotypes connected with gender, and culturally induced dissimilarities.” People v. Salinas, 551

   P.2d 703, 705 (Colo. 1976). Importantly, the Colorado ERA requires that any “classifications


   17 Should this Court elect to import the federal standards, and apply them to Ms. Griffith’s state

   law claims, those claims are adequately pled as outlined above.
   18 See, e.g., Bock v. Westminster Mall Co., 819 P.2d 55, 59-60 (Colo. 1991); People v. Oates, 698

   P.2d 811 (Colo. 1985); People v. Sporleder, 666 P.2d 135 (Colo. 1983); Charnes v.
   DiGiacomo, 612 P.2d 1117 (Colo. 1980); People v. Paulsen, 601 P.2d 634 (Colo. 1979); People
   ex rel. Juhan v. Dist. Court for Cty. of Jefferson, 439 P.2d 741 (Colo. 1968).

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   based exclusively on sexual status receive the closest judicial scrutiny.” People v. Green, 183

   Colo. 25, 514 P.2d 769 (1973).

           While there is little jurisprudence in Colorado on the ERA and its application in the prison

   context, looking at an analogue situation in federal law is instructive. When the government

   discriminates on the basis of race in prisoner placement, the Fourteenth Amendment (like the

   ERA) requires strict scrutiny. See Johnson v. California, 543 U.S. 499, 512 (2005); Lee v.

   Washington, 390 U.S. 333, 333 (1968). And, in applying strict scrutiny, the Supreme Court has

   explicitly stated that under strict scrutiny analysis, “[t]he purpose of the narrow tailoring

   requirement is to ensure that ‘the means chosen ‘fit’ th[e] compelling goal so closely that there is

   little or no possibility that the motive for the classification was illegitimate racial prejudice or

   stereotype.’” Grutter v. Bollinger, 539 U.S. 306 (2003) (quoting Richmond v. J.A. Croson Co.,

   488 U.S. 469, 493 (1989)). While “necessities of prison security and discipline are a compelling

   government interest” they only justify “those uses of race [or, in this case, gender] that are

   narrowly tailored to address those necessities.” Johnson, 543 U.S. at 512 (cleaned up). And,

   ultimately, the burden is squarely on the government to establish both that its interest is

   compelling and that its means are narrowly tailored. Grutter, 539 U.S. at 306.

           What does strict srutiny mean in practice? Well, Justice Scalia posited that “only a social

   emergency rising to the level of imminent danger to life and limb--for example, a prison race riot,

   requiring temporary segregation of inmates--can justify an exception to the principle embodied in

   the Fourteenth Amendment that ‘[o]ur Constitution is color-blind, and neither knows nor tolerates

   classes among citizens[.]’” J. A. Croson Co., 488 U.S. at 521 (Scalia, J., concurring in judgment)

   (emphasis added) (quoting Plessy v. Ferguson, 163 U.S. 537, 559 (1896) (Harlan, J., dissenting)).

   As alleged, Defendants cannot meet their burden of showing that their decision to place Ms.

   Griffith in an all-male unit was narrowly tailored to a compelling government interest. And, it is


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   absolutely clear that Ms. Griffith was not temporarily housed in an all-male unit because of an

   immediate threat of violence. At least under Justice Scalia’s conception of strict scrutiny, Ms.

   Griffith’s automatic placement in an all-male unit based on her status as a transgender, rather than

   cisgender, woman, and the corresponding treatment to which she was subjected by County

   officials because of it, was not narrowly tailored to a compelling government interest. Therefore,

   Ms. Griffith has adequately alleged a claim under the ERA.

                  4.9.2 Defendants Elder, Gillespie, Mustapick, and Elliss violated Ms. Griffith’s
                        rights under Colo. Const. Art. II, Section 25 by subjecting her to
                        unreasonable searches19 and by invading her right to privacy and bodily
                        integrity.

          This Court should apply a standard consistent with Colorado tort law in assessing Ms.

   Griffith’s claim that Defendants unreasonably searched her and invaded her right to privacy and

   bodily integrity under the Colorado Constitution. The elements of such a negligence standard are

   that Defendants owed Ms. Griffith a constitutional duty to be free from unreasonable searches, that

   they violated their duty, that they were the cause of the violation of that duty, and that Ms. Griffith

   suffered damages. See Davenport v. Cmty. Corr. of the Pikes Peak Region, 942 P.2d 1301, 1303

   (Colo. App. 1997). First, as alleged, Defendants owed Ms. Griffith a constitutional duty given that

   she was a ward of the El Paso County Jail and they were peace officers within the meaning of the

   Enhance Law Enforcement Integrity Act. See Cisneros v. Elder, 2022 CO 13M (Colo. 2022).

   Because Defendants, who were Ms. Griffith’s jailers, had a special relationship with her, they had

   a duty to protect her from harm. See Leake v. Cain, 720 P.2d 152, 159 (Colo. 1986); Restatement

   (Second) of Torts § 315 (1965). And, the Colorado Constitution’s Due Process Clause protects

   substantive rights. See Coal. for Equal Rights, Inc. v. Owens, 458 F. Supp. 2d 1251, 1263 (D.



   19 Should this Court find that Ms. Griffith’s unreasonable search claims are better characterized

   under Colo. Const. Art. II, Section 7, Plaintiff requests that her claims be dismissed without
   prejudice with leave to amend.

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   Colo. 2006). Second, Defendant Mustapick breached that duty through his unreasonable search,

   Defendant Elliss breached that duty through her failure to intervene to prevent Defendant

   Mustapick’s unreasonable search, and Defendants Elder and Gillespie violated their duty by

   implementing policies that required Defendant Mustapick engage in an unreasonable search of

   Ms. Griffith. Third and fourth, Defendants’ actions caused the unreasonable search and Ms.

   Griffith to suffer damages. For these reasons, Ms. Griffith has alleged a claim under the Colorado

   Constitution’s Art. II, Section 25.

                  4.9.3 Defendants violated Ms. Griffith’s rights under Colo. Const. Art. II,
                        Section 20 by subjecting her to cruel and unusual punishment.

          This Court should also apply a standard consistent with Colorado tort law in assessing Ms.

   Griffith’s claim that Defendants subjected her to cruel and unusual punishment under the Colorado

   Constitution. That same elements outlined above apply. See Davenport, 942 P.2d at 1303. First, as

   alleged, Defendants owed Ms. Griffith a Constitutional duty given that she was a ward of the El

   Paso County Jail and they were peace officers within the meaning of the Enhance Law

   Enforcement Integrity Act. See Cisneros v. Elder, 2022 CO 13M (Colo. 2022). Under Colo. Const.

   Art. II, Section 20, Defendants had a legal duty to not subject her to cruel and unusual punishment.

   This includes, necessarily, that they could not place her in negligently harm’s way resulting in her

   assault by another inmate, 20 subject her to near-constant sexual harassment, require her to undergo

   repeated cross-gender pat-down searches, or force her to endure a cross-gender visual body-cavity

   searches that included grossly inappropriate sexual harassment. Because Defendants, who were



   20 A basic proposition of tort law is that the amount of care demanded by the standard of

   reasonable conduct must be in proportion to the risk; the greater the danger, the higher is the
   degree of caution which the person owing the duty must exercise. See W. Page Keeton et al.,
   Prosser and Keeton on the Law of Torts 34, at 208-09 (5th ed. 1984); Bayer v. Crested Butte Mt.
   Resort, 960 P.2d 70, 72 (Colo. 1998). Clearly, Defendants failed to exercise the requisite care
   when they placed Ms. Griffith in an all-male unit given the standards outlining the extreme risk
   she would face in such a setting. [Doc. #124], 40-46.

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   Ms. Griffith’s jailers, had a special relationship with her, they had a duty to protect her from harm.

   See Leake v. Cain, 720 P.2d 152, 159 (Colo. 1986); Restatement (Second) of Torts § 315 (1965).

   All of these actions by Defendants caused the violation of Ms. Griffith’s rights under the

   Constitution’s Colo. Const. Art. II, Section 20.

           4.10 Plaintiff adequately alleges a violation of her rights under the Americans with
                Disabilities Act (“ADA”) and Rehabilitation act of 1973 (Rehab Act”).

           The ADA was crafted to “provide a clear and comprehensive national mandate for the

   elimination of discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1). To

   state a claim, a plaintiff must show “(1) that he is a qualified individual with a disability; (2) that

   he was either excluded from participation in or denied the benefits of some public entity’s

   services, programs, or activities, or was otherwise discriminated against; and (3) that such

   an exclusion, denial of benefits, or discrimination was by reason of his disability.” Parker v.

   Universidad de Puerto Rico, 225 F.3d 1, 5 (1st Cir. 2000). The Rehab Act provides that “[n]o

   otherwise qualified individual with a disability . . . shall, solely by reason of his or her disability,

   be excluded from participation in, be denied the benefits of, or be subjected to discrimination

   under any program or activity receiving Federal financial assistance . . . .” 29 U.S.C. § 794(a).

                   4.10.1 Plaintiff adequately alleges that she is a person with a disability.

           The definition of “disability” in both statutes is virtually identical. See 42 U.S.C. §

   12101(b)(1) (ADA) (defining disability as “a physical or mental impairment that substantially

   limits one or more major life activities.”); 29 U.S.C. § 705(9) (Rehabilitation Act) (defining

   a disability as “a physical or mental impairment that constitutes or results in a substantial

   impediment to employment”). In light of the twinned definitions, courts routinely apply the same

   legal analysis in interpreting claims under both statutes. See Nunes v. Massachusetts Dep’t of

   Corr., 766 F.3d 136, 144 (1st Cir. 2014) (noting that the court “need make no distinction between

   the two statutes for purposes of our analysis”).

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          Ms. Griffith extensively outlines that she suffers from Gender Dysphoria and that

   Defendants were aware of Ms. Griffith’s diagnosis. [Doc. #124], ¶¶ 25-32. The DSM-5 recognizes

   Gender Dysphoria as a mental disability that requires medical treatment, Id., ¶ 22, and an

   impairment that substantially limits a number of Ms. Griffith’s major life activities. Id., ¶¶33-38.

   Multiple courts have held that Gender Dysphoria is covered under the Americans with Disabilities

   Act because Gender Dysphoria is a disability that substantially limits a transgender person’s

   endocrine and reproductive systems, and results from a physical impairment. See Doe v. Mass.

   Dep't of Corr., No. 17-12255-RGS, 2018 U.S. Dist. LEXIS 99925, at *12-14 (D. Mass. June 14,

   2018); Tay, 2020 U.S. Dist. LEXIS 76911, 2020 WL 2100761, at *3; Shorter v. Barr, 2020 U.S.

   Dist. LEXIS 71453, 2020 WL 1942785, at *9 (N.D. Fla. Mar. 13, 2020), report and

   recommendation adopted, 2020 U.S. Dist. LEXIS 70773, 2020 WL 1942300 (Apr. 22, 2020); Doe

   v. Pa. Dep’t of Corr., No. 1:20-cv-00023-SPB-RAL, 2021 U.S. Dist. LEXIS 31970, at *26 (W.D.

   Pa. Feb. 19, 2021). Thus, as alleged and under the relevant legal authority, Ms. Griffith is a person

   with a disability for purposes of the ADA and Rehab Act.

                  4.10.2 Plaintiff adequately alleges that she was discriminated against because
                         of her disability.

          Defendants denied Ms. Griffith the services, programs, and activities of the El Paso

   County Jail as this provision “has been interpreted to be a catchall phrase that prohibits all

   discrimination by a public entity.” Noel v. N.Y.C. Taxi & Limousine Comm’n, 687 F.3d 63, 68 (2d

   Cir. 2012) (internal quotation marks and citation omitted); see also Hason v. Med. Bd. of

   California, 279 F.3d 1167, 1172-1173 (9th Cir. 2002) (“[T]he ADA’s broad language brings

   within its scope anything a public entity does.”). When a correctional institution assigns a

   transgender woman “to a men’s prison by virtue of her gender assignment at birth and denie[s]

   access to facilities and programs that would correspond with her gender identification” it violates

   the ADA. Doe, 2018 U.S. Dist. LEXIS 99925, at *22. Assigning a transgender inmate to a unit

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   based on biological sex “injects them into a prison environment that is contrary to a critical aspect

   of their prescribed treatment (that they be allowed to live as, in [Ms. Griffith]’s case, a woman).

   Id., at *23. And, because Ms. Griffith “has adequately stated a claim under the ADA, it follows

   that her Rehabilitation Act claim is equally viable.” Id. For these reasons, Ms. Griffith has

   adequately alleged claims under the ADA and Rehab Act.

                  4.10.3 Even after Cummings, the Rehab Act and ADA provide for emotional
                         distress and other types of damages.

          It is important to note that Cummings v. Premier Rehab Keller, P.L.L.C., is a plurality

   opinion as the five justices did not agree on a single rationale, or the same or similar grounds, for

   their holding, making it non-binding. 142 S. Ct. 1562 (2022); see Marks v. United States, 430 U.S.

   188, 193-94 (1977). But, even if this Court considers Cummings as controlling precedent, it does

   not apply to this case for a number of reasons.

          First, Cummings does not address claims under the ADA. Therefore, Ms. Griffith’s ADA

   claims are unaffected by Cummings.

          Second, the Cummings court relied on a contract law analysis to limit the damages

   available under the Rehab Act. Under contract law, “the rights of the parties must necessarily be

   determined by the law as it was when the contract was made.” Town of Koshkonong v. Burton,

   104 U.S. 668, 679 (1881). At the time Ms. Griffith was injured, it was well-settled that emotional

   anguish damages may be claimed and be reimbursed pursuant to the ADA and Rehab Act. See

   e.g., Delano-Pyle v. Vict. County, 302 F.3d 567 (5th Cir. 2002) cert denied 2003 LEXIS 5495

   (Oct. 6, 2003). There is nothing in Cummings that states it is retroactive and, therefore, emotional

   distress damages are available to Ms. Griffith based on principles of contract law.

          Third, even if this Court were to conclude that emotional-distress damages are unavailable

   under the Rehab Act and ADA, Plaintiff is entitled to other forms of compensatory damages. A

   Defendant is subject to those remedies otherwise available for a breach of contract. Cummings,

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   142 S. Ct. at 1571. Contract damages are ordinarily based upon the injured party’s expectation

   interest and are intended to give that person the benefit of her bargain by awarding her a sum of

   money that will, to the extent possible, put her in as good a position as she would have been, had

   the contract been performed. Restatement (Second) of Contracts §347 cmt. A (Am. L. Inst. 1981).

   Here, when Ms. Griffith was at the El Paso County Jail, she surely had an expectation she would

   be treated the same as her non-disabled peers and not less so because of her disability. Recently, in

   a post-Cummings decision, a district court confirmed the availability of such damages to make the

   subject of unlawful discrimination whole. Montgomery v. District of Columbia, 2022 U.S. Dist.

   LEXIS 9228 at *74, 76-77 (D.D.C., May 23, 2022). Similarly, Ms. Griffith would be entitled to

   compensatory damages for dignitary harm because she, and every other inmate, would have

   entered the El Paso County Jail under the assumption they would be treated with dignity and

   respect. See Camarillo v. Carrols Corp., 518 F.3d 153, 158 (2nd Cir. 2008). And, even if the

   Court were to conclude that no form of compensatory damages is available under federal law, Ms.

   Griffith is still entitled to nominal damages. Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021)

   (noting that “every violation of a right imports damage”).

                  4.10.4 Plaintiff adequately alleges that Defendants intentionally discriminated
                         against her and is entitled to recover compensatory damages.

          Intentional discrimination does not require discriminatory animus but rather may be

   “inferred from a defendant’s deliberate indifference to the strong likelihood that pursuit of its

   questioned policies will likely result in a violation of federally protected rights.” Powers v. MJB

   Acquisition Corp., 184 F.3d 1147, 1153 (10th Cir. 1999). There is a two-pronged test for this

   standard: knowledge that a harm to a federally protected right is substantially likely; and a failure

   to act upon that likelihood. Havens v. Colorado Dep’t of Corr., 897 F.3d 1250, 1264 (10th Cir.

   2018). Generally, courts have held that there exists a sufficient evidentiary basis for a factfinder to

   determine that intentional discrimination occurred under § 504 and/or Title II when the defendant

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   deliberately made no good faith effort to reasonably accommodate a plaintiff’s known disability,

   thereby subjecting the plaintiff to disability discrimination. 21

           Here, Ms. Griffith has adequately alleged that El Paso County – directly and through its

   agents – had knowledge that a harm to her federally protected rights was substantially likely, and

   failed to act upon that likelihood. See Havens, 897 F.3d at 1264. When Ms. Griffith first entered

   El Paso County Jail, she was an openly transgender woman with a feminine appearance and

   during her intake screening, she notified El Paso County Jail and its healthcare personnel that she

   was a transgender woman with a diagnosis of Gender Dysphoria. [Doc. #124], ¶¶ 47-48. Ms.

   Griffith repeatedly and explicitly requested placement in a women’s facility as an accommodation

   for her known disability. Id., ¶¶ 48-70. One of El Paso County’s officials even did an ADA review

   of Ms. Griffith’s housing classification. See Havens, 897 F.3d at 1266 (“[A] factfinder may

   conclude that a prison official knew of a substantial risk from the very fact that the risk was

   obvious.”) (internal citations omitted). Ms. Griffith’s classification and placement in an all-male

   facility was by no means an inadvertent mistake either. It was done intentionally and for one

   reason: her disability. This subjects Defendants to compensatory damages.

   5. Conclusion

           For the foregoing reasons, Plaintiff respectfully requests that this Court deny Defendants’

   motion in its entirety.


   21 See Updike v. Multnomah Cty., 870 F.3d 939, 954 (9th Cir. 2017); Duvall v. Cty. of Kitsap, 260

   F.3d 1124, 1140 (9th Cir. 2001); Bartlett v. N.Y. State Bd. of Law Exam’rs, 156 F.3d 321, 330-31
   (2d Cir. 1998); Center v. City of West Carrollton, 227 F. Supp. 2d 863, 868, 872 (S.D. Ohio
   2002); see also Robertson v. Las Animas Cty. Sheriff's Dep't, 500 F.3d 1185 (10th Cir. 2007);
   Randolph v. Rodgers, 170 F.3d 850, 858 (8th Cir. 1999); Paulone v. City of Frederick, 787 F.
   Supp. 2d 360, 397 (D. Md. 2011); Armstrong v. Schwarzenegger, 622 F.3d 1058 (9th Cir. 2010);
   see also Barber v. Colorado, 562 F.3d 1222, 1229 (10th Cir. 2009) (“a public entity does not ‘act’
   by proffering just any accommodation”); Proctor v. Prince George’s Hosp. Ctr., 32 F. Supp. 2d
   820, 829 (D. Md. 1998) (“in cases where a public accommodation is on notice that its failure to
   provide an accommodation may violate the Rehabilitation Act and intentionally opts to provide a
   lesser accommodation, compensatory damages are available.”).

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         Dated this 8th day of August 2022.

                                                   KILLMER, LANE & NEWMAN, LLP

                                                   s/ Andy McNulty
                                                   ________________________
                                                   Andy McNulty
                                                   Mari Newman
                                                   1543 Champa St., Ste. 400
                                                   Denver, CO 80202
                                                   Phone: (303) 571-1000
                                                   Fax: (303) 571-1001
                                                   amcnulty@kln-law.com
                                                   mnewman@kln-law.com

                                                   ATTORNEYS FOR PLAINTIFF




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 8, 2022, I electronically filed the foregoing RESPONSE TO
   DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT PURSUANT
   TO FED. R. CIV. P. 12(b)(1) AND (6) with the Clerk of the Court using the CM/ECF system,
   which will send notification of such filing to the following:

   Nathan J. Whitney
   Terry Sample
   Chris Strider
   County Attorney’s Office
   El Paso County
   nathanwhitney@elpasoco.com
   terrysample@elpasoco.com
   chrisstrider@elpasoco.com

   Counsel for Defendants

                                              s/ Andy McNulty




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-00387-NRN

   DARLENE GRIFFITH

   Plaintiff,

   v.

   EL PASO COUNTY, COLORADO, et al.

   Defendants.


        DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS THIRD
         AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(1) and (6)


           Defendants El Paso County (“El Paso County”), Bill Elder (“Elder”), Cy Gillespie

   (“Gillespie”), Dawne Elliss (“Elliss”), Andrew Mustapick (“Mustapick”), Elizabeth O’Neal

   (“O’Neal”), Brande Ford (“Ford”), and Tiffany Noe (“Noe”) (collectively the “Defendants”),

   through the Office of the County Attorney of El Paso County, Colorado, submit their Reply

   in Support of their Motion to Dismiss Plaintiff’s Third Amended Complaint (Doc. 124, the

   “Complaint”) under Fed. R. Civ. P. 12(b)(1) and (6) as follows:

                                       I.     INTRODUCTION1

           The law surrounding the housing and treatment of transgender individuals,

   including those diagnosed with Gender Dysphoria, in correctional institutions is

   exceedingly murky. Plaintiff’s claims fail in the absence of clarity because (i) the rights



   1 The defined terms used in this Reply have the same meaning as the defined terms used

   in the Motion to Dismiss.



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   alleged by Plaintiff do not exist, (ii) there is no clearly established law that would deprive

   the Individual Defendants of qualified immunity, and (iii) Defendants did not act with

   deliberate indifference. Plaintiff’s claims asserted under the Act also fail because Plaintiff

   seeks to bend the Act’s plain language beyond its breaking point. See, e.g., Ditirro v.

   Sando, 2022 WL 3452486, at * 5 (Colo. App. Aug. 18, 2022). For these reasons and the

   others set forth in the Motion to Dismiss, the Court must dismiss the Complaint in its

   entirety.

                                           II.    ARGUMENT

      A. THE COURT HAS NO JURISDICTION OVER THE CLAIMS ASSERTED
         AGAINST EL PASO COUNTY; BUT EVEN IF THE COURT HAS JURISDICTION,
         PLAINTIFF HAS FAILED TO STATE A PLAUSIBLE CLAIM AGAINST EL PASO
         COUNTY

           The Response provides no argument explaining how this Court can exercise

   jurisdiction over El Paso County when it has not been properly named in the Complaint

   as required by C.R.S. § 30-11-105. See Calahan v. Jefferson Cnty., 429 P.2d 301, 302

   (Colo. 1967). Further, even if this Court can exercise jurisdiction over El Paso County,

   the Response fails to explain how the Complaint states a plausible claim against it given

   that,

           [u]nder Colorado law, the county sheriff is a separate and distinct position
           from the board of county commissioners. [T]he Board [of County
           Commissioners] does not exercise managerial control over either the sheriff
           or the detention center and its staff. The Board of Commissioners is granted
           certain enumerated powers which do not include management of county
           jails.

   Mullen v. Comm’rs for Adams Cnty., 2022 WL 1266618, at * 5 (D. Colo. Apr. 28, 2022)

   (Recommendation of (then) Magistrate Wang) (internal quotations and citations omitted).


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   Consequently, the Court must dismiss all claims asserted against El Paso County

   pursuant to Fed. R. Civ. P. 12(b)(1) or (5).

      B. PLAINTIFF HAS FAILED TO STATE A PLAUSIBLE VIOLATION OF THE
         FOURTH AND FOURTEENTH AMENDMENTS

          i.     No Equal Protection Violation

          Plaintiff asserts an equal protection claim under the Fourteenth Amendment

   arguing that the Court should apply strict scrutiny to CJC’s decisions regarding Plaintiff’s

   housing classification and access to feminine products. Response, p. 7-8. The Court

   should reject Plaintiff’s argument because, if it does not, every decision a correctional

   institution makes with respect to a transgender inmate will be subject to the highest level

   of scrutiny. This would run counter to the Supreme Court’s warning in Bell v. Wolfish that

   the courts should stay out of the day-to-day management of correctional institutions. 441

   U.S. 520, 547 (1979) (“[T]he problems that arise in the day-to-day operation of a

   corrections facility are not susceptible of easy solutions. Prison administrators therefore

   should be accorded wide-ranging deference in the adoption and execution of policies and

   practices that in their judgment are needed to preserve internal order and discipline and

   to maintain institutional security.”). Moreover, the Tenth Circuit has already ruled that

   transgender status is not a suspect or quasi-suspect class. Brown v. Zavaras, 63 F.3d

   967, 971 (10th Cir. 1985); Druley v. Paxton, 601 F. App’x 632, 635-36 (10th Cir. 2015)

   (unpublished); Qz’Etax v. Ortiz, 170 F. App’x 551, 553 (10th Cir. 2006) (unpublished).

   Plaintiff’s Equal Protection claim consequently fails because she does not assert that

   CJC’s decisions lacked a rational basis (i.e., were not related to her biological sex).



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          Furthermore, Plaintiff has failed to show that she is similarly situated to biological

   females detained in CJC because she is not “alike in all relevant aspects,” Grissom v.

   Roberts, 902 F.3d 1162, 1173 (10th Cir. 2018), in that she has not undergone gender

   reassignment surgery. See, e.g., Shaw v. Dist. of Columbia, 944 F.Supp.2d 43 (Dist.

   D.C. May 13, 2013) (treating the plaintiff, a transgender woman, the same as a biological

   female because she underwent gender reassignment surgery and had her sex legally

   changed to female).

          In the Response, Plaintiff expands her Equal Protection claim to include the

   alleged sexual harassment she was subject to in CJC. Response, p. 14-15. But this

   claim does not appear anywhere in her Complaint. See Doc. 124, ¶¶ 123-138. Plaintiff

   cannot amend her Complaint in response to a dispositive motion. See San Agustin, Jr.

   v. El Paso County, 2019 WL 4059167, * 10 (D. Colo. Aug. 28, 2019) (citing Fed. R. Civ.

   P. 15). Accordingly, the Court must dismiss Plaintiff’s Equal Protection claim pursuant to

   Fed. R. Civ. P. 12(b)(6).

          ii.    No Other Violation of the Fourteenth Amendment

          In the Response, Plaintiff claims that Defendants should be held liable for the

   “near-constant” harassment she was allegedly subjected to in CJC. Response, p. 16.

   Yet Plaintiff fails to explain how any Defendant contributed to the “near-constant”

   harassment.    Response, p. 16.     Plaintiff has, therefore, failed to establish personal

   participation of any Defendant as required by Robbins v. Oklahoma, 519 F.3d 1242, 1249-

   50 (10th Cir. 2008).




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          The Response goes on to assert unconstitutional conditions of confinement based

   on Mustapick’s visual body cavity search of Plaintiff. Response, p. 17. Plaintiff’s assertion

   fails because Mustapick’s alleged comments do not rise to the level of a constitutional

   violation. Barney v. Pulsipher, 143 F.3d 1299, 1310 n.11 (10th Cir. 1998) (“Although

   plaintiffs allege [defendant] subjected them to severe verbal sexual harassment and

   intimidation, these acts of verbal harassment alone are not sufficient to state a claim under

   the Eighth Amendment.”); Adkins v. Rodriguez, 59 F.3d 1034, 1037-38 (10th Cir. 1995)

   (verbal sexual harassment did not amount to Eighth Amendment violation).

          The Response also asserts unconstitutional conditions of confinement based upon

   repeated cross-gender pat-down searches. Response, p. 18-19. But again, Plaintiff does

   not identify who conducted the pat-down searches or state when many of these pat-down

   searches occurred. (See Doc. 124, ¶ 89-96). Plaintiff’s imprecise allegations fail to state

   a constitutional claim. Robbins, 519 F.3d at 1250.

          The Response next asserts a failure to protect claim. Response, pp. 19-21. Yet

   again, Plaintiff fails to explain how the Complaint’s allegations establish the personal

   participation of each Defendant. See id. Instead, the Response, like the Complaint,

   “use[s] either the collective term ‘Defendants’ or a list of the defendants named

   individually but with no distinction as to what acts are attributable to whom, [making it]

   impossible for any of these individuals to ascertain what particular unconstitutional acts

   they are alleged to have committed.” Id.

          Finally, the Response alleges a failure to intervene claim against Ellis. Id. pp. 26-

   28. As Plaintiff acknowledges, however, a failure to intervene claim cannot succeed


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   unless the officer has knowledge of a constitutional violation. Id. p. 27, quoting Jones v.

   Norton, 809 F.3d 564, 576 (10th Cir. 2015). No constitutional violation occurred, however,

   because Mustapick’s alleged comments during his visual search of Plaintiff do not rise to

   the level of a constitutional violation. See Barney, 143 F.3d at 1310 n.11; Adkins, 59 F.3d

   at 1037-38. Without an underlying constitutional violation, Plaintiff’s failure to intervene

   claim fails. See Jones, 809 F.3d at 576 (citing Harper v. Albert, 400 F.3d 1052, 1064 (7th

   Cir. 2005)). In sum, for the reasons set forth herein and in the Motion to Dismiss, the

   Court must dismiss Plaintiff’s Fourteenth Amendment Claims pursuant to Fed. R. Civ. P.

   12(b)(6).

          iii.   No Fourth Amendment Violation

          Contrary to Plaintiff’s arguments, the Complaint does not state a plausible Fourth

   Amendment violation. In Bell, the Supreme Court discussed the factors that must be

   considered in assessing the reasonableness of prisoner searches:

          The test of reasonableness under the Fourth Amendment is not capable of
          precise definition or mechanical application. In each case it requires a
          balancing of the need for the particular search against the invasion of
          personal rights that the search entails. Courts must consider the scope of
          the particular intrusion, the manner in which it is conducted, the justification
          for initiating it, and the place in which it is conducted.
   441 U.S. at 559.

          As explained in the Motion to Dismiss, the application of these factors does not

   result in a plausible constitutional violation. First, the visual body cavity search of Plaintiff

   was indisputably reasonable given that it was performed as Plaintiff entered CJC and

   before she was admitted into the general population. Archuleta v. Wagner, 523 F.3d

   1278, 1284 (10th Cir. 2008) (reasonableness of strip search turns in part on whether

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   inmate will be housed in general population); Hyberg v. Enslow, 801 F. App’x 647, 650-

   51 (10th Cir. 2020) (unpublished) (finding no plausible Fourth Amendment claim where

   inmate was strip searched in a designated area “with limited access for other inmates and

   staff” before returning to general population, and where staff made insensitive

   comments). Second, the only individuals present during the visual strip search were Ellis

   and Mustapick, both of whom performed part of the search in a private area of CJC.

   Plaintiff’s strip search was not video recorded as was the case in Hayes v. Marriott, 70

   F.3d 1144, 1145 (10th Cir. 1995), or conducted without a penological purpose as was the

   case in Shroff v. Spellman, 604 F.3d 1179 (10th Cir. 2010). Third, Plaintiff argues that

   she was subject to a cross-gender search because Mustapick, a biological male,

   participated in the search. Yet Plaintiff presents no authority suggesting that Mustapick’s

   visual search of Plaintiff constitutes a cross-gender search given they share the same

   biological sex. Fourth, the verbal statements attributed to Mustapick are insufficient to

   establish a constitutional violation. Indeed, in Adkins, the Tenth Circuit found that similar

   verbal harassment did not amount to a constitutional violation. 59 F.3d at 1037-38; see

   also Hayes, 70 F.3d at 1145.

          Accordingly, tor the reasons set forth herein and in the Motion to Dismiss, the

   Court must dismiss Plaintiff’s Fourth Amendment Claim pursuant to Fed. R. Civ. P.

   12(b)(6).

      C. PLAINTIFF HAS FAILED TO MEET THE TWO-PART BURDEN TO OVERCOME
         THE DEFENSE OF QUALIFIED IMMUNITY

          To avoid the application of qualified immunity, Plaintiff bears the substantial burden

   of showing that (1) the actions of the Defendants violated Plaintiff’s constitutional or

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   statutory rights, and (2) that the rights were clearly established at the time of Defendants’

   alleged violation. Albright v. Rodriguez, 51 F.3d 1531,1534 (10th Cir. 1995). To be clearly

   established, a plaintiff may point to “a Supreme Court or Tenth Circuit decision on point,

   or the clearly established weight of authority from other courts.” Gutierrez v. Cobos, 841

   F.3d 895, 899 (10th Cir. 2016) (citations omitted). Plaintiff appears to argue that she does

   not need to identify a case on point because less specificity, or no specificity, is required

   due to the supposedly egregious nature of the conduct alleged. Response, p. 5-6.

   Plaintiff’s argument is unfounded because this is not one of the rare cases where the

   alleged conduct is, in fact, so egregious that the Defendants’ presumption of qualified

   immunity may be rebutted without citing to “on point” precedent or the weight of

   persuasive authority. See Dist. of Columbia v. Wesby, 138 S. C.t 577, 590 (2018);

   Ashaheed v. Currington, 7 4.th 1236, 1248 (10th Cir. 2021) (quoting Taylor v. Riojas, 141

   S.Ct. 52, 53 (2020) (per curiam)).

          Plaintiff next asserts that Dodds v. Richardson, 614 F.3d 1185 (10th Cir. 2010),

   and Lopez v. LeMaster, 172 F.3d 756 (10th Cir. 1999), clearly establish the law

   surrounding her claims of supervisory liability. Response at 7. Not so. Dodds merely

   recognized the viability of supervisory liability following the Supreme Court’s decision in

   Aschroft v. Iqbal and is factually inapposite. 614 F.3d at 1194; see also B.I.C. v. Gillen,

   761 F.3d 1099, 1105 (10th Cir. 2014) (a plaintiff “cannot simply identify a clearly

   established right in the abstract and allege that the defendant has violated it.”). Lopez is

   factually inapposite because, unlike here, it involved specific, identifiable threats to the

   safety of a specific inmate. 172 F.3d at 758 (plaintiff was placed in general population


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   after he reported to jailer that another inmate “poked [him] in the stomach with a broom

   and accused him of ‘messing with’ the inmate’s sister and mother.”) In contrast, this case

   involves generalized risks to the safety of female transgender inmates housed in male

   wards.

            Plaintiff also claims that the law surrounding her Fourteenth Amendment claims is

   clearly established. See Response, p. 7 -21. Not so. The authority cited by Plaintiff

   consists largely of non-binding decisions from circuit courts other than the Tenth Circuit

   and district courts outside of Colorado. To the extent Plaintiff cites a Supreme Court or

   Tenth Circuit decision, such decisions are factually inapposite and far from “on point.” For

   instance, Plaintiff cites the Supreme Court’s decision Bostock v. Clayton Cnty., 140 S. Ct.

   1731, 1741 (2020), in support of her Fourteenth Amendment sex- and gender-based

   discrimination claim. Response, p. 9. But as this Court is aware, Bostock’s holding was

   confined to Title VII of the Civil Rights Act of 1964. Plaintiff also cites Free the Nipple-

   Fort Collins v. City of Fort Collins, 916 F.3d 792, 805 (10th Cir. 2019), and suggests that

   it is clearly established that strict scrutiny applies to her Equal Protection claim.

   Response, p. 12. Free the Nipple-Fort Collins is factually inapposite because it dealt with

   challenges to a municipal ordinance that prevented females from going topless in public.

   916 F.3d at 795. Moreover, the extension of strict scrutiny advocated for by Plaintiff runs

   counter to binding Supreme Court precedent, such as Turner v. Safley, 482 U.S. 78, 89

   (1987) (“[W]hen a prison regulation impinges on inmates’ constitutional rights, the

   regulation is valid if it is reasonably related to legitimate penological interests.”), and Tenth

   Circuit precedent, such as Brown v. Zavaras, 63 F.3d 967, 971 (10th Cir. 1985).


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           Plaintiff fails to show that the law was clearly established in connection with her

    Fourth Amendment claim alleging an unreasonable search. To being with, under the

    circumstances presented here, the mere fact Plaintiff was strip searched does not give

    rise to a Fourth Amendment violation. See Hyberg, 801 F. App’x at 650-51 (finding no

    plausible Fourth Amendment claim where inmate was strip searched in a designated area

    “with limited access for other inmates and staff” before returning to general population,

    and where staff made insensitive comments). To the extent Plaintiff takes issue with how

    the strip search was conducted, the law was not so clearly established as to deprive

    Mustapick or Ellis of qualified immunity because none of the cases cited by Plaintiff

    involve similar facts—the strip search of a transgender female, who has not undergone

    gender reassignment surgery, by a biological male and a biological female. Moreover,

    the law was not sufficiently clear with the respect to the alleged comments made by

    Mustapick during the strip search because, in Adkins, the Tenth Circuit found that similar

    verbal harassment did not amount to a constitutional violation. 59 F.3d at 1037-38.

           While the law may one day be as Plaintiff argues it should be now, the Defendants

    cannot be deprived of qualified immunity for failing to predict how courts will rule on these

    hotly contested and rapidly evolving legal issues.

       D. PLAINTIFF HAS FAILED TO STATE A PLAUSIBLE § 1983 CLAIM OF
          SUPERVISORY LIABILITY AGAINST ELDER OR GILLESPIE

           As explained in the Motion, Plaintiff fails to state a plausible claim for supervisory

    liability applying the three factors enumerated in Dodds, 614 F.3d 1185. In particular,

    Elder and Gillespie could not, and reasonably should not, have known that their alleged

    policies “would cause others to deprive the plaintiff of her constitutional rights,” id. at 1211

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    (Tymkovich, J., concurring) (quotations omitted), because the alleged rights may not exist

    and, to the extent they do, they are not clearly established. See, e.g., Arrington-Bey v.

    City of Bedford Heights, 858 F.3d 988, 994-96 (6th Cir. 2017) (“But a municipal

    policymaker cannot exhibit fault rising to the level of deliberate indifference to a

    constitutional right when that right has not yet been clearly established.”) (internal

    citations and quotations omitted); § II(C) above. Accordingly, the Court should dismiss

    Plaintiff’s claims asserted against Elder and Gillespie in their individual capacities

    pursuant to Fed. R. Civ. P. 12(b)(6).

       E. THE COMPLAINT FAILS TO STATE A MUNICIPAL LIABILITY CLAIM

           The Response clarifies that Plaintiff only seeks to impose municipal liability based

    upon a formal policy, an informal custom, and a final decision by a policy maker. Plaintiff

    fails to plausibly allege municipal liability under any of these theories.

           Plaintiff’s assertion of a formal policy fails because she does not identify any

    specific written policy. To this point, Plaintiff asserts that there was an official policy of

    housing transgender females in male wards, but she does not identify where such policy

    exists in writing or how it was adopted by any EPSO policymaker. Consequently, this

    claim of municipal liability fails. See Carney v. Cty. & Cnty. of Denver, 534 F.3d 1268,

    1274 (10th Cir. 2008) (dismissing the allegation of a formal policy because plaintiff has

    neither alleged nor produced any evidence suggesting that her purported discrimination

    was caused by any legislative action by ‘an official whose acts may fairly be said to be

    those of the municipality itself.’”)




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           Plaintiff’s assertion of an informal custom is premised upon Crowson v. Wash.

    Cnty. State of Utah, 983 F.3d 1166 (10th Cir. 2020), and a smattering of district court

    decisions finding that municipal liability can be established through the aggregation of

    different state actors’ conduct, even if no individual actor committed a constitutional

    violation. First, Crowson is a “limited exception” to the standard municipal liability inquiry.

    983 F.3d at 1191. Thus, the Court should follow the approach taken in Taylor v. Armor

    Corr. Health Servs., Inc., and “decline[] to sidestep well-settle constitutional principle and

    find that, because [Plaintiff] has alleged a high number of incidents that, by themselves,

    do not give rise to a constitutional violation, the collective sum necessarily gives rise to a

    constitutional injury.” 2021 WL 4556213, at * 14 (report and recommendation adopted

    2021 WL 4272717 (D. Colo. Sept. 21, 2021)). Second, to the extent Crowson is

    applicable, it does not eliminate the requirement that a plaintiff show that the alleged

    custom was “widespread,” commonly done through allegations of similarly situated

    individuals mistreated in a similar way. See Carney, 534 F.3d at 1274. Plaintiff’s failure

    to make such a showing seriously undermines this claim, see id., and Plaintiff provides

    no explanation as to how this claim can survive in the absence of such a showing. See

    Johnson v. Davis Cnty., 2022 WL 830202, at ** 3-4 (10th Cir. Mar. 21, 2022)

    (unpublished) (acknowledging Crowson and finding that plaintiffs’ municipal liability claim

    failed because “plaintiffs point[ed] to no prior similar constitutional violations…”).

           Plaintiff’s claim of municipal liability based upon a final decision by a policymaker

    also fails. First, Plaintiff does not identify any specific decision made by Elder that resulted

    in a constitutional violation because the allegations regarding Elder’s decisions are merely


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    formulaic.   Second, the Response fails to explain how Elder acted with deliberate

    indifference—a necessary element for this claim—given that the surrounding law is

    unclear. See Arrington-Bey, 858 F.3d at 994-96 (“But a municipal policymaker cannot

    exhibit fault rising to the level of deliberate indifference to a constitutional right when that

    right has not yet been clearly established.”) (internal citations and quotations omitted);

    Bustillos v. El Paso Cnty. Hosp. Dist., 891 F.3d 214, 222 (5th Cir. 2018); Nicholas v. Wany

    Cnty., Mich., 822 F. App’x 445, 451-52 (6th Cir. 2020) (unpublished); Townes v. City of

    New York, 176 F.3d 138, 143-44 (2d Cir. 1999); Szabla v. City of Brooklyn Park, 486 F.3d

    385, 393 (8th Cir. 2007); Moya v. City of Clovis, 2019 WL 6255217, at * 10 (D.N.M. Nov.

    22, 2019) (unpublished) (“But a municipal policymaker cannot exhibit fault rising to the

    level of deliberate indifference to a constitutional right when that right has not yet been

    clearly established.”) (emphasis in original, quotations and citations omitted); see also

    Montoya v. City & Cnty. of Denver, 2021 WL 8087380, at *2 n.3 (D. Colo. July 27, 2021)

    (unpublished) (noting that the issue of whether a municipal entity can be deliberately

    indifferent to a right that is not clearly established was left open by Contreras ex rel. A.L.

    v. Dona Ana Cnty. Comm’rs, 965 F.3d 114, 1124 (10th Cir. 2020) (Carson, J. concurring)).

    Plaintiff should not, therefore, be able to maintain her claim of municipal liability based

    upon a final decisionmaker.

           According, the Court must dismiss Plaintiff’s municipal liability claims pursuant to

    Fed. R. Civ. P. 12(b)(6).

       F. THE COMPLAINT FAILS TO STATE A PLAUSIBLE CLAIM UNDER THE ACT

           i.     No Direct Claim for Municipal Liability Exists Under the Act


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           On August 18, 2022, the Colorado Court of Appeals ruled that no direct claim of

    municipal liability exists under the Act because “based on the plain language of the

    statute…it grants plaintiffs…the right to assert the specified civil rights action only against

    individual peace officers, not against the peace officers’ employers.” Ditirro, 2022 WL

    3452486, at * 5. The Colorado Court of Appeals agrees with Defendants and this Court

    should too.

           ii.    The Complaint Fails to State a Claim for Supervisory Liability Against
                  Elder or Gillespie Under the Act

           The Colorado Court of Appeals arrived at its conclusion in Ditirro by applying basic

    rules of statutory construction requiring a court to first look “to the express language of

    the statute, construing words and phrases according to the grammar and common

    usage.” Id. at * 5 (internal quotations and citations omitted).

           As argued in the Motion, the Court should not create a cause of action for

    supervisory liability under the Act because the Act’s plain language does not expressly

    allow for it. The Ditirro decision bolsters Defendants’ argument because it stands to

    reason that, if the Act’s plain language does not provide for municipal liability, it also does

    not provide for supervisory liability. Yet the Response suggests that Defendants advocate

    for the interposition of § 1983 supervisory liability principles into the Act. See Response,

    p. 39. Not so. Defendants argue that no such cause of action exists.

           Implicitly acknowledging that the Complaint does not state a claim for supervisory

    liability under more onerous § 1983 principles, Plaintiff implores this Court to transform

    the Act’s cause of action for a constitutional violation into a simple tort and suggests she

    has stated a plausible claim for relief under less onerous “traditional tort principles.”

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    Response, p. 40. The Act’s plain language provides no support for Plaintiff’s position and

    Plaintiff cites no authority in support of her argument. See, e.g., id. at p. 39 (stating,

    without citation to any authority, that the Act “creates a state cause of action in tort.”). The

    Court should reject Plaintiff’s unsupported argument wholesale and find that no cause of

    action exists for supervisory liability under the Act.

           But if such a cause exists, the Court should apply § 1983 supervisory liability

    principles and find that Plaintiff has failed to state such a claim, particularly due to the

    absence of deliberate indifference.

           iii.     O’Neal, Noe, and Ford Are Not “Peace Officers”

           Colorado law enforcement agencies employ many individuals that do not meet the

    Act’s definition of a “peace officer,” such as dispatch operators, front desk clerks,

    information technology specialists,        nurses,    custodians, mechanics, and          other

    administrative and civilian employees. The plain language of the Act does not create a

    cause of action against these administrative and civilian employees because, unlike

    peace officers, they are not P.O.S.T. certified and are not tasked with enforcing

    Colorado’s laws. See, e.g., Fraternal Order of Police, Colo. Lodge N. 27 v. City & Cnty.

    of Denver, 914 P.2d 483, 486 (Colo. App. 1995) (“However, the legislative discussions

    concerning the addition of the phrase that a peace officer ‘has the authority to enforce all

    the laws of the state of Colorado while acting within the scope of his authority and in the

    performance of his duties’ generally indicate that the legislative intent was to allow peace

    officers to act in their law enforcement capacity only when they were on duty.”), aff’d 926

    P.2d 582 (Colo. 1996).


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           The Complaint’s allegations concerning O’Neal, Noe, and Ford do not show that

    they satisfy the Act’s definition of a “peace officer.” The Complaint alleges that Noe

    classified Plaintiff into an all-male unit upon Plaintiff’s intake at CJC, (Doc. 124, ¶ 54),

    Ford did an ADA interview of Plaintiff but did not place Plaintiff into an all-female unit (id.

    at ¶ 55), and O’Neal reviewed and denied Plaintiff’s request for a transfer to an all-female

    unit (Id. at ¶ 57). Such duties do not plausibly assert that O’Neal, Noe, and Ford are

    “peace officers” as opposed to administrative employees, such as ADA coordinators or

    inmate intake coordinators. Consequently, Claims 5, 6, 7, 8, 9, 15, and 16 asserted

    against O’Neal, Ford, and Noe must be dismissed.

           iv.    The Complaint Does Not State a Plausible Claim Under the Act

           The Response acknowledges that there is “little jurisprudence” surrounding some

    of Plaintiff’s claims asserted under the Act. See Response, p. 42. For instance, Plaintiff

    argues that the Complaint states a violation of the Colorado Constitution’s Equal Rights

    Amendment (“ERA”) because this amendment “prohibits unequal treatment based

    exclusively on the circumstances of sex, social stereotypes connected with gender, and

    culturally induced dissimilarities.” Id. (quoting People v. Salinas, 551 P.2d 703, 706 (Colo.

    1976)). Plaintiff’s reliance on Salinas is misplaced. 2 First, Salinas provides little, if any,



    2 Plaintiff’s reliance on People v. Green, 514 P.2d 769 (Colo. 1973), is also misplaced.

    First, Green provides little, if any, guidance because it also involved a rapist’s contention
    “that his conviction and sentence deny him equal protection of the law because statutes
    dealing with the crime of rape discriminate between the sexes.” Id. at 770. Second,
    Green held that “legislative classifications based solely on sexual status must receive the
    closest judicial scrutiny.” Id. (emphasis added). This case does not involve legislative
    classifications. Third, the Colorado Supreme Court issued its decision in Salinas three
    years after its decision in Green. Thus, Salinas controls.
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    guidance because it involved a convicted rapist’s assertion that Colorado’s statutory rape

    statute was unconstitutional. Salinas, 551 P.2d at 705-06. Second, the portion of Salinas

    quoted by Plaintiff is followed by this sentence: “However, [the ERA] does not prohibit

    differential treatment among the sexes when, as here, that treatment is reasonably and

    genuinely based on physical characteristics unique to just one sex.” Id. at 706 (citations

    omitted). Following Salinas, then, Plaintiff fails to state a plausible claim under the ERA

    because she alleges that her housing and treatment in CJC were based upon

    characteristics unique to her biological sex.

           Plaintiff’s other claims asserted under the Act are supported by state court

    decisions espousing general tort principles. See Response 44-46 (citing Davenport v.

    Cmty. Corr. of the Pikes Peak Region, 942 P.2d 1301, 1303 (Colo. App. 1997); Leake v.

    Cain, 720 P.2d 152, 159 (Colo. 1986)). As explained above, Plaintiff’s effort to transform

    her constitutional claims into simple torts finds no support in the Act’s plain language and

    runs counter to the Court of Appeals’ rationale in Ditirro. Moreover, Plaintiff’s inability to

    cite to any Colorado case recognizing the specific rights alleged under the Colorado

    Constitution only furthers Defendants’ argument that “this federal Court should not

    recognize rights for the first time under the Colorado Constitution.” Motion, p. 32 (citing

    Younger v. Harris, 401 U.S. 37 (1971)); see also People v. Young, 814 P.2d 834, 843

    (Colo. 1991) (“This history reflects our repeated recognition that the Colorado

    Constitution, written to address the concerns of our own citizens and tailored to our unique

    regional location, is a source of protection for individual rights that is independent of and




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    supplemental to the protections provided by the United States Constitution.”).

    Accordingly, the Court should dismiss Plaintiff’s claims asserted under the Act.

       G. THE COMPLAINT FAILS TO STATE A PLAUSIBLE CLAIM UNDER THE ADA
          OR REHABILITATION ACT

           i.     The Complaint Fails to Allege a Covered Disability

           When Defendants filed the Motion to Dismiss, there was no circuit court opinion

    addressing whether Gender Dysphoria falls within the ADA’s categorical exclusion of

    coverage for “gender identity disorders not resulting from physical impairments,” 42

    U.S.C. § 12211(b)(1). On August 16, 2022, a divided Fourth Circuit held that Gender

    Dysphoria is covered by the ADA. Williams v. Kincaid, 2022 WL 3364824, at ** 3-7 (4th

    Cir. 2022).

           Defendants maintain that Gender Dysphoria is excluded from coverage under the

    ADA because (i) Williams is not binding precedent in this District; (ii) there remains a

    significant disagreement amongst district courts as to whether Gender Dysphoria is

    excluded from coverage under the ADA; and (iii) in Michaels v. Akal Sec., Inc., a court in

    this District ruled that “[g]ender dysphoria, as a gender identity disorder, is specifically

    exempted as a disability…”       2010 WL 2573988, at *6 (D. Colo. Jun. 24, 2010)

    (unpublished). But fortunately, the Court does not need to wade into these murky legal

    waters because Plaintiff’s ADA and Rehabilitation Act claims clearly fail for the other

    reasons set forth below.

           ii.    The Complaint Fails to Allege Causation

           The Response provides no cogent argument regarding causation. Plaintiff argues

    that the ADA applies to “anything a public entity does” regardless of whether it is done

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    because of a person’s disability.      Response, p. 47 (quoting Hason v. Med. Bd. of

    California, 279 F.3d 1167, 1172-73 (9th Cir. 2002)).          This argument belies binding

    precedent such as Crane v. Utah Dep’t of Corr. where the Tenth Circuit held that “the

    ADA merely requires the plaintiff's disability be a but-for cause (i.e., ‘by reason of’) of the

    discrimination, rather than—as the Rehabilitation Act requires—its sole cause (i.e., ‘solely

    by reason of’).” 15 F.4th 1296, 1312-13 (10th Cir. 2021) (internal citations omitted).

           Relying on Doe v. Mass. Dep’t of Corr., Plaintiff goes on to argue that a correctional

    institution violates the ADA when it assigns a transgender woman to a men’s prison “by

    virtue of her gender assignment at birth” or denies a transgender woman access to

    facilities and programs that would “correspond to her gender identification.” Response,

    p. 47 (citing Doe, 2018 WL 2994403, at * 8 (D. Mass. June 14, 2018)). The problem with

    Plaintiff’s reliance on Doe is that Doe’s disability discrimination claims were premised

    upon her “Gender Dysphoria (GD) disability” and “GD diagnosis,” not her transgender

    status or gender identity. Doe, 2018 WL 2994403, at ** 1 and 6.

           Unlike Doe, the Complaint clearly alleges that Plaintiff was subject to discrimination

    because of her transgender status or gender identity, not her Gender Dysphoria diagnosis

    (the alleged disability). (See, e.g., Doc. 124, ¶¶ 1 (“El Paso County’s policy of refusing to

    house transgender inmates based on their gender identity…”); 3 (“Defendants denied

    [Plaintiff] clothing that conforms with her gender identity despite the fact that cisgender

    women are allowed panties and lipstick.”); 50 (“El Paso County, as a matter of policy,

    refuses to house transgender women in female housing facilities.”); 71 (“It is El Paso

    County’s official policy that transgender women (including those with Gender Dysphoria)


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    are searched, including strip searched, by male staff and not female staff.” ); 98 (“El Paso

    County refuses to recognize transgender women…as the women they are. Instead, El

    Paso County officials routinely refer to these women…using the male names they were

    assigned at birth…[and] routinely refer to these women as ‘men’ or using male

    pronouns…”)). That is to say, the Complaint does not allege a sufficient causal link

    between Plaintiff’s Gender Dysphoria diagnosis and the conduct of which she complains.

           And by now arguing that the ADA and Rehabilitation Act claims are based upon

    Plaintiff’s transgender status or gender identity, not her Gender Dysphoria diagnosis,

    Plaintiff confirms that her claims fall squarely within the categorical exclusion discussed

    in Section II.G.i above and Section IV. H.1 of the Motion.

           iii.    Plaintiff Cannot Pursue Remedies That Were Not Traditionally
                   Available in Breach of Contract Actions

           The Response urges this Court to disregard Cummings v. Premier Rehab Keller

    P.L.L.C. where the Supreme Court recently held that damages available under the

    Rehabilitation Act are limited to those remedies traditionally available in breach of contract

    actions. 142 S. Ct. 1562, 1571-76 (2022). The Court should not bite.

           Montgomery v. Dist. Of Columbia, cited in the Response, disproves Plaintiff’s

    argument.     There, the district court applied Cummings retroactively to preclude the

    plaintiff from seeking emotional distress damages and other types of damages that are

    not “the usual contract remedies in private suits,” such as reputation damages. 2022 WL

    1618741, at * 26 (D.D.C. May 23, 2022) (citing Cummings, 142 S. Ct. at 1571)). The

    district court also extended Cummings’ holding to the plaintiff’s claim asserted under

    Title II of the ADA because Title II “incorporates the remedies, procedures, and rights set

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    forth in the [Rehabilitation Act]; hence if a certain category of damages is not available

    under Section 504, it is not available under Title II either.” Id. at * 24 (internal citations

    and quotations omitted). In sum, Montgomery validates Defendants’ arguments and

    confirms that the only damages available under the Rehabilitation Act and Title II of the

    ADA are “those damages [that] fit within categories of damages that would be traditionally

    recoverable in a breach of contract case.” Id.

           Plaintiff further argues that Montgomery allows her to seek damages related to the

    “failure to reasonably accommodate [her] disability [that] led [her] to suffering greater

    injury or indignity than other arrestees.” Id. at * 24. To the extent these are something

    other than emotional distress damages, Plaintiff has failed to state a claim because she

    does not plausibly allege that she suffered any greater damage or indignity because of

    her disability as described in Section II.G.ii above and Section IV.H.2 of the Motion (i.e.,

    no causation).

           iv.    The Complaint Fails to State a Claim for Compensatory Damages
                  Under the ADA or Rehabilitation Act

           The Response does not confront the question posed in the Motion: how can an

    entity be deliberately indifferent under Title II of the ADA and Rehabilitation Act when the

    existence of the right alleged is unclear?

           Compensatory damages are only available under Title II of the ADA and

    Rehabilitation Act in instances of intentional discrimination which can be inferred from a

    defendant’s deliberate indifference to a strong likelihood that the pursuit of its questioned

    policies will likely result in a violation of federally protected rights and a corresponding

    failure to act. Havens v. Colo. Dep’t. of Corr., 897 F.3d 1250, 1264 (10th Cir. 2018). But

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    it is unclear whether Gender Dysphoria falls within the ADA’s categorical exclusion of

    coverage. As explained above, “[n]o federal court of appeals or the Supreme Court

    ha[d]…addressed whether [this] exclusion applies to gender dysphoria,” Venson v.

    Gregson, 2021 WL 673371, at *2 (S.D. Ill. Feb. 22, 2021) (unpublished), until August 16,

    2022, when a divided Fourth Circuit ruled that Gender Dysphoria falls outside the

    applicable exclusion. See Williams, 2022 WL 3364824, at ** 3-7. Moreover, there

    remains a significant disagreement amongst district courts on this issue, see London v.

    Evans, 2019 WL 5726983, at * 6 n.3 (D. Del. Nov. 5, 2019), including a decision from this

    District ruling that Gender Dysphoria falls within the applicable exclusion. Michaels, 2010

    WL 2573988, at *6 (D. Colo. Jun. 24, 2010). It is thus exceedingly unclear whether

    Gender Dysphoria has any protections under Title II of the ADA and Rehabilitation Act.

           In similarly unclear circumstances, the Eighth Circuit held that a municipal entity

    was not deliberately indifferent under Title II of the ADA or Rehabilitation Act because it

    lacked clear notice that its actions would violate any rights protected by these statutes.

    See Roberts v. City of Omaha, 723 F.3d 966, 975-76 (8th Cir. 2013). The Response

    offers no reason why this Court should reject the Eighth Circuit’s sound rationale in

    Roberts. Accordingly, this Court should find that the Complaint fails to plausibly allege

    deliberate indifference.

       H. THE COURT DOES NOT HAVE JURISDICTION OVER PLAINTIFF’S CADA
          CLAIMS AND PLAINTIFF DOES NOT DISPUTE IT

           The   Response      provides   no   argument    addressing    Plaintiff’s   Colorado

    Anti-Discrimination Act claims, particularly that this Court lacks jurisdiction over them



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    because Plaintiff failed to exhaust her administrative remedies. Accordingly, the Court

    must dismiss Claims 12 and 13 for the reasons set forth in Section IV.I of the Motion.

                                         III.   CONCLUSION

          Defendants respectfully ask the Court to enter an order dismissing Plaintiff’s

    Complaint with prejudice, awarding Defendants reasonable attorneys’ fees and costs, and

    for such other and further relief the Court deems just and proper.

          Dated this 26th day of August 2022.
                                                           By: s/ Nathan J. Whitney
                                                           Nathan J. Whitney, #39002
                                                           Senior Assistant County Attorney
                                                           Terry A. Sample, #33919
                                                           Senior Assistant County Attorney
                                                           Chris Strider, #33919
                                                           Assistant County Attorney
                                                           Steven Martyn, #47429
                                                           Assistant County Attorney
                                                           El Paso County Attorney’s Office
                                                           200 S. Cascade Ave.
                                                           Colorado Springs, CO 80903
                                                           (719) 520-6485 (Main Line)
                                                           (719) 520-7264 (Office)
                                                           Email:
                                                           nathanwhitney@elpasoco.com
                                                           chrisstrider@elpasoco.com
                                                           terrysample@elpasoco.com
                                                           stevenmartyn@elpasoco.com




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                                  CERTIFICATE OF SERVICE

            I hereby certify that on August 26, 2022, I electronically filed a true copy of the
    Defendants’ Reply in Support of Their Motion to Dismiss Third Amended Complaint with
    the Clerk of Court using the CM/ECF system which will send notification of such filing to
    the following:

    Andy McNulty
    Mari Newman
    1543 Champa Street, Suite 400
    Denver, CO 80202
    (303) 571-1000
    (303) 571-1001
    amcnulty@kln-law.com


                                                            s/Dee Lambert
                                                            Paralegal




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 21-cv-00387-NRN-CMA

 DARLENE GRIFFITH,

        Plaintiff,

 v.

 EL PASO COUNTY, COLORADO, et al.

        Defendants.


                 OBJECTION TO REPORT AND RECOMMENDATION ON
            DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT
                PURSUANT TO Fed. R. Civ. P. 12(b)(1) and (6) [Doc. #165]


 1. Introduction

        Plaintiff Darlene Griffith is a transgender woman who has been diagnosed with Gender

 Dysphoria. In the community, she lives in accordance with her female gender identity.

 Despite this well-documented history, Defendants Bill Elder, Cy Gillespie, Elizabeth O’Neal,

 Tiffany Noe, and Brande Ford purposefully housed Plaintiff in an all-male unit in the El Paso

 County Jail. Even in the face of Plaintiff’s repeated requests to be moved to a unit that

 corresponds with her gender identity, Defendants continued to deny her this reasonable

 accommodation. Defendants’ decision to house Plaintiff in a unit that does not conform with

 her gender identity also subjected Plaintiff to repeated discrimination and harassment.

 Plaintiff brought this case to protect “the rights of transgender people in public spaces and not

 forc[e] them to exist on the margins.” G.G. v. Gloucester Cty. Sch. Bd., 853 F.3d 729, 730

 (4th Cir. 2017) (Davis, J., concurring). It is a case that is, at its core, “about governmental

 validation of the existence and experiences of transgender people, as well as the simple

 recognition of their humanity.” Id.

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 2. Relevant Factual Allegations

        As alleged in Plaintiff’s Third Amended Complaint, El Paso County and its officials

 violated Plaintiff’s Constitutional and statutory rights in a variety of different ways. First,

 Defendants Ford, O’Neal, Noe, Gillespie, and Elder intentionally disregarded Plaintiff’s

 repeated requests to be housed in a unit that corresponded with her female gender identity.

 [Doc. #124], ¶¶ 47-70. Defendants made this conscious decision despite knowing that

 Plaintiff suffered from Gender Dysphoria that was exacerbated by being housed in an all-

 male unit and that doing so would expose her to risk of sexual assault and harassment. Id.

        Second, Defendant Mustapick sexually harassed Plaintiff during an unconstitutional

 cross-gender visual body-cavity search while Defendant Elliss stood by and did nothing to

 intervene. Id., ¶¶ 71-83. After Defendant Elliss left Plaintiff alone with Defendant Mustapick (a

 male deputy), Defendant Mustapick ordered Plaintiff to take off her socks, pants, and panties,

 place her hands on the wall, bend over, and “spread [her] sexy cheeks.” Id., ¶ 77. Defendant

 Mustapick then told Plaintiff that he was “going to go balls deep in that ass” while grabbing

 his own penis in view of Plaintiff. Id., ¶78. Defendant Mustapick’s threatening and demeaning

 search of Plaintiff served no legitimate penological purpose. Id., ¶ 80.

        Third, Defendants Elder, Gillespie, Ford, O’Neal, and Noe failed to protect Plaintiff by

 housing her in an all-male unit, which predictably led to her being assaulted by a male

 inmate. That inmate approached Plaintiff while she was laying in her bunk and groped her

 right breast while telling Plaintiff, “you know you want this dick.” Id., ¶¶ 84-88.

        Fourth, because of Defendants’ Elder, Gillespie, Ford, O’Neal, and Noe’s decision to

 house Plaintiff in an all-male facility, El Paso County officials subjected Plaintiff to continuous

 cross-gender pat-down searches. Id., ¶¶ 89-96. Male deputies repeatedly touched Plaintiff’s

 breasts and groin when patting her down. Id., ¶ 90.



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        Fifth, because of Defendants’ Elder, Gillespie, Ford, O’Neal, and Noe’s decision to

 house Plaintiff in an all-male facility, El Paso County officials constantly mis-gendered Plaintiff

 throughout her incarceration. Id., ¶¶ 97-109. In one instance, an El Paso County deputy

 called Plaintiff a “blind faggot” in front of other inmates. Id., ¶ 100. Mis-gendering is a form of

 sexual harassment.

        Sixth, because of Defendants’ Elder, Gillespie, Ford, O’Neal, and Noe’s decision to

 house Plaintiff in an all-male facility, she was denied the ability to dress in accordance with

 her gender identity. Id., ¶¶ 110-122. Plaintiff repeatedly requested gender affirming clothing,

 but was denied each time. Id., ¶¶ 115-117.

        Importantly, all of this conduct that violated Plaintiff’s Constitutional and statutory rights

 was undertaken either pursuant to official El Paso County Jail policies (enacted and

 implemented by Defendant Elder and Gillespie), id., ¶¶ 42, 57, 74, 81, 94, 106, 117, 118,

 and/or the widespread customs and practices at the El Paso County Jail. Doc. Id., ¶¶ 67, 87,

 94, 106, 118. These policies, customs, and practices directly caused the violation of Plaintiff’s

 Constitutional rights. Id., ¶¶ 42, 57, 67, 74, 81, 87, 94, 106, 117, 118. All of these actions by

 Defendants also caused Plaintiff to engage in self-harm by wrapping a rubber band around

 her genitalia extremely tightly with the purpose of self-castration. Id., ¶¶ 69, 83, 96, 109, 122.

 3. PROCEDURAL HISTORY

        Defendants filed a motion to dismiss Plaintiff’s Third Amended Complaint in its

 entirety. [Doc. #132]. Plaintiff responded and outlined why dismissal is improper. [Doc. #147].

 On February 27, 2023, Magistrate Judge Neureiter issued a report and recommendation.

 [Doc. #165]. In that order, Magistrate Judge Neureiter recommended dismissing all of

 Plaintiff’s claims. Id. Plaintiff timely objects to that order.

 4. STANDARD OF REVIEW

        4.1 The general standard of review disfavors granting motions to dismiss.
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        When a magistrate judge issues a recommendation on a dispositive matter, Fed.

 R. Civ. P. 72(b)(3) requires that the district court judge “determine de novo any part of the

 magistrate judge’s [recommendation] that has been properly objected to.” A party properly

 objects if its objection is both timely and specific. U.S. v. One Parcel of Real Prop. Known as

 2121 East 30th St., 73 F.3d 1057, 1059 (10th Cir. 1996). An objection is sufficiently specific if

 it “enables the district judge to focus attention on those issues – factual and legal – that are at

 the heart of the parties’ dispute.” Id. In conducting its review, “[t]he district judge may accept,

 reject, or modify the [recommendation]; receive further evidence; or return the matter to the

 magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3).

        “There is a strong presumption against dismissal for failure to state a claim under Rule

 12(b)(6)” Shell v. Am. Family Rights Ass’n, 899 F. Supp. 2d 1035, 1055 (D. Colo. 2012).

 Evaluating a Rule 12(b)(6) motion, a court must accept as true “all well-pleaded factual

 allegations in a complaint and view these allegations in the light most favorable to the

 plaintiff.” Kerber v. Qwest Group Life Ins. Plan, 647 F.3d 950, 959 (10th Cir. 2011). Generally,

 a complaint will survive a Rule 12(b)(6) motion if it contains “enough facts to state a claim to

 relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

        4.2 Qualified immunity does not shield defendants from liability where their
            conduct is egregious, or where caselaw puts them on notice their conduct is
            unconstitutional.

        To show that a right was clearly established, a plaintiff may point to “a Supreme Court

 or Tenth Circuit decision on point, or the clearly established weight of authority from other

 courts.” Gutierrez v. Cobos, 841 F.3d 895, 899 (10th Cir. 2016) (citations omitted). But, even

 absent such a showing, qualified immunity does not shield a defendant when “a reasonable

 officer would understand that what he is doing violates that right.” Medina v. Cram, 252 F.3d

 1124, 1128 (10th Cir. 2001). Nor does qualified immunity require the plaintiff to show “the

 very act in question previously was held unlawful.” Gutierrez, 841 F.3d at 899 (10th Cir.
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 2016). “[N]ot every constitutional violation has factual antecedents,” and courts “can

 occasionally rely on the general proposition that it would be ‘clear to a reasonable officer that

 his conduct was unlawful in the situation he confronted…even though existing precedent

 does not address similar circumstances.’” Colbruno v. Kessler, 928 F.3d 1156, 1165 (10th

 Cir. 2019) (quoting D.C. v. Wesby, 138 S. Ct. 577, 590 (2018)). The Tenth Circuit has held, in

 line with Supreme Court precedent, that “general statements of the law are not inherently

 incapable of giving fair and clear warning to officers as long as the unlawfulness of an action

 is apparent[.]” Ashaheed v. Currington, 7 F.4th 1236, 1246 (U.S. 10th Cir. 2021).

 5. ARGUMENT

        5.1 Plaintiff adequately alleges that El Paso County is a proper defendant.

        The Magistrate Judge erroneously determined that El Paso County was not a proper

 defendant. “As the United States Supreme Court repeatedly has stated, a § 1983 action

 appropriately is pleaded against a municipality either by naming the municipality itself or by

 naming a municipal official in his or her official capacity.” Stump v. Gates, 777 F.Supp. 808,

 816 n.3 (D. Colo. 1991) (Carrigan, J.) (citing Will v. Michigan Dept. of State Police, 491 U.S.

 58 (1989); Brandon v. Holt, 469 U.S. 464, 471-72 (1985); Monell v. Dep’t of Soc. Servs., 436

 U.S. 658, 690 n.55 (1978)). Plaintiff has done exactly that by naming El Paso County,

 Colorado as a Defendant. The County is the real party in interest. Kentucky v. Graham, 473

 U.S. 159, 166 (1985) (“[T]he real party in interest is the entity.”). Numerous courts presiding

 over Section 1983 actions in this District have correctly concluded that the county that

 employs the defendant law enforcement officers is the proper defendant because counties

 are “persons” under § 1983.1 Thus, El Paso County, Colorado is a proper Defendant in this

 matter.


 1
  See Lounsbury v. Darr, 2012 U.S. Dist. LEXIS 33904, at *3-4 (D. Colo. Mar. 14, 2012)
 (Babcock, J.); Pixley v. Adams County, 2011 U.S. Dist. LEXIS 111639, at *3 (D. Colo. Sept.
                                                 5
                                                                                       S.A. 136
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        5.2 Plaintiff adequately alleges that Defendants Elder and Gillespie personally
           participated in the violation of her Constitutional rights.

        The Magistrate Judge erroneously determined that Plaintiff had not adequately alleged

 that Defendants Elder and Gillespie personally participated in the violation of her

 constitutional rights. “Personal involvement [in a constitutional violation] does not require

 direct participation because § 1983 states any official who ‘causes’ a citizen to be deprived of

 her constitutional rights can also be held liable.” Dodds v. Richardson, 614 F.3d 1185, 1195

 (10th Cir. 2010) (citation omitted). In Dodds, the court held that a sheriff was personally

 responsible under Section 1983 where the enforcement of jail policy caused the violation of

 the plaintiff’s constitutional rights when the sheriff was “responsible for the policies that

 operated [at the jail] and [those policies] enforced by his subordinates at the jail.” Id. at 1203.

 Similarly, here, Plaintiff alleges that the policies enacted by Defendant Elder and Gillespie,

 [Doc. #124], ¶¶ 14, 57, caused the violation of her constitutional rights. Further, Plaintiff

 alleges that Defendants Elder and Gillespie make facility assignments to people in custody

 solely on the basis of the individual’s genitalia, in contravention of widely accepted standards,

 Id., ¶ 42, which caused the violation of Plaintiff’s constitutional rights in numerous ways. Id.,

 ¶¶ 47-122.

        Further, where the “underlying unconstitutional misconduct was so widespread or

 flagrant that in the proper exercise of its official responsibilities the governing body should

 have known of it,” a factfinder may infer that the governing officials did know about the

 misconduct. Jojola v. Chavez, 55 F.3d 488 (10th Cir. 1995). The violation of Plaintiff’s rights


 28, 2011) (Babcock, J.); Moore v. Commerce City Police Dep’t, 2011 U.S. Dist. LEXIS
 151897, at *2 (D. Colo. Jan. 20, 2011); Cross v. Denver Sheriff’s Dep’t, 2014 U.S. Dist.
 LEXIS 147731, at *6-7 (D. Colo. Oct. 15, 2014); Hammond v. Beicker, 2014 U.S. Dist. LEXIS
 130184, at *7 (D. Colo. Sept. 17, 2014) (Babcock, J.); O’Neill v. El Paso County Sheriff’s
 Dep’t, 2014 U.S. Dist. LEXIS 106412, at *2 (D. Colo. Aug. 4, 2014) (Shaffer, J.); Dodds v.
 Trinity Group, 2014 U.S. Dist. LEXIS 32675, at *2 (D. Colo. Mar. 13, 2014); Stump, 777
 F.Supp. at 816.
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 was no secret, and transgender inmates at the El Paso County Jail are constantly housed in

 facilities that do not correspond with their gender identity, subjecting them to discrimination

 and exposing them to an extreme risk of assault and harassment. [Doc. #124], ¶ 67. This

 case is very similar to Lopez v. LeMaster, in which the Tenth Circuit held that a sheriff was

 liable for deliberate indifference because he did not take action to prevent inmates from being

 attacked by other inmates at the jail, despite being aware of prior attacks and deficiencies in

 staffing and surveillance that prevented the jail from preventing attacks. 172 F.3d 756, 760-64

 (10th Cir. 1999). As alleged, Defendants Elder and Gillespie are personally liable for the

 violation of Plaintiff’s Constitutional rights.2

        5.3 Plaintiff adequately alleges that Defendants violated her rights under the
           Fourteenth Amendment’s Equal Protection clause.

        The Magistrate Judge erroneously concluded that Plaintiff had not adequately alleged

 that Defendants violated her rights under the Fourteenth Amendment’s Equal Protection

 clause. The Equal Protection clause of the Fourteenth Amendment directs that “all persons

 similarly situated should be treated alike,” thereby protecting against intentional discrimination

 by way of classifications that reflect “a bare . . . desire to harm a politically unpopular

 group.” Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1050 (7th

 Cir. 2017) (quoting City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985)). As

 alleged, Plaintiff is a transgender woman and Defendants knew as much. [Doc. #124], ¶¶ 25-

 27, 110-112. Defendants’ decision to disregard Plaintiff’s identity as a transgender woman,

 and instead treat her as a male inmate, violated her Fourteenth Amendment rights.

                5.3.1 As alleged, Defendants engaged in sex- and gender-based
                      discrimination against Plaintiff.




 2
  Dodds and Lopez clearly establish that an official who implements an official policy that
 causes the violation of the Constitution is not entitled to qualified immunity.
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                                                                                          S.A. 138
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        The Magistrate Judge erred in failing to consider that Defendants engaged in sex-and

 gender-based discrimination, which triggers intermediate scrutiny. Refusing to allow

 transgender individuals to use public facilities that correspond with their gender identities is

 sex- and gender-based discrimination under the Fourteenth Amendment. Adams v. Sch. Bd.,

 968 F.3d 1286, 1302 (11th Cir. 2020); Grimm v. Gloucester Cty. Sch. Bd., 976 F.3d 399, 402

 (4th Cir. 2020); Whitaker, 858 F.3d at 1048-49. When an inmate is “placed in a facility based

 on their genitalia… a sex-based classification is used, and intermediate scrutiny must be

 applied.” Hampton v. Baldwin, No. 3:18-CV-550-NJR-RJD, 2018 U.S. Dist. LEXIS 190682,

 2018 WL 5830730, at *32-37 (S.D. Ill. Nov. 7, 2018); see also Tay v. Dennison, 457 F. Supp.

 3d 657 (S.D. Ill. 2020); Doe v. Mass. Dep’t of Corr., No. 17-12255-RGS, 2018 U.S. Dist.

 LEXIS 99925, at *25 (D. Mass. June 14, 2018) (holding that a transgender prisoner’s

 “compulsory assignment to a men’s prison caused Doe to be treated differently from other

 female prisoners”); Iglesias v. Fed. Bureau of Prisons, No. 19-CV-415-NJR, 2021 U.S. Dist.

 LEXIS 245517, at *72 (S.D. Ill. Dec. 27, 2021).3 Defendants violated Plaintiff’s rights under

 the Equal Protection Clause in the same way by housing her in an all-male unit and denying

 her access to women’s facilities, solely based on her transgender status and the fact that she

 has male genitalia. [Doc. #124], ¶¶ 42, 47-70. The Supreme Court recently held that

 transgender classifications are sex-based. Bostock v. Clayton Cty., 140 S. Ct. 1731, 1739

 (2020). Every Court of Appeals that has considered whether transgender classifications are

 sex-based, and, consequently, are deserving of intermediate scrutiny has concluded they

 are, and intermediate scrutiny applies. Grimm v. Gloucester Cty. Sch. Bd., 972 F.3d 586, 607

 (4th Cir. 2020); EEOC v. R.G., 884 F.3d 560, 580 (6th Cir. 2018); Whitaker v. Kenosha



 3
  Nation v. White, No. 5:20-cv-P104-BJB, 2021 U.S. Dist. LEXIS 36388, at *12 (W.D. Ky. Feb.
 26, 2021); Lesperance v. Manning, No. 2:16-cv-0764 JAM AC P, 2019 U.S. Dist. LEXIS
 150710, at *14 (E.D. Cal. July 30, 2019).
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 Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017); Glenn v. Brumby,

 663 F.3d 1312, 1316 (11th Cir. 2011).4 At least one court in this District has found that

 discrimination against transgender individuals constitutes sex-based discrimination. EEOC v.

 A&E Tire, Inc., 325 F. Supp. 3d 1129, 1134 (D. Colo. 2018).

          Moreover, Defendants discriminated against Plaintiff by denying her items to which

 cisgender women have access, including clothing and grooming products, solely based on

 her transgender status. [Doc. #124], ¶¶ 110-122. The United States Supreme Court has long

 held that sex stereotyping based on preconceived notions about appropriate dress for men

 and women is intolerable sex discrimination. Price Waterhouse v. Hopkins, 490 U.S. 228

 (1989); Smith v. City of Salem, 378 F.3d 566, 574 (6th Cir. 2004) (“After Price Waterhouse,

 an employer who discriminates against women because, for instance, they do not wear

 dresses or makeup, is engaging in sex discrimination because the discrimination would not

 occur but for the victim’s sex.”); Dawson v. Bumble & Bumble, 398 F.3d 211, 221 (2d Cir.

 2005).

          Simply put, “it is impossible to discriminate against a person for being homosexual or

 transgender without discriminating against that individual based on sex.” Bostock, 140 S. Ct.

 at 1741. Plaintiff adequately alleges that Defendants’ actions constituted sex- and gender-

 based discrimination.

                5.3.2 Plaintiff, as a transgender woman, is a member of a suspect, or
                     quasi-suspect, class.

          The Magistrate Judge erred in concluding that transgender individuals are not

 members of a suspect or quasi-suspect class. A growing consensus of courts have held that




 4
  See also Smith v. City of Salem, 378 F.3d 566, 577 (6th Cir. 2004); Doe v. Boyertown Area
 Sch. Dist., 893 F.3d 179, 199 (3d Cir. 2018).
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  transgender individuals constitute a suspect or quasi-suspect class.5 And, when evaluating

  transgender individuals under the four-factor test outlined for determining whether a class

  qualifies as suspect or quasi-suspect, it becomes clear that discrimination against

  transgender individuals merits heightened scrutiny. Heightened scrutiny is appropriate when

  the class being discriminated against: (1) has been “historically subjected to discrimination,”

  (2) has a defining characteristic bearing no “relation to ability to perform or contribute to

  society,” (3) has “obvious, immutable, or distinguishing characteristics,” and (4) is a “minority

  or is politically powerless.” Windsor v. United States, 699 F.3d 169, 181 (2d Cir. 2012), aff’d

  on other grounds, 570 U.S. 744 (2013); see also Bowen v. Gilliard, 483 U.S. 587, 602 (1987);

  Cleburne, 473 U.S. at 440-41. Transgender individuals, like Plaintiff, meet all of these criteria.

         First, “[i]t is generally accepted that transgender individuals face an alarming rate of

  discrimination, harassment, and violence.” Crowder, 2019 U.S. Dist. LEXIS 140306, at *32-

  35;6 see also Grimm v. Gloucester Cty. Sch. Bd., 302 F. Supp. 3d 730, 749 (E.D. Va. 2018).

  For example, the transgender community “suffers from high rates of employment



  5
    See, e.g., Grimm, 972 F.3d at 610-13; Crowder v. Diaz, No. 2:17-CV-1657-TLN-DMC, 2019
  U.S. Dist. LEXIS 140306, at *30 (E.D. Cal. Aug. 16, 2019); Evancho v. Pine-Richland Sch.
  Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa. 2017); Adkins v. City of New York, 143 F. Supp. 3d
  134, 139 (S.D.N.Y. 2015); Bd. of Educ. of the Highland Local Sch. Dist. v. U.S. Dep’t of
  Educ., 208 F. Supp. 3d 850, 873 (S.D. Ohio 2016); M.A.B. v. Bd. of Educ., 286 F. Supp. 3d
  704, 718-19 (D. Md. 2018); Norsworthy, 87 F. Supp. 3d at 1119; F.V. v. Barron, 286 F. Supp.
  3d 1131, 1145 (D. Idaho 2018); Karnoski v. Trump, 2018 U.S. Dist. LEXIS 63563, 2018 WL
  1784464 (W.D. Wash. Apr. 13, 2018); see also Flack v. Wis. Dept. of Health Servs., 328 F.
  Supp. 3d 931, 951-53 (W.D. Wis. 2018); Doe v. Wash. State Dep't of Corr., No. 4:21-CV-
  5059-TOR, 2021 U.S. Dist. LEXIS 93455, at *21 (E.D. Wash. May 17, 2021); McQueen v.
  Brown, No. 2:15-cv-2544 JAM AC P, 2018 U.S. Dist. LEXIS 66377, 2018 WL 1875631, at *3
  (E.D. Cal. Apr. 19, 2018), report and recommendation adopted, No. 2:15-cv-2544 JAM AC P,
  2018 U.S. Dist. LEXIS 91170, 2018 WL 2441713 (E.D. Cal. May 31, 2018); Karnoski v.
  Trump, No. C17-1297-MJP, 2018 U.S. Dist. LEXIS 63563, 2018 WL 1784464, at *1 (W.D.
  Wash. Apr. 13, 2018).
  6
    Citing Jaime M. Grant et al., Injustice at Every Turn: A Report of the
  National Transgender Discrimination Survey, Nat’l Center for Transgender Equality
  (2011), available
  at https://www.transequality.org/sites/default/files/docs/resources/NTDS_Report.pdf.
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  discrimination, economic instability, and homelessness.” Grimm, 972 F.3d at 611.

  Additionally, transgender individuals frequently experience harassment in places such as

  schools, medical settings, and retail stores, while also experiencing physical assault in places

  such as schools and places of public accommodation, at high levels and being

  disproportionate victims of violent crime. Id. “In the prison context, [PREA] exposed

  heightened risk of sexual assault against LGBTQI prisoners and the atypical severity of

  punishments LGBTQI people face solely for being themselves” and “transgender inmates are

  thirteen times more likely to be assaulted than other prisoners.” Crowder, 2019 U.S. Dist.

  LEXIS 140306, at *33. And, the El Paso County Jail’s treatment of Plaintiff is an exemplar of

  how “current measures and policies continue to target transgender persons for differential

  treatment.” Grimm, 972 F.3d at 611.

         Second, in Windsor, the Second Circuit concluded “the aversion homosexuals

  experience has nothing to do with aptitude or performance.” 699 F.3d at 182-83. “The same

  can be said of discrimination leveled at transgender people.” Crowder, 2019 U.S. Dist. LEXIS

  140306, at *35; Grimm, 972 F.3d at 611.

         Third, the Fourteenth Amendment is meant to protect citizens from discrimination

  based on circumstances beyond their control. See Plyler, 457 U.S. at 216 n.14. “[B]eing

  transgender is not a choice.” Grimm, 972 F.3d at 612. At least three courts, based on

  substantial evidence, have acknowledged that gender identity is biologically determined. Id.;

  Crowder, 2019 U.S. Dist. LEXIS 140306, at *35-36; Doe v. McConn, 489 F. Supp. 76, 78

  (S.D. Tex. 1980) (“These findings indicate that the transsexual has not made a choice to be

  as he is, but rather that the choice has been made for him through many causes preceding

  and beyond his control”). And, “given the discrimination transgender individuals face, it is

  illogical to assert that a person would actively choose this ‘lifestyle.’” Crowder, 2019 U.S. Dist.

  LEXIS 140306, at *35-36 (quoting Hernandez-Montiel v. Immigration & Naturalization Serv.,
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  225 F.3d 1084, 1095 (9th Cir. 2000) (stating a transgender asylum applicant’s female sexual

  identity “must be fundamental, or [s]he would not have suffered this persecution and would

  have changed years ago”)).

         Fourth, “transgender people constitute a minority lacking political power” given that

  “approximately 0.6% of the adult population in the United States” identifies as transgender.

  Grimm, 972 F.3d at 612. “[T]ransgender persons are underrepresented and have not gained

  positions of significant power” and “no acknowledged transgender person has ever held a

  significant position in Congress or the federal judiciary.” Crowder, 2019 U.S. Dist. LEXIS

  140306, at *36-37 (citing Adkins, 143 F. Supp. 3d at 140 (“[T]here is no indication that there

  have ever been any transgender members of the United States Congress or the federal

  judiciary.”); M.A.B. v. Bd. of Educ., 286 F. Supp. 3d 704, 721 (D. Md. 2018) (“Only two openly

  transgender candidates have ever been elected; both won seats in a state legislature.”)).

  Importantly, “the examples of discrimination” against transgender individuals (which this case

  represents) “affirm what we intuitively know: Transgender people constitute a minority that

  has not yet been able to meaningfully vindicate their rights through the political process.”

  Grimm, 972 F.3d at 612.

         For these reasons, a growing consensus of courts that have held “transgender

  persons constitute a quasi-suspect class” and discrimination against them is subject to

  heightened scrutiny. Id. at 613. Plaintiff is a member of a quasi-suspect class.

                5.3.3 Brown v. Zavaras does not control this case.

         The Magistrate Judge erred in concluding that Brown v. Zavaras controls this case. 63

  F.3d 967 (10th Cir. 1995). First, Brown never addressed whether discrimination against

  transgender individuals constitutes sex- or gender-based discrimination. This Court can, and

  should, hold as much, which triggers intermediate scrutiny. Second, Brown did not engage in

  the requisite four-factor analysis for determining whether transgender individuals are a
                                                 12
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  suspect or quasi-suspect class. Id. at 971. This failure to apply binding precedent, which this

  Court must apply in determining whether transgender individuals are part of a suspect or

  quasi-suspect class, makes Brown inapplicable. See Windsor, 699 F.3d at 181; see also

  Bowen, 483 U.S. at 602; Cleburne, 473 U.S. at 440-41. Second, as the Magistrate Judge

  properly recognized, the Ninth Circuit authority on which Brown rests has been overruled

  and, therefore, Brown is no longer applicable. See Schwenk v. Hartford, 204 F.3d 1187, 1201

  (9th Cir. 2000). Third, Brown is inapposite nearly every single case that has been decided

  since, which “have analyzed the relevant factors for determining suspect class status and

  held that transgender people are at least a quasi-suspect class.” Grimm, 972 F.3d at 610

  (citing cases). This overwhelming authority deems Brown to be bad law. It should be

  discarded on the scrap heap of past decisions, like Plessy, Korematsu, and Bowers, that

  allowed for state-sanctioned discrimination.

                5.3.4 Defendants’ deliberate decision to disregard Plaintiff’s female
                      gender identity, and instead treat her as a male inmate, was not
                      substantially related to an important interest and violated the Equal
                      Protection clause.

         Under intermediate scrutiny, “classifications by gender must serve important

  governmental objectives and must be substantially related to achievement of those

  objectives” in order to be upheld. Craig v. Boren, 429 U.S. 190, 197 (1976). “When a sex-

  based classification is used, the burden rests with the state to demonstrate that its proffered

  justification is ‘exceedingly persuasive.’” Whitaker, 858 F.3d at 1050 (citing United States v.

  Virginia, 518 U.S. 515, 533 (1996)). “It is not sufficient to provide a hypothesized or post

  hoc justification created in response to litigation.” Id. The Tenth Circuit has recognized that

  “[a]t least since Virginia, [the arc of the Supreme Court’s equal protection jurisprudence]

  bends toward requiring more—not less—judicial scrutiny when asserted physical differences

  are raised to justify gender-based discrimination[.]” Free the Nipple-Fort Collins v. City of Fort


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  Collins, 916 F.3d 792, 805 (10th Cir. 2019). Ultimately, the question this Court must answer is

  whether Defendants’ “policy of placing transgender inmates in the prison of their assigned

  sex at birth [is] substantially related to the achievement of prison security?” Hampton, 2018

  U.S. Dist. LEXIS 190682, 2018 WL 5830730, at *32-37. The answer to that question is a

  resounding no.

         As alleged, there was no reason for Defendants to assign Plaintiff – who for decades

  has lived in society as a woman, and who has previously been housed with female offenders

  in the Colorado Department of Corrections (“CDOC”) – to an all-male unit other than the fact

  that she has male genitalia and her sex assigned at birth was male. [Doc. #124], ¶¶ 42, 47-

  70. Courts have held that transgender inmates do not generally pose a greater security threat

  than cisgender inmates. Doe, 2018 U.S. Dist. LEXIS 99925, 2018 WL 2994403, at *10 (citing

  Virginia, 518 U.S. at 531 and holding that “generalized concerns for prison security are

  insufficient to meet the ‘demanding’ burden placed on the State to justify sex-based

  classifications”). Defendants’ placement of Plaintiff in an all-male facility is particularly glaring

  in light of her previous placement with female inmates in the CDOC, of which, as alleged,

  Defendants were aware. [Doc. #124], ¶ 65. As alleged, given the lack of any justification for

  housing Plaintiff in an all-male unit other than her genitalia and sex assigned at birth, that

  classification does not pass intermediate scrutiny. And, based on substantial precedent, it is

  clear that, as alleged, Plaintiff’s placement in an all-male unit was not substantially related to

  an important government interest. See Tay, 457 F. Supp. 3d at 682; Hampton, 2018 U.S.

  Dist. LEXIS 190682, 2018 WL 5830730, at *12; Doe, 2018 U.S. Dist. LEXIS 99925, 2018 WL

  2994403, at *9; Norsworthy, 87 F. Supp. 3d at 1120.7


  7
    The Individual Defendants are not entitled to qualified immunity based on the caselaw and
  well-established legal principles outlined above. Particularly, the Supreme Court’s decision in
  Bostock, the weight of authority from other circuits holding that discrimination against
  transgender individuals violates the Fourteenth Amendment, and the Tenth Circuit’s decision
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                5.3.5 Even if this Court finds that Plaintiff is not a member of a suspect or
                      quasi-suspect class, Defendants’ actions fail rational basis review.

         The Magistrate Judge incorrectly held that Defendants’ actions satisfy rational basis

  review.8 “[I]f the constitutional conception of ‘equal protection of the laws’ means anything, it

  must at the very least mean that a bare … desire to harm a politically unpopular group cannot

  constitute a legitimate governmental interest.” U.S. Dept. of Agriculture v. Moreno, 413 U.S.

  528, 534–535 (1973). For example, in Romer v. Evans, the Supreme Court of the United

  States overturned a Colorado constitutional amendment that denied gays and lesbians

  access to the protection of antidiscrimination laws. 517 U. S. 620, 632, 635 (1996). The

  amendment, the Supreme Court held, was “divorced from any factual context from which we

  could discern a relationship to legitimate state interests,” and “its sheer breadth [was] so

  discontinuous with the reasons offered for it” that the initiative seemed “inexplicable by

  anything but animus.” Id. Similarly, here, Defendants’ actions, and policy, of making facility

  assignments to people in custody solely on the basis of the individual’s genitalia, despite

  knowing that this places transgender people at risk for victimization and that these

  discriminatory placement decisions and denial of gender-affirming clothing were taken

  without an important or legitimate governmental interest or rational reason, and they had no

  penological basis to deny Plaintiff a safe and appropriate placement in a female facility,


  in Free the Nipple-Fort Collins would have put Defendants on notice that they were violating
  Plaintiff’s Fourteenth Amendment rights.
  8
    There are two versions of the rational basis test: traditional rational basis review and a more
  rigorous rational basis standard "sometimes referred to as 'rational basis with a bite.'" Dairy v.
  Bonham, No. C-13-1518 EMC, 2013 U.S. Dist. LEXIS 103033, 2013 WL 3829268, at *5 n.4
  (N.D. Cal. July 23, 2013) (citations omitted); see also Erwin Chemerinsky, Constitutional Law:
  Principles and Policies, 680 (3d ed. 2006). The rational basis "with a bite" standard, which
  applies in this case, is less deferential to the legislative enactment, and a challenged law will
  be struck down if the court determines that it is in fact arbitrary, irrational, and/or
  unreasonable. See, e.g., Cleburne, 473 U.S. at 450 (striking down a city ordinance that
  reflected nothing more than "irrational prejudice"); Romer, 517 U.S. at 634 (striking down a
  state initiative grounded solely in "animosity toward the class of persons affected"); Moreno,
  413 U.S. at 534 (holding that discrimination against “hippies” was not a valid state objective). 
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  based on her sex, gender identity, characteristics, risk factors, and her history of sexual

  victimization in male facilities. [Doc. #124], ¶¶ 42, 110–22, 134.

         Ultimately, even under the rational basis test, discriminatory animus toward a group is

  not a valid state objective. Cleburne, 473 U.S. at 446–447; Moreno, 413 U.S. at 534–535.

  The practical effect of Defendants’ actions was “to impose a disadvantage, a separate status,

  and so a stigma upon” transgender individuals. United States v. Windsor, 570 U.S. 744, 770

  (2013). This is not a rational basis for government officials’ actions and policies. This Court

  need not hold, therefore, that transgender individuals are members of a “suspect class” in

  order to allow Plaintiff’s claims to continue to discovery in this case.

                5.3.6 Separately, the sexual harassment to which Plaintiff was subjected
                      demonstrates that Defendants violated the Equal Protection clause.

         The Magistrate Judge did not consider the second basis for Plaintiff’s Equal Protection

  claim: that she was subjected to significant verbal and physical harassment by staff and other

  inmates. “[I]t is well-settled that sexual harassment also violates the Equal Protection

  clause[.]” Lucente v. Cty. of Suffolk, 980 F.3d 284, 304, 305 (2d Cir. 2020); Doe v. Beaumont

  Indep. Sch. Dist., No. 1:21-CV-00132, 2022 U.S. Dist. LEXIS 125296, at *31 n.15 (E.D. Tex.

  July 14, 2022) (citing cases). “To succeed on her sexual harassment claim under the Equal

  Protection Clause, [Plaintiff] must establish (1) the harassment was intentional and based on

  sex and (2) the harassment was ‘sufficiently severe or pervasive.’” Hampton, 2018 U.S. Dist.

  LEXIS 190682, at *37-39 (quoting Trautvetter v. Quick, 916 F.2d 1140, 1149 (7th Cir. 1990).

  “[A] plaintiff wishing to sustain an equal protection claim of sexual harassment must show

  both ‘sexual harassment’ and an ‘intent’ to harass based upon that plaintiff’s membership in a

  particular class of citizens.” Id. at 1040.

         As alleged, Plaintiff was sexually harassed by Defendant Mustapick who, on intake to

  the El Paso County Jail, ordered Plaintiff to undress, bend over, and “spread [her] sexy


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  cheeks,” and then grabbed his own penis while threatening Plaintiff that he was “going to go

  balls deep in that ass”. [Doc. #124], ¶¶ 71-83. After this egregious harassment, Plaintiff

  continued to be consistently harassed and mis-gendered by deputies because she is a

  transgender woman (including an incident where a deputy called Plaintiff a “blind faggot”). Id.,

  ¶¶ 97-109. Plaintiff was also assaulted by another inmate because she was discriminatorily

  placed into a unit that does not correspond with her gender identity. Id., ¶ 84-88. Given all of

  this, Plaintiff has alleged a compelling sexual harassment claim under the Equal Protection

  clause. See McNamarah, Chan Tov, Misgendering as Misconduct, 68 UCLA L. Rev. Disc. 40,

  43 (2020).9

         5.4 Plaintiff adequately alleges that Defendants violated her substantive due
            process rights under the Fourteenth Amendment.

         The Magistrate Judge erred in finding that Plaintiff has not adequately alleged a

  violation of her substantive due process rights. Bell v. Wolfish, 441 U.S. 520, 539 (1979).

                5.4.1 Defendants subjected Plaintiff to unconstitutional conditions of
                      confinement through near-constant sexual harassment and
                      unwanted cross-gender touching.

         The Magistrate Judge erred in concluding that Plaintiff has not plead a claim against

  Defendants El Paso County, Elder, Gillespie, Noe, and Ford for subjecting her to near-

  constant sexual harassment and unwanted cross-gender touching. “[A] female detainee has

  the right not to be sexually harassed, verbally or physically, by other detainees or guards.”

  Shaw v. District of Columbia, 944 F. Supp. 2d 43, 58-59 (D.D.C. 2013); Farmer v. Brennan,


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   Citing G. G. ex rel. Grimm v Gloucester Cty. Sch. Bd., 822 F3d 709, 716 (4th Cir 2016),
  vacated, 137 S Ct 1239 (2017); Hampton, 2018 U.S. Dist. LEXIS 190682, 2018 WL 5830730,
  at *2; Prescott v Rady Children's Hosp.-San Diego, 265 F Supp 3d 1090, 1096 (S.D. Cal.
  2017); Rumble v Fairview Health Servs., No. 14-CV-2037, 2015 U.S. Dist. LEXIS 31591, at
  *71 (D. Minn. Mar. 16, 2015); Doe v City of New York, 42 Misc. 3d 502 (Sup Ct NY County);
  see also Gregory v. Jeffreys, No. 21-1097, 2021 U.S. Dist. LEXIS 206187, at *10 (C.D. Ill.
  Oct. 26, 2021); Tay, 457 F. Supp. 3d at 683 (S.D. Ill. 2020); Hecox v. Little, 479 F. Supp. 3d
  930, 957 (D. Idaho 2020); Joyner v. Snyder, No. 06-3062, 2007 U.S. Dist. LEXIS 7214, 2007
  WL 401269, at *2 (C.D. Ill. Feb. 1, 2007).
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  511 U.S. at 834 (1994) (unsolicited sexual touching, harassment, and coercion are “simply

  not part of the penalty that criminal offenders pay for their offenses against society” (internal

  quotations omitted)).10 Defendants Elder’s, Gillespie’s, Noe’s, Ford’s, and O’Neal’s decisions

  to house Plaintiff in an all-male unit foreseeably resulted in her continuous harassment and

  repeated unwanted cross-gender touching. [Doc. #124], ¶¶ 97-109. This violated her due

  process rights.

                5.4.2 Defendant Mustapick subjected Plaintiff to unconstitutional
                      conditions of confinement through the cross-gender visual body-
                      cavity search he performed on her.

         The Magistrate Judge erred in concluding that Plaintiff has not alleged Defendant

  Mustapick violated her clearly established due process rights through his cross-gender visual

  body-cavity search of her. A visual body-cavity search violates the Constitution where the

  search was “conducted in a harassing manner intended to humiliate and inflict psychological

  pain.” Fillmore v. Page, 358 F.3d 496, 505 (7th Cir. 2004); Calhoun, 319 F.3d at 939.

  “[E]xposing a person’s naked body involuntarily is a severe invasion of personal

  privacy.” Colbruno v. Kessler, 928 F.3d 1155, 1161-63 (10th Cir. 2019) (holding that pretrial

  detainee who was walked naked through public areas of a hospital had a valid claim under

  the Fourteenth Amendment that his jailers violated clearly established law). Forcing Plaintiff

  to be naked in front of a male guard, who then made her spread her “sexy” butt cheeks to “go

  balls deep” while grabbing his own penis, [Doc. #124], ¶¶ 71-83, certainly rises to “calculated

  harassment unrelated to prison needs” with the intent to humiliate Plaintiff. Richards v.

  Wexford, 2021 U.S. App. LEXIS 31545, 2021 WL 4892160, at *3 (7th Cir. Oct. 20, 2021).

  This is highlighted by the multiple courts that have held that actions similar to, and less


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    See also Women Prisoners of the District of Columbia Dep’t of Corrections v. D.C., 877 F.
  Supp. 634, 664-67 (D.D.C. 1994); Hudson v. McMillian, 503 U.S. 1, 6-7 (1992); Joseph v.
  U.S. Fed. Bureau of Prisons, 232 F.3d 901 (10th Cir. 2000); Barney v. Pulsipher, 143 F.3d
  1299, 1310 (10th Cir.1998).
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  egregious than, the actions of Defendant Mustapick constituted unconstitutional conditions of

  confinement; these cases and legal principles also demonstrate why Defendant Mustapick is

  not entitled to qualified immunity.11 It was also clearly established by the Tenth Circuit’s

  decision in Colbruno, 928 F.3d at 1161.

                5.4.3 Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal
                      subjected Plaintiff to unconstitutional conditions of confinement by
                      forcing her to endure repeated cross-gender pat-down searches.

         The Magistrate Judge erred in finding that Plaintiff has not pled with adequate

  specificity that Defendants Elder’s, Gillespie’s, Noe’s, and Ford’s decisions to house Plaintiff

  in an all-male unit foreseeably resulted in Plaintiff being subjected to repeated cross-gender

  pat-down searches, which violated her due process rights. The cross-gender pat-down

  searches inflicted on Plaintiff violated her Fourteenth Amendment rights by imposing on her

  an unconstitutional condition of confinement. [Doc. #124], ¶¶ 89-96. Multiple courts have held

  that repeated cross-gender pat-down searches of women, absent emergency circumstances

  that would necessitate performing a cross-gender pat-down search, impose unconstitutional

  conditions of confinement. See Jordan, 986 F.2d at 1526; Colman v. Vasquez, 142

  F.Supp.2d 226 (D. Conn. 2001); Nelson v. City of Stamford, No. 3:09-cv-1690 (VLB), 2012

  U.S. Dist. LEXIS 8907, at *72-73 (D. Conn. Jan. 25, 2012). For example, in Colman, a court

  addressed the constitutionality of cross-gender at searches in the context of a female

  prisoner incarcerated in a special unit for victims of sexual assault who was forced to submit

  to pat searches by male guards. 142 F.Supp.2d at 226. The Colman court noted that



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    See Vazquez v. Cty. of Kern, 949 F.3d 1153, 1163-64 (9th Cir. 2020); Kent v. Johnson,
  821 F.2d 1220, 1227- 28 (6th Cir. 1987); Semelbauer v. Muskegon Cnty., No. 1:14-cv-1245,
  2015 U.S. Dist. LEXIS 189417, 2015 WL 9906265, at *3-4 (W.D. Mich. Sept. 11, 2015);
  Payette v. Hoenisch, 284 Fed. Appx. 348, 2008 U.S. App. LEXIS 14441, No. 07-3249, 2008
  WL 2648917, at *5 (7th Cir. 2008); Solan v. Ranck, No. CV-06-0049, 2007 U.S. Dist. LEXIS
  84903, 2007 WL 4111424, at *8 (M.D. Pa. 2007); see also Vasquez v. Raemisch, 480 F.
  Supp. 2d 1120, 1131-32 (W.D. Wis. 2007).
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  “‘women experience unwanted touching by men differently from men subject to comparable

  touching by women.’” 142 F.Supp.2d at 232 (quoting Jordan, 986 F.2d at 1521). And, in

  Jordan, the Court found that women who expressed significant emotional distress at being

  continually being subjected to cross-gender pat-down searches had a claim for violation of

  their Constitutional rights. Jordan, 986 F.2d at 1531 (en banc) (holding that a cross-gender

  clothed body search policy at a women’s prison constituted cruel and unusual punishment

  because many of the inmates had histories of sexual or physical abuse by men and because

  cross-gender bodily searches, even if conducted properly, would likely inflict psychological

  trauma).

         Here, Plaintiff was part of a particularly vulnerable population, transgender woman

  inmates, and suffered from Gender Dysphoria. [Doc. #124], ¶¶ 48-49. She is also blind. Id.,

  ¶¶ 50. The searches were not performed under exigent circumstances or due to any

  emergency; she was routinely patted-down by male deputies. Id., ¶¶ 89-96. Defendants

  purposefully housed her in an all-male unit, which they knew would expose her to continuous

  cross-gender pat-down searches. Id., ¶¶ 54, 57, 135. Plaintiff has adequately alleged a claim

  against Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal for causing her

  to be subject to continuous cross-gender pat-down searches. Id., ¶¶ 89-96.

                5.4.4 Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal
                      violated Plaintiff’s rights under the United States and Colorado
                      Constitutions by failing to protect her from assault.

         The Magistrate Judge erred in finding that Plaintiff has not pled with adequate

  specificity that Defendants El Paso County’s, Elder’s, Gillespie’s, Noe’s, Ford’s, and O’Neal’s

  decisions to house Plaintiff in an all-male unit failed to protect her from assault. Prison

  officials have a duty to “take reasonable measures to guarantee the safety of the

  inmates.” Farmer, 511 U.S. at 832. More to the point, they “have a duty to protect prisoners

  from violence at the hands of other prisoners.” Farmer, 511 U.S. at 833. “A prison official
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  violates the [Constitution] ‘when a substantial risk of serious harm, of which the official is

  subjectively aware, exists[,] the official does not respond reasonably to the risk,’” and the

  official’s actions or inaction causes the injury. Id. The prison official must be both aware of the

  risk and draw the inference. Farmer, 511 U.S. at 837. The Supreme Court in Farmer held that

  circumstantial evidence and the obviousness of the substantial risk of harm, not just actual

  notification, may be used to establish subjective awareness. 511 U.S. at 842-44. Further,

  allegations suggesting the substantial risk was “long-standing, pervasive, [or] well-

  documented” and the defendants “had been exposed to information concerning the risk and

  thus must have known about it ... could be sufficient ... to find that [the defendants] had actual

  knowledge of the risk.” Id. at 842-43 (internal quotation marks and citation omitted).

         When analyzing subjective awareness, courts have considered the obviousness of the

  risk to inmate safety, the defendant’s knowledge about the vulnerability of certain types of

  inmates to risk of harm, prison policies pertaining to such inmates, and their housing

  placements. See Greene v. Bowles, 361 F.3d 290, 294 (6th Cir. 2004); Taylor v. Mich. Dep’t

  of Corr., 69 F.3d 76, 81-82 (6th Cir. 1995).12 Placing Plaintiff, a blind, transgender woman,

  into a general population male ward was nearly per se deliberately indifferent to a risk that

  she would be assaulted by male inmates. See Diamond v. Owens, 131 F. Supp. 3d 1346,

  1376-79 (M.D. Ga. 2015) (holding that a non-violent, transgender female inmate, faced a

  substantial risk of sexual assault at closed-security facilities because the risk was obvious



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     See also Green v. Hooks, 2013 U.S. Dist. LEXIS 124806, 2013 WL 4647493, at *2-*3 (S.D.
  Ga.); Shaw, 944 F. Supp. 2d at 59-60 (“Plaintiff ... points ... to [reports, regulations, and
  professional guidelines] ... to provide factual grounding to support the inference that the risk
  to transgender detainees was obvious, well-documented, and known to [d]efendants.”
  (internal quotation marks and citation omitted)); Newsome v. Higham, 2010 U.S. Dist. LEXIS
  29521, 2010 WL 1258013, at *3-*4 (M.D. Ga.); Farmer v. Carlson, 685 F. Supp. 1335, 1342
  (M.D. Penn. 1988) (“Clearly, placing plaintiff, a twenty-one year old transsexual, into the
  general population at ... a [high-]security institution, could pose a significant threat to internal
  security in general and to plaintiff in particular.”).
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  and that guards are obviously aware from PREA that transgender inmates face a substantial

  vulnerability to sexual assault).

         Farmer itself provides strong and binding authority that Defendants violated Plaintiff’s

  rights by not protecting her from male inmates. In Farmer, a transgender inmate, allegedly

  known to be vulnerable to sexual assault, complained prison officials were deliberately

  indifferent to a substantial risk of sexual assault by placing her in general population at a

  “higher security facility” known for its violent environment and history of assaults. Farmer, 511

  U.S. at 825. The Supreme Court emphasized the constitutional right of prisoners to be

  reasonably protected from the violence of other inmates. Id. at 833 (“[G]ratuitously allowing

  the beating or rape of one prisoner by another serves no ‘legitimate penological objectiv[e].’”

  (citation omitted)). The Supreme Court ultimately held that “a prison official may be held

  liable... if he knows that inmates face a substantial risk of serious harm and disregards that

  risk by failing to take reasonable measures to abate it.” Id. at 847. Here, Defendants were

  aware that Plaintiff is a transgender female, knew she is blind, and knew, because of these

  two things, that placing her into an all-male unit would make her particularly vulnerable to

  sexual assault. [Doc. #124], ¶¶ 47-50. They also knew that incarceration standards dictated

  that transgender women are vulnerable to sexual assault when placed in all-male units. Id.,

  ¶¶ 42-43, 45-46. Still, Defendants purposefully housed her in an all-male unit, which they

  knew would expose her to continuous cross-gender pat-down searches. Id., ¶¶ 54, 57, 135.

  This violated Plaintiff’s rights. See Diamond, 131 F. Supp. 3d at 1379-80.13

         5.5 Plaintiff adequately alleges that Defendants EL Paso County, Elder,
             Gillespie, Mustapick, and Elliss subjected her to multiple unlawful searches
             under the Fourth Amendment.




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    Defendants El Paso County, Elder, Gillespie, Noe, Ford, and O’Neal are not entitled to
  qualified immunity based on the caselaw and well-established legal principles outlined above.
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         The Magistrate Judge erred in finding that Plaintiff has not adequately plead that

  Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss are liable for the cross-

  gender visual body-cavity search conducted by Defendants Mustapick and Elliss. Whether a

  particular search is constitutional is judged by “balancing of the need for the particular search

  against the invasion of personal rights that the search entails.” Bell, 441 U.S. at 559. Courts

  make this determination by balancing four non-exclusive factors. Id.; see also Harris v. Miller,

  818 F.3d 49, 58 (2d Cir. 2016). Those factors are: “[1] the scope of the particular intrusion, [2]

  the manner in which it is conducted, [3] the justification for initiating it, and [4] the place in

  which it is conducted.” Id.

         Defendant Mustapick’s visual body-cavity of Plaintiff, which included an inspection of

  her anal and genital areas, violated her constitutional rights. [Doc. #124], ¶¶ 71-83; see

  Maricopa Cnty. Sheriff’s Dep’t, 629 F.3d at 1142 (holding that a cross-gender strip

  search was unreasonable as a matter of law where there was no emergency). A strip-search,

  let alone a visual body-cavity search, is “one of the clearest forms of degradation in Western

  Society” and the indignity imposed by strip searches is multiplied when one’s body is “viewed

  by a member of the opposite gender.” Canedy v. Boardman, 16 F.3d 183, 185 (7th Cir.

  1994); Chapman v. Nichols, 989 F.2d 393, 395 (10th Cir.1993). Courts have held that blanket

  policies subjecting all newly-arrested detainees in a local correctional facility to visual body

  cavity searches, even when performed by guard who is a member of the same gender as the

  detainee, are unconstitutional. See Shain v. Ellison, 273 F.3d 56, 64-65 (2d Cir. 2001);

  Wachtler v. County of Herkimer, 35 F.3d 77, 82 (2d Cir. 1994). In order for a visual body

  cavity search to be found reasonable under the circumstances, there must be some

  “‘particularized suspicion,’ arising either from the nature of the charge or specific

  circumstances relating to the arrestee and/or the arrest,” that the arrestee is concealing



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  weapons or other contraband. Weber v. Dell, 804 F.2d 796, 802 (2d Cir. 1986); Murcia v.

  County of Orange, 226 F. Supp. 2d 489, 494 (S.D.N.Y. 2002).

         First, “regardless of who performs the search, a visual body cavity search, such as the

  one conducted here, is invasive.” Harris, 818 F.3d at 58. A search “that involves a stranger

  peering without consent at a naked individual, and in particular at the most private portions of

  that person’s body, is a serious invasion of privacy.” Florence v. Bd. of Chosen Freeholders,

  566 U.S. 318 (2012) (Breyer, J., dissenting).14

         Second, “while all forced observations or inspections of the naked body implicate a

  privacy concern, it is generally considered a greater invasion to have one’s naked body

  viewed by a member of the opposite sex.” Canedy, 16 F.3d at 185; see also Byrd v. Maricopa

  Cty. Sheriff’s Dep’t, 629 F.3d 1135, 1141 (9th Cir. 2011). For this reason, “[c]ourts throughout

  the country have universally frowned upon cross-gender strip searches in the absence of an

  emergency or exigent circumstances.” Byrd, 629 F.3d at 1143.15 “Indeed, best-practice

  standards in prison management typically discourage cross-gender strip searches.” Harris,

  818 F.3d at 59. For example, the 2009 National Prison Rape Elimination Commission Report

  “determined that[,] ‘[t]o prevent abuse, . . . the [Commission’s recommended] standard on this

  subject strictly prohibits non-medical staff from conducting cross-gender strip and visual body

  cavity searches—except in the case of an emergency—because of their extraordinarily

  intrusive nature.’” Byrd, 629 F.3d at 1142 (quoting the Commission Report at 63). Likewise,

  the American Correctional Association’s recommended standard for cross-gender strip


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     See also Canedy, 16 F.3d at 185 (“[O]ne of the clearest forms of degradation in Western
  Society is to strip a person of his clothes. The right to be free from strip searches and
  degrading body inspections is thus basic to the concept of privacy.” (quoting 3 George B.
  Trubow, ed., Privacy Law and Practice, ¶ 25.02[1] (1991))); Cookish v. Powell, 945 F.2d 441,
  446 (1st Cir. 1991) (“[A] ‘severe if not gross interference with a person’s privacy [] occurs
  when guards conduct a visual inspection of body cavities.”).
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     See also Lee v. Downs, 641 F.2d 1117, 1119 (4th Cir. 1981); Fortner v. Thomas, 983 F.2d
  1024, 1030 (11th Cir. 1993).
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  searches “provide[s] that, except in emergency situations, visual inspections of inmate body

  cavities are conducted by officers of the same sex, in private.” Id. (quoting Standards for

  Adult Correctional Institutions § 4-4194 (2003)).

         Third, a visual body-cavity search conducted in an unprofessional manner is

  unreasonable. See Byrd, 629 F.3d at 1143. As the Supreme Court stated in Bell: “[O]n

  occasion a security guard may conduct the search in an abusive fashion. Such abuse cannot

  be condoned. The searches must be conducted in a reasonable manner.” Bell, 441 U.S. at

  560 (citations omitted). Here, the visual body-cavity search was conducted in a disgusting

  and degrading manner by a male guard who made clear his prurient gratification, despite the

  ready availability of female officers to do the search. See, e.g., Lee, 641 F.2d at 1120.

         Fourth, there was no justification for subjecting Plaintiff to a cross-gender visual body-

  cavity search. See, e.g., Byrd, 629 F.3d at 1137 n.2, 1142, 1143; Hayes, 70 F.3d at 1148.

         Fifth, the fact that the visual body-cavity search was conducted outside of the

  presence of other individuals makes it less reasonable because there was greater chance for

  abuse. See Byrd, 629 F.3d at 1143. Indeed, Defendant Mustapick predictably seized this

  opportunity to sexually degrade Plaintiff for his own prurient gratification.

         The Tenth Circuit, in an analogous case, held that a cross-gender strip-search, less

  egregious than the one performed by Defendant Mustapick, violated an inmate’s right to be

  free from unreasonable searches and seizures. In Hayes v. Marriott, the male plaintiff alleged

  that a video-taped strip search conducted in the presence of female corrections officers

  violated his constitutional rights under the Fourth Amendment. 70 F.3d 1144, 1145 (10th Cir.

  1995). Despite an affidavit from a prison official attesting that no females actively participated

  in the strip search and expressing staffing considerations, the Tenth Circuit reversed the

  grant of summary judgment in favor of the prison officials. Id. at 1147-48. In doing so, the

  Tenth Circuit explicitly recognized that an inmate’s privacy rights may be violated by a single
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  cross-gender strip-search. Id. at 1147. And, in another case, the Tenth Circuit held that an

  officer who forced a female inmate to expose her breasts to a female deputy in order to pump

  her breast milk, without any penological justification, violated her right to be free from

  unreasonable searches. Shroff v. Spellman, 604 F.3d 1179, 1191 (10th Cir. 2010).

  Importantly, the Tenth Circuit defined the right of the plaintiff that was violated as the

  “personal right not to be required to expose her breasts before another person.” Id.

         Ultimately, the caselaw is clear that “cross-gender strip searches” let alone cross-

  gender visual body-cavity searches, “in the absence of an emergency violate an inmate’s

  right under the Fourth Amendment to be free from unreasonable searches.” Byrd, 629 F.3d at

  1144-47; Cookish, 945 F.2d at 442; Moore v. Carwell, 168 F.3d 234, 235 (5th Cir. 1999);

  Shaw, 944 F. Supp. 2d at 56-57.

         5.6 Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss violated
             Plaintiff’s rights under the Fourteenth Amendment by unconstitutionally
             invading her right to privacy and bodily integrity.

         The Magistrate Judge erred in finding that Plaintiff has not adequately pled that

  Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss are liable for the violation

  of Plaintiff’s Fourteenth Amendment rights through the cross-gender visual body-cavity

  search conducted by Defendants Mustapick and Elliss. “Visual body cavity searches are

  invasive and degrading, occasioning a serious invasion of privacy and working a significant

  harm to a person’s bodily integrity.” Sloley v. Vanbramer, 945 F.3d 30, 38 (2d Cir. 2019);

  Vazquez, 949 F.3d at 1165 (quoting Hydrick v. Hunter, 500 F.3d 978, 1000 (9th Cir. 2007);

  Shroff, 604 F.3d at 1191.

         “[A]ll forced observations or inspections of the naked body implicate a privacy

  concern.” Canedy, 16 F.3d at 185. To state the obvious, visual body-cavity searches are

  even more intrusive as they “require an arrestee not only to strip naked in front of a stranger,

  but also to expose the most private areas of her body to others. This is often, as here, done
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  while the person arrested is required to assume degrading and humiliating positions.” Swain

  v. Spinney, 117 F.3d 1, 6 (1st Cir. 1997). The freedom from such “degrading body

  inspections is . . . basic to the concept of privacy.” Canedy, 16 F.3d at 185 (internal quotation

  marks omitted); Byrd, 845 F.3d at 922-24.

         Moreover, “any reasonable adult in our society would understand that the involuntary

  exposure of an adult’s nude body is a significant imposition on the victim. And law-

  enforcement officers in this circuit have been taught this lesson repeatedly.” Colbruno, 928

  F.3d at 1163-65.16 Several other circuits have recognized that officials can violate the Eighth

  Amendment (which imposes a higher burden than the Fourteenth Amendment) by forcing

  inmates to expose their naked bodies for the purpose of humiliation. See Calhoun, 319 F.3d

  at 939; Kent, 821 F.2d at 1227-28; Lee, 641 F.2d at 1119. When considering Defendant

  Mustapick’s sexually degrading statements and gesture, in combination with his position of

  power over Plaintiff and the humiliating position that he had Plaintiff in when he made the

  statements, it is clear that he violated her right to privacy and bodily integrity. See Vazquez,

  949 F.3d at 1162; Fontana v. Haskin, 262 F.3d 871, 881-82 n.6. (9th Cir. 2001). According to

  this authority, Defendants El Paso County, Elder, Gillespie, Mustapick, and Elliss all violated

  Plaintiff’s clearly established rights.

         5.7 Defendant Elliss failed to intervene to prevent the violation of Plaintiff’s
             Fourth and Fourteenth Amendment rights.




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     In Cumbey v. Meachum, the Tenth Circuit reversed the dismissal of a prisoner’s complaint
  that his constitutional rights had been violated because female prison guards “are assigned to
  posts where they observe[d] him dressing and undressing and using the toilet and the
  shower,” holding that “[a]lthough the inmates’ right to privacy must yield to the penal
  institution’s need to maintain security, it does not vanish altogether.” 684 F.2d 712, 713-14
  (10th Cir. 1982). More recently, the Tenth Circuit stated that “exposing a person’s naked body
  involuntarily is a severe invasion of personal privacy” in a case where it held that parading a
  naked inmate through a hospital violated his clearly established right to privacy and bodily
  integrity under the Fourteenth Amendment. Colbruno, 928 F.3d at 1163-65.
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         The Magistrate Judge erred by failing to consider an additional basis for liability

  against Defendant Elliss: that she failed to intervene to prevent the violation of Plaintiff’s

  Fourth and Fourteenth Amendment rights. As alleged, Defendant Elliss failed to intervene to

  prevent the violation of Plaintiff’s Constitutional rights. [Doc. #124], ¶¶ 71-83. “[A]ll law

  enforcement officials have an affirmative duty to intervene to protect the constitutional rights

  of citizens from infringement by other law enforcement officers in their presence.” Vondrak v.

  City of Las Cruces, 535 F.3d 1198, 1210 (10th Cir. 2008). For failure to intervene liability to

  attach, a plaintiff must simply establish that “officers have knowledge of a constitutional

  violation,” Jones v. Norton, 809 F.3d 564 (10th Cir. 2015), and “a realistic opportunity to

  intervene to prevent the harm from occurring.” Vondrak, 535 F.3d at 1210. The Tenth Circuit

  has repeatedly found an officer to possess knowledge where there was indeed an underlying

  constitutional violation, and where the officer was “on the scene[,]” Casey v. City of Federal

  Heights, 509 F.3d 1278, 1283 (10th Cir. 2017), or “present for the [violation].” Fogarty v.

  Gallegos, 523 F.3d 1147, 1164 (10th Cir. 2008). Here, as alleged, Defendant Elliss was

  present for the violation and explicitly allowed it to occur. [Doc. #124], ¶¶ 74-77. Plaintiff

  begged Defendant Elliss to let a woman search her. Id. Defendant Elliss refused and actively

  chose to leave and allow Defendant Mustapick to search Plaintiff unsupervised. Id. Under a

  failure to intervene theory, Plaintiff has adequately alleged that Defendant Elliss violated her

  Constitutional rights.

         Finally, it is clearly established that officers who are present for constitutional violations

  by other officers, and do nothing to intervene, violate the Constitution. Vondrak, 535 F.3d at

  1210 (an officer is liable if the officer had observed or had reason to know “that any

  constitutional violation has been committed by a law enforcement official.”); Fogarty v.

  Gallegos, 523 F.3d 1147, 1164 (10th Cir. 2008). Defendant Elliss’ violation was “obvious” and

  “particularly clear[.]” Casey, 509 F.3d at 1283. And, the Tenth Circuit has time and again held
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  that when officials are on the scene and fail to intervene, regardless of the constitutional

  violation occurring, they are liable under clearly established law. See Reid v. Wren, 57 F.3d

  1081, at *2 (10th Cir. 1995); Walton v. Gomez (In re Estate of Booker), 745 F.3d 405, 422

  n.25 (10th Cir. 2014); see also Anderson v. Branen, 17 F.3d 552, 557 (2d Cir. 1994).

         5.8 Plaintiff adequately alleges municipal liability against El Paso County.

     As outlined above, contrary to the conclusions in the Magistrate Judge’s Report and

  Recommendation, Plaintiff has adequately alleged multiple violations of her constitutional

  rights. For the reasons outlined in briefing at the motion to dismiss stage, [Doc. #147], she

  has also adequately alleged municipal liability.

         5.9 Plaintiff adequately alleges that Defendants intentionally discriminated
             against her in violation of the Americans with Disabilities Act and
             Rehabilitation Act and is therefore entitled to recover compensatory
             damages.

         The Magistrate Judge erred in holding that Plaintiff had not adequately alleged

  intentional discrimination. Intentional discrimination does not require discriminatory animus

  but rather may be “inferred from a defendant’s deliberate indifference to the strong likelihood

  that pursuit of its questioned policies will likely result in a violation of federally protected

  rights.” Powers v. MJB Acquisition Corp., 184 F.3d 1147, 1153 (10th Cir. 1999). There is a

  two-pronged test for this standard: knowledge that a harm to a federally protected right is

  substantially likely; and a failure to act upon that likelihood. Havens v. Colorado Dep’t of

  Corr., 897 F.3d 1250, 1264 (10th Cir. 2018). Generally, courts have held that there exists a

  sufficient evidentiary basis for a factfinder to determine that intentional discrimination

  occurred under § 504 and/or Title II when the defendant deliberately made no good faith




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  effort to reasonably accommodate a plaintiff’s known disability, thereby subjecting the plaintiff

  to disability discrimination.17

         Here, Plaintiff has adequately alleged that El Paso County – directly and through its

  agents – had knowledge that a harm to her federally protected rights was substantially likely,

  and failed to act upon that likelihood. See Havens, 897 F.3d at 1264. When Plaintiff first

  entered El Paso County Jail, she was an openly transgender woman with a feminine

  appearance and during her intake screening, she notified El Paso County Jail and its

  healthcare personnel that she was a transgender woman with a diagnosis of Gender

  Dysphoria. [Doc. #124], ¶¶ 47-48. Plaintiff repeatedly and explicitly requested placement in a

  women’s facility as an accommodation for her known disability. Id., ¶¶ 48-70. One of El Paso

  County’s officials even did an ADA review of Plaintiff’s housing classification. See Havens,

  897 F.3d at 1266 (“[A] factfinder may conclude that a prison official knew of a substantial risk

  from the very fact that the risk was obvious.”). Plaintiff’s classification and placement in an all-

  male facility was by no means an inadvertent mistake either. It was done intentionally and for

  one reason: her disability. This subjects Defendants to compensatory damages.

  6. Conclusion

         For the foregoing reasons, Plaintiff respectfully requests that this Court reject the

  holdings of the Magistrate Judge’s Report and Recommendation as outlined above.18


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     See Updike v. Multnomah Cty., 870 F.3d 939, 954 (9th Cir. 2017); Duvall v. Cty. of Kitsap,
  260 F.3d 1124, 1140 (9th Cir. 2001); Bartlett v. N.Y. State Bd. of Law Exam’rs, 156 F.3d 321,
  330-31 (2d Cir. 1998); Center v. City of West Carrollton, 227 F. Supp. 2d 863, 868, 872 (S.D.
  Ohio 2002); see also Robertson v. Las Animas Cty. Sheriff's Dep't, 500 F.3d 1185 (10th Cir.
  2007); Randolph v. Rodgers, 170 F.3d 850, 858 (8th Cir. 1999); Paulone v. City of Frederick,
  787 F. Supp. 2d 360, 397 (D. Md. 2011); Armstrong v. Schwarzenegger, 622 F.3d 1058 (9th
  Cir. 2010); see also Barber v. Colorado, 562 F.3d 1222, 1229 (10th Cir. 2009); Proctor v.
  Prince George’s Hosp. Ctr., 32 F. Supp. 2d 820, 829 (D. Md. 1998).
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     The claims not addressed in the Magistrate Judge’s report and recommendation also
  should not be dismissed for the reasons outlined in Plaintiffs’ Response To Defendants’
  Motion To Dismiss Third Amended Complaint Pursuant To Fed. R. Civ. P. 12(b)(1) and (6),
  which is incorporated herein by reference. See [Doc. #147].
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        Dated this 8th day of March 2023.

                                                 KILLMER, LANE & NEWMAN, LLP

                                                 s/ Andy McNulty
                                                 ________________________
                                                 Andy McNulty
                                                 Mari Newman
                                                 1543 Champa St., Ste. 400
                                                 Denver, CO 80202
                                                 Phone: (303) 571-1000
                                                 Fax: (303) 571-1001
                                                 amcnulty@kln-law.com
                                                 mnewman@kln-law.com

                                                 ATTORNEYS FOR PLAINTIFF


                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2023, I electronically filed the foregoing OBJECTION
  TO REPORT AND RECOMMENDATION ON DEFENDANTS’ MOTION TO DISMISS THIRD
  AMENDED COMPLAINT PURSUANT TO Fed. R. Civ. P. 12(b)(1) and (6) [Doc. #165] with
  the Clerk of the Court using the CM/ECF system, which will send notification of such filing to
  the following:

  Nathan J. Whitney
  Terry Sample
  Chris Strider
  County Attorney’s Office
  El Paso County
  nathanwhitney@elpasoco.com
  terrysample@elpasoco.com
  chrisstrider@elpasoco.com

  Counsel for Defendants

                                          s/ Andy McNulty




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-00387-CMA-NRN

   DARLENE GRIFFITH

   Plaintiff,

   v.

   EL PASO COUNTY, COLORADO, et al.

   Defendants.


      DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTION TO REPORT AND
    RECOMMENDATION ON DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED
     COMPLAINT PURSUANT TO Fed. Civ. P. 12(b)(1) and (6) [Docs. 163 and 169]


           Defendants, through the Office of the County Attorney of El Paso County,

   Colorado, submit their Response to Plaintiff’s Objection to Report and Recommendation

   on Defendants’ Motion to Dismiss Third Amended Complaint Pursuant to Fed. R. Civ. P.

   12(b)(1) and (6) (Doc. 169) as follows:

                                      I.    INTRODUCTION 1
           Plaintiff is a transgender female who has been diagnosed with Gender Dysphoria.

   She asserts 16 claims for relief under federal and state laws alleging that: (i) during intake

   into CJC, she was misgendered by the female deputy who visually searched her upper

   torso, and verbally harassed and threatened by the male deputy who visually searched

   her lower torso; (ii) she asked to be housed in a female ward but was housed in a male



   1 The defined terms used herein have the same meaning as the defined terms used in

   the Motion to Dismiss (Doc. 132) and Defendants’ Reply (Doc. 155).



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   ward instead, where she was sexually assaulted by a male inmate, misgendered by

   deputies, and subject to pat down searches by male deputies; and (iii) she was denied

   access to female undergarments and grooming products.

           Defendants filed their Motion to Dismiss (Doc. 132) in June 2022 and sought

   dismissal of all of Plaintiff’s claims because, among other reasons, there was no violation

   of Plaintiff’s constitutional rights, the individual Defendants are entitled to qualified

   immunity, the Complaint fails to allege municipal liability, and EPSO was not deliberately

   indifferent under the ADA or Rehabilitation Act.        The next month, Plaintiff filed her

   Response to the Motion to Dismiss (Doc. 147) and Defendants filed their Reply in Support

   of the Motion to Dismiss (Doc. 155) (the “Reply).

           The Honorable United States Magistrate Judge Neureiter issued a thorough

   Report and Recommendation (Doc. 165) (the “Recommendation” or “R. & R.”) on

   February 27, 2023, in which he recommended dismissal of all of Plaintiff’s federal claims

   and declination of supplemental jurisdiction over Plaintiff’s state law claims. Plaintiff filed

   her Objection to the Recommendation (Doc. 169) (the “Objection” or “Obj.”) on March 8,

   2023.

           As explained below, the Objection merely restates Plaintiff’s arguments from her

   Response without identifying any specific legal or factual errors in the Recommendation.

   The Court should thus adopt the Recommendation’s well-reasoned findings, which are in

   line with existing Tenth Circuit and Supreme Court precedent.




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                                  II.   STANDARD OF REVIEW
           This Court set forth the standard of review applicable to the review of a magistrate’s

   recommendation under Fed. R. Civ. P. 72(b)(3) in Viscarelli v. Simone, No. 20-cv-01859-

   CMA-MEH, 2021 WL 21906, at * 2 (D. Colo. Jan. 4, 2021). This Court set forth the

   standards of review applicable to motions to dismiss under Fed. R. Civ. P. 12(b)(1) and

   (6) in Simon v. Burtlow, No. 20-cv-01207-CMA-KMT, 2012 WL 4059782, at * 2 (D. Colo.

   Sept. 7, 2021).

                                       III.    ARGUMENT

           Magistrate Judge Neureiter meticulously considered Plaintiff’s claims and

   recommended that each one be dismissed. The grounds for dismissal ranged from a

   lack of plausible allegations in the Complaint, to the absence of clearly established case

   law, to each individual Defendant’s entitlement to qualified immunity. Plaintiff objects to

   these findings, but she mostly parrots arguments she made before instead of identifying

   specific errors in the Recommendation. The Defendants respectfully ask the Court to

   deny Plaintiff’s attempt to relitigate this case, and instead adopt the Recommendation in

   full.

       A. Plaintiff Has Forfeited the Right to De Novo Review of the Recommendation

           The Objection seeks a second bite at the apple by recycling the Response’s

   arguments instead of identifying specific legal or factual flaws in the Recommendation.

   See, e.g., Wiggins v. Colvin, No. 1:12-cv-196, 2014 WL 184414, at * 1 (W.D.N.C. Jan.

   15, 2014) (“General objections include those that merely restate or reformulate arguments

   a party has made previously to a magistrate judge.”). That is to say, the Objection is not

   specific enough to “enable the district judge to focus the attention on those issues—

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   factual and legal—that are at the heart of the parties’ dispute.” United States v. One

   Parcel of Real Prop. Known as 2121 E. 30th St., 73 F.3d 1057, 1059 (10th Cir. 1996).

          In the absence of specificity, Plaintiff has forfeited the right to de novo review. See

   id. at 1061 (generally, “a party’s objection…must be both timely and specific to preserve

   an issue for de novo review by the district court or for appellate review.”); Hatlee v.

   Hardey, No. 13-cv-02469-RM-MJW, 2015 WL 5719644, at * 3 (D. Colo. Sept. 29, 2015)

   (“In the absence of a timely and specific objection, ‘the district court may review a

   magistrate’s recommendation under any standard it deems appropriate.’”) (citing

   Summers v. Utah, 927 F.2d 1165, 1167 (10th Cir. 1997)). The Court should therefore

   apply a clear error standard to its review. See Fed. R. Civ. P. 72(b) Advisory Committee’s

   Note (“When no timely objection is filed, the court need only satisfy itself that there is no

   clear error on the face of the record in order to accept the recommendation.”).

          Regardless of which standard the Court applies, however, the Court should not set

   aside any portion of the Recommendation for the reasons described below.

      B. The Magistrate Correctly Recommended Dismissal of El Paso County as a
         Party

          Plaintiff contends that she properly named El Paso County as a defendant, yet she

   does not address the authority that the Magistrate Judge relied upon to find otherwise.

   See Obj. p. 5. The Magistrate Judge correctly recommended dismissal of Plaintiff’s claims

   against El Paso County for two reasons. R. & R. p. 14. First, C.R.S. § 30-11-105 provides

   that suits against a county must be brought in the name of “the board of county

   commissioners of the county of ……..” This is the “exclusive method by which jurisdiction

   over a county can be obtained.”        Calahan v. Jefferson Cnty., 429 P.2d 301, 302

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   (Colo. 1967). A plain reading of the Complaint shows that “Plaintiff’s naming of…El Paso

   County as a defendant is defective, and the County can be dismissed due to this

   jurisdictional defect alone.” R. & R. p. 14.

          Second, El Paso County and EPSO are separate entities. EPSO, rather than El

   Paso County, is responsible for CJC’s operations. See C.R.S. § 30-10-511; Terry v.

   Sullivan, 58 P.3d 1098, 1102 (Colo. App. 2002).               The Complaint cursorily alleges

   misconduct on the part of EPSO employees that cannot be attributed to El Paso County.

   Accordingly, the Magistrate Judge correctly recommended dismissal of the claims against

   El Paso County under Fed. R. Civ. P. 12(b)(6). R. & R. p. 14.

      C. The Magistrate Judge Correctly Recommended Dismissal of Plaintiff’s
         Individual § 1983 Claims Because the Defendants are Entitled to Qualified
         Immunity

          Qualified immunity is an affirmative defense to a § 1983 action that protects

   government officials from liability for civil damages, provided that their conduct does not

   violate clearly established statutory or constitutional rights of which a reasonable person

   would have known. Ullery v. Bradley, 949 F.3d 1282, 1289 (10th Cir. 2020). Plaintiff

   must satisfy a substantial two-part burden to show that (1) Defendants’ actions violated

   Plaintiff’s constitutional or statutory rights, and (2) that the rights in question were clearly

   established at the time of Defendants’ alleged violations. Albright v. Rodriguez, 51 F.3d

   1531,1534 (10th Cir. 1995).

          As discussed below, Plaintiff has not shown that Defendants’ alleged actions

   violated constitutional or statutory rights. And even if the Court finds that the first prong

   of the qualified immunity inquiry is satisfied, Plaintiff still fails to establish that the rights


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   in question were clearly established. A right is clearly established if the law was

   “sufficiently clear that a reasonable official would have understood that his conduct

   violated the right.” Currier v. Doran, 242 F.3d 905, 923 (10th Cir. 2001). This generally

   requires a “Supreme Court or Tenth Circuit decision on point, or the clearly established

   weight of authority from other courts must have found the law to be as the plaintiff

   maintains.” Id. (internal quotations omitted).

          Plaintiff’s objection states that clearly establishing a constitutional right can be

   accomplished occasionally in the absence of binding precedent addressing similar

   circumstances. Obj. p.5, ⁋ 1. However, Plaintiff fails to identify how the Magistrate Judge

   erred in applying the two-part standard to determine whether Defendants are entitled to

   qualified immunity. The Court should therefore find that the individual Defendants are

   entitled to qualified immunity.

      D. The Magistrate Judge Correctly Applied Binding Precedent to Recommend
         Dismissal of Plaintiff’s Equal Protection Claim

          Plaintiff argues that the Magistrate Judge erred by “failing to consider that

   Defendants engaged in sex- and gender-based discrimination, which triggers

   intermediate scrutiny.” Obj. p. 8, ⁋ 1. However, Plaintiff neither cites authority overruling

   binding Tenth Circuit precedent nor states grounds by which the Magistrate Judge may

   abandon stare decisis. See Brown v. Zavaras, 63 F.3d 967, 971 (10th Cir. 1995) (holding

   that transgender is not a suspect or quasi-suspect class under the 14th Amendment).

   Indeed, the Magistrate Judge did consider whether intermediate scrutiny applies in this




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   case and correctly determined that unless and until the Tenth Circuit rules otherwise, its

   decision in Brown remains controlling. R. & R. pp. 20-21.

            The Magistrate Judge also correctly noted that Plaintiff failed to identify any

   controlling authority overruling Brown. R. & R. p. 21.          Absent such authority, the

   Defendants could not be on notice that their conduct violated a constitutional or statutory

   right.   The authority cited by Plaintiff consists largely of non-binding decisions from

   appellate courts outside the Tenth Circuit and district courts outside of Colorado.

   Although it is not necessary for the facts in the cited authority to correspond exactly to the

   situation the plaintiff complains of, the “plaintiff must demonstrate a substantial

   correspondence between the conduct in question and prior law allegedly establishing that

   the defendant’s actions were clearly prohibited.” Trotter v. Regents, 219 F.3d 1179, 1184

   (10th Cir. 2000) (internal quotations omitted). Plaintiff fails to do so here. The Court

   should thus adopt the Recommendation.

       E. The Magistrate Judge Correctly Recommended Dismissal of Plaintiff’s
          Fourth Amendment Claim

            Plaintiff objects to the Magistrate Judge’s finding that the searches conducted in

   this case did not violate the Constitution. Obj. p. 23, ⁋1. The balancing test set forth in

   Bell v. Wolfish is the controlling standard when determining the reasonableness of a

   government search. 441 U.S. 520, 559 (1979) (“Courts must consider the scope of the

   particular intrusion, the manner in which it is conducted, the justification for initiating it,

   and the place in which it is conducted.”). The Magistrate Judge correctly considered

   these factors in evaluating the searches at issue in this case and distinguished any



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   alleged inappropriate behavior from that found in cases where a prison strip search was

   deemed unreasonable. R. & R. pp. 31-33.

          The balance of the Bell factors weighs against a finding of unconstitutional

   behavior by Defendants. First, the visual body cavity search of Plaintiff was reasonable

   because it was performed as Plaintiff entered the jail and before she was admitted into

   the general population. Archuleta v. Wagner, 523 F.3d 1278, 1284 (10th Cir. 2008)

   (reasonableness of strip search turns in part on whether inmate will be housed in general

   population); Hyberg v. Enslow, 801 F. App’x 647, 650-51 (10th Cir. 2020) (unpublished)

   (finding no plausible Fourth Amendment claim where inmate was strip searched in a

   designated area “with limited access for other inmates and staff” before returning to

   general population, and where staff made insensitive comments). Second, the only

   individuals present during the visual strip search were Defendants Elliss and Mustapick,

   who each performed part of the search in a private area of CJC. Plaintiff’s strip search

   was not video recorded like the search in Hayes v. Marriott, 70 F.3d 1144, 1145 (10th Cir.

   1995), or conducted without a penological purpose as in Shroff v. Spellman, 604 F.3d

   1179 (10th Cir. 2010). Third, Plaintiff argues that she was subject to a cross-gender

   search because Mustapick, a biological male, participated in the search. Yet Plaintiff

   presents no authority suggesting that Mustapick’s visual search of Plaintiff constitutes a

   cross-gender search given that they share the same biological sex. Fourth, the verbal

   statements attributed to Mustapick are insufficient to establish a constitutional violation.

   Indeed, in Adkins v. Rodriguez, the Tenth Circuit found that similar verbal harassment did




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   not amount to a constitutional violation. 59 F.3d 1034, 1037-38 (10th Cir. 1995); see also

   Hayes, 70 F.3d at 1145.

          Finally, the Magistrate Judge correctly found that even if Defendants’ conduct

   violated Plaintiff’s right to be free from unreasonable searches, Defendants are entitled

   to qualified immunity because that right was not so clearly established as to put a

   reasonable person in the Defendants’ position on notice that the conduct was violative.

   R. & R. p. 34, ⁋1. The Court should adopt the Magistrate Judge’s well-reasoned analysis.

      F. The Magistrate Judge Correctly Found that Plaintiff Failed to State a
         Conditions of Confinement Claim, a Substantive Due Process Claim, or a
         Failure to Protect Claim Under the Fourteenth Amendment
         Plaintiff realleges that Elder, Gillespie, Noe, Ford, and O’Neal’s “decisions to house

   [her] in an all-male unit foreseeably resulted in her continuous harassment and repeated

   unwanted cross-gender touching.” Obj. pp. 17-22. As the Magistrate Judge correctly

   found, however, Plaintiff’s allegations are “too generalized and imprecise to adequately

   allege personal participation as to the specified individual Defendants.” R. & R. pp. 28-

   29; see Robbins v. Oklahoma, 519 F.3d 1242, 1250 (10th Cir. 2008) (in § 1983 cases, it

   is crucial that the complaint “make clear exactly who is alleged to have done what to

   whom” (emphasis in original). Indeed, Plaintiff fails to allege personal participation by

   Elder or Gillespie, as the Defendants argued in their Motion to Dismiss at pages 9-10.

   Similarly, O’Neal’s only involvement in the incidents alleged was telling Plaintiff that her

   grievance was denied—an action that does not establish her personal participation in any




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    constitutional violation. See R. & R. p. 26, citing Gallagher v. Shelton, 587 F.3d 1063,

    1069 (10th Cir. 2009).

           As for Noe and Ford, Plaintiff does not establish the subjective or objective

    elements of deliberate indifference. See R. & R. p. 26. Instead, Plaintiff alleges that

    placing her into general population in a male ward “was nearly per se deliberately

    indifferent to a risk that she would be assaulted by male inmates.” Obj. p. 21. The cases

    Plaintiff cites, however, do not support the per se liability she seeks to impose. For

    example, in Greene v. Bowles, the Sixth Circuit denied a prison warden’s summary

    judgment motion because the transgender plaintiff presented information suggesting the

    warden knew about her specific vulnerabilities and the violent history of a predatory

    inmate who ultimately assaulted her. 361 F.3d 290, 294-95 (6th Cir. 2004). Similarly, a

    United States District Court in Georgia did not dismiss a transgender inmate’s failure-to-

    protect claims where she alleged prison officials had extensive information about her past

    assaults at other facilities, the officials took no action after learning she was assaulted

    multiple times at their facility, and the officials were told by a doctor that the plaintiff “stood

    a high risk of sexual assault at [the prison] given its population.” Diamond v. Owens, 131

    F.Supp.3d 1346, 1376 (M.D. Ga. Sept. 14, 2015). These cases highlight the importance

    of alleging facts from which an official could infer that “a substantial risk of serious harm

    exists,” and that the official “dr[e]w the inference” from those facts. Farmer v. Brennan,

    511 U.S. 825, 837 (1994). Here, Plaintiff fails to allege that Noe and Ford—or any other

    Defendant—had specific knowledge of a risk to Plaintiff and ignored it. Since Plaintiff has

    not plausibly alleged deliberate indifference, the Court should dismiss Plaintiff’s claims.


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           Regarding Mustapick, the Magistrate Judge found that he was entitled to qualified

    immunity because Plaintiff did not meet her burden of “showing that it is clearly

    established that cross-gender searches of transgender women, even ones accompanied

    by odious verbal harassment, violate a clearly established constitutional right, nor is the

    conduct so egregious and the right so obvious that it could be deemed clearly established

    even without materially similar cases.” R. & R. p. 28. Plaintiff challenges this finding by

    citing numerous cases purportedly showing otherwise, but these cases are largely

    inapposite. See Obj. pp. 18-19. For example, in Fillmore v. Page, the Seventh Circuit

    considered a strip-search through the lens of a prisoner’s excessive force claims, the

    strip-search in question did not involve a cross-gender search of a transgender prisoner,

    and the court found no constitutional violation. 358 F.3d 496, 504-05 (7th Cir. 2004).

    Plaintiff also cites the Tenth Circuit’s 2019 decision in Colbruno v. Kessler, but that case

    involved deputies walking a naked detainee through the public areas of a hospital. 928

    F.3d 1155, 1160 & 1165-66 (10th Cir. 2019). Plaintiff, in contrast, was strip-searched in

    “a separate room” and was not seen by deputies other than Mustapick and Elliss, let alone

    members of the public. Compl. ¶ 73. The Seventh Circuit’s unpublished decision in

    Richards v. Wexford of Indiana LLC is similarly irrelevant because it involved a doctor’s

    rectal examination of a prisoner in view of two officers and three inmates in filthy

    conditions. No. 20-2567, 2021 WL 4892160, at *1 (7th Cir. Oct. 20, 2021) (unpublished).

    Finally, none of the cases crammed into footnote 11 of Plaintiff’s Objection deal with

    cross-gender searches of transgender inmates. The Magistrate Judge correctly found that




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    Plaintiff did not meet her burden on the clearly established prong of the qualified immunity

    analysis, and the Court should do the same.

           Plaintiff further contends that the Magistrate Judge “fail[ed] to consider an

    additional basis for liability against Defendant Elliss: that she failed to intervene to prevent

    the violation of Plaintiff’s Fourth and Fourteenth Amendment rights.” Obj. p. 28. Plaintiff

    is incorrect. After finding that Mustapick was entitled to qualified immunity, the Court found

    that Elliss had qualified immunity “by extension…on any claim that she failed to

    intervene.” R. & R. p. 28. This conclusion is sound because there must be a constitutional

    violation in the first place before a failure to intervene can be found. Jones v. Norton, 809

    F.3d 564, 576 (10th Cir. 2015) (“Plaintiffs focus their arguments on the officers’

    opportunities to intervene, but ignore the requirement that the officers must have

    knowledge of a constitutional violation.”). The Court should therefore grant Elliss qualified

    immunity.

           Plaintiff goes on to argue that the Defendants violated her right to privacy and

    bodily integrity. Obj. pp. 26-27. But as the Defendants argued on page 18 of their Motion

    to Dismiss, Plaintiff can only succeed on this claim if she alleges government action that

    shocks the conscience. Conscience-shocking behavior “requires a high level of

    outrageousness,” such as sexual assault or rape of a prisoner by guards. Uhlrig v. Harder,

    64 F.3d 567, 574 (10th Cir. 1995); see Hall v. Zavaras, No. 08-cv-00999-DME, 2008 WL

    5044553, at *4 (D. Colo. Nov. 19, 2008). While the conduct Plaintiff levies against

    Mustapick is troubling if true, it is not “so egregious and the right so obvious that it could

    be deemed clearly established even without materially similar cases.” R. & R. p. 28.


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    Further, Plaintiff does not clearly allege the personal participation of any other individual

    Defendant in conscience-shocking behavior. The Court should thus dismiss Plaintiff’s

    claims as the Magistrate Judge recommended.

       G. The Magistrate Judge Correctly Recommended Dismissal of the § 1983
          Claims Asserted Against Elder and Gillespie Under a Supervisory Liability
          Theory

           The Magistrate Judge correctly recommended dismissal of the § 1983 claims

    asserted against Elder and Gillespie under a theory of supervisory liability. Supervisory

    liability requires a plaintiff to show “an affirmative link… between the constitutional

    deprivation and either the supervisor’s personal participation, his exercise of control or

    direction, or his failure to supervise.” Green v. Branson, 108 F.3d 1296, 1302 (10th Cir.

    1997). “When an official is sued on the basis of his supervisory status and policy-making

    authority, a plaintiff may establish the affirmative link by demonstrating that the defendant:

    ‘(1) promulgated, created, implemented or possessed responsibility for the continued

    operation of a policy, (2) caused the complained of constitutional harm, and (3) acted with

    the state of mind required to establish the alleged constitutional deprivation.’” Yoemans

    ex rel. Ishmael v. Campbell, 501 F. Supp. 3d 1034, 1053 (D. Colo. 2020) (quoting Dodds

    v. Richardson, 614 F.3d 1185, 1199 (10th Cir. 2010)).

           Plaintiff claims that Gillespie personally violated her equal protection rights by

    denying her access to female clothing and grooming products. Compl. ¶¶ 114, 117.) The

    Magistrate Judge correctly determined that these allegations do not amount to a

    constitutional violation under binding Tenth Circuit precedent and Gillespie is therefore

    entitled to qualified immunity. R. & R., pp. 17-30. Further, the Magistrate Judge correctly


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    determined that Plaintiff’s assertion of § 1983 liability based on Gillespie’s status as a

    commander are premised upon conclusory allegations which cannot “nudge[] [the

    plaintiff’s] claims across the line from conceivable to plausible…” R. & R. ¶ 10, quoting

    Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

           The Magistrate Judge went on to address the supervisory liability claims against

    Elder in conjunction with Plaintiff’s Monell claims against EPSO. R. &. R. pp. 34-35. As

    with Gillespie, the Magistrate Judge correctly recommended dismissal because Plaintiff

    failed to plausibly assert an underlying constitutional violation. Id.

             Plaintiff’s Objection offers nothing new and asserts error based on the same

    conclusory allegations the Magistrate Judge found unpersuasive. Accordingly, the Court

    should dismiss the § 1983 claims asserted against Elder and Gillespie under a

    supervisory liability theory.

       H. The Magistrate Judge Correctly Recommended Dismissal of Plaintiff’s
          Monell Claims

           The Magistrate Judge correctly recommended dismissal of Plaintiff’s Monell claims

    because Plaintiff failed to plausibly allege an underlying constitutional violation.

    Municipalities cannot be held liable for the unconstitutional actions of their employees

    under a theory of respondeat superior. Bd. of Cnty. Comm’rs of Bryan Cnty., Oklahoma

    v. Brown, 520 U.S. 397, 405 (1997). Municipalities may instead be liable under § 1983

    when the execution of a policy or custom “inflicts the injury” upon the plaintiff. Monell v.

    Dep’t of Soc. Servs. of New York, 436 U.S. 658, 694 (1978). But a Monell claim “cannot

    survive a determination that there has been no constitutional violation.” Crowson v.

    Washington Cnty., 983 F.3d 1166, 1186 (10th Cir. 2020).

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           Here, the Magistrate Judge comprehensively examined pertinent precedent and

    authorities before correctly determining that Plaintiff’s Monell claims fail due to the

    absence of an underlying constitutional violation. R. & R. pp. 15-34. Further, even if an

    underlying constitutional violation were found, the Complaint still fails to articulate the

    other necessary components of a Monell claim as explained in Section IV.F of the Motion

    to Dismiss and Section II.E of the Reply. Plaintiff’s Monell claims must therefore be

    dismissed.

       I. The Magistrate Judge Correctly Recommended Dismissal of Plaintiff’s ADA
          and Rehabilitation Act Claims Because EPSO Was Not Deliberately
          Indifferent

           Plaintiff’s Response failed to “confront the question posed in the Motion: how can

    an entity be deliberately indifferent under Title II of the ADA and Rehabilitation Act when

    the existence of the right alleged is unclear?” Defs.’ Reply, p. 21; see also Pl.’s Reply,

    pp. 49-50. This question remains unanswered in Plaintiff’s Objection.

           Compensatory damages are only available under Title II of the ADA and

    Rehabilitation Act in instances of intentional discrimination which can be inferred from a

    defendant’s deliberate indifference to a strong likelihood that the pursuit of its questioned

    policies will likely result in a violation of federally protected rights and a corresponding

    failure to act. Havens v. Colo. Dep’t. of Corr., 897 F.3d 1250, 1264 (10th Cir. 2018).

           But it is unclear whether Gender Dysphoria falls within the ADA’s categorical

    exclusion of coverage as discussed in Section IV.H.1. of the Motion to Dismiss and

    Section II.G.i. of the Reply. Indeed, “[n]o federal court of appeals or the Supreme Court

    ha[d]…addressed whether [this] exclusion applies to gender dysphoria” until August


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    2022, when a divided Fourth Circuit ruled that Gender Dysphoria falls outside the

    applicable exclusion. Venson v. Gregson, No. 18-cv-2185-MAB, 2021 WL 673371, at *2

    (S.D. Ill. Feb. 22, 2021); see Williams v. Kincaid, 45 F.4th 759 (4th Cir. 2022). Moreover,

    a significant disagreement amongst district courts remains on this issue, see London v.

    Evans, No. 19-559, 2019 WL 5726983, at *6 n.3 (D. Del. Nov. 5, 2019), and this Court

    has found that Gender Dysphoria falls within the applicable exclusion. Michaels v. Akal

    Sec., Inc., No. 09-cv-01300-ZLW-CBS, 2010 WL 2573988, at *6 (D. Colo. Jun. 24, 2010).

           It is thus exceedingly unclear whether Gender Dysphoria has any protections

    under Title II of the ADA and the Rehabilitation Act. See R. & R., p. 41 (“While the Court

    believes that discrimination based on gender dysphoria violates the ADA and RA, this is

    not remotely settled law.”)). Accordingly, the Magistrate Judge correctly applied Roberts

    v. City of Omaha, 723 F.3d 966, 975-76 (8th 2013), to recommend dismissal of Plaintiff’s

    ADA and Rehabilitation Act claims for failing to plausibly allege deliberate indifference.

    R. & R., p. 41.


                                         V. CONCLUSION

           Defendants respectfully ask the Court to affirm the findings of the Magistrate

    Judge’s Report and Recommendations as outlined above.

           Dated this 22ND of March, 2023.
                                                           By: s/ Nathan J. Whitney
                                                           Nathan J. Whitney, #39002
                                                           Senior Assistant County Attorney
                                                           Bryan Schmid, #41873
                                                           Senior Assistant County Attorney
                                                           Chris Strider, #33919
                                                           Assistant County Attorney
                                                           Steven Martyn, #47429

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                                                           El Paso County Attorney’s Office
                                                           200 S. Cascade Ave.
                                                           Colorado Springs, CO 80903
                                                           (719) 520-6485
                                                           Email:
                                                           nathanwhitney@elpasoco.com
                                                           bryanschmid@elpasoco.com
                                                           chrisstrider@elpasoco.com
                                                           stevenmartyn@elpasoco.com


                                  CERTIFICATE OF SERVICE

            I hereby certify that on March 22, 2023, I electronically filed a true copy of the
    DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTION TO REPORT AND
    RECOMMENDATION ON DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED
    COMPLAINT PURSUANT TO Fed. Civ. P. 12(b)(1) and (6) [Doc. #163 and 169] with
    the Clerk of Court using the CM/ECF system which will send notification of such filing to
    the following:

    Andy McNulty
    Mari Newman
    Killmer, Lane & Newman, LLP
    1543 Champa Street, Suite 400
    Denver, CO 80202
    (303) 571-1000
    (303) 571-1001 Fax
    amcnulty@kln-law.com


                                                            s/Dee Lambert
                                                           Paralegal




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 20, 2023, I electronically filed a true, correct

and complete copy of the foregoing Supplemental Appendix with the Clerk of the

Court for the United States Court of Appeals for the Tenth Circuit by using the

appellate CM/ECF system.

      Participants in this case who are registered CM/ECF users will be served by

the appellate CM/ECF system.


Dated: October 20, 2023                /s/ Dee Lambert
                                       Legal Office Administrator
                                       El Paso County Attorney’s Office




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